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                                       No. 23-3565


                 IN THE UNITED STATES COURT OF APPEALS
                          FOR THE SIXTH CIRCUIT


                                UNITED STATES OF AMERICA,

                                                     Plaintiff-Appellee,

                                               v.

                                  LARRY HOUSEHOLDER,

                                                Defendant-Appellant.

                   On Appeal from the United States District Court
                         for the Southern District of Ohio
                                Case No. 1:20-cr-77-1

               APPENDIX OF APPELLANT LARRY HOUSEHOLDER


    Steven L. Bradley                               Nicholas R. Oleski
    MAREIN & BRADLEY                                MCCARTHY, LEBIT, CRYSTAL
    526 Superior Avenue                               & LIFFMAN CO., LPA
    Suite 222                                       1111 Superior Avenue East,
    Cleveland, Ohio 44114                           Suite 2700
    (216) 781-0722                                  Cleveland, Ohio 44114
                                                    (216) 696-1422


                           Counsel for Larry Householder

February 26, 2024



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{01997834-1}
        January 3rd
          Case: 23-3565 Householder
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                                                  Ohio House member
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        January 20 th   Presidential Inauguration
        January 26th Partners for Progress incorporated in Delaware
        February 6th    Generation Now incorporated in Delaware
2017




       March 31st      FirstEnergy Solutions declares bankruptcy
2018




       May 8th         Ohio primary election



       November 6th Ohio general election


       January 7th     Householder voted Speaker
       April 12th      HB6 introduced to Ohio House
       May 29th        Ohio House passes HB6
       July 23rd       Final vote. HB6 signed into law
2019




       July 29th       OACB submits proposed ballot language to AG

       August 12th     AG rejects proposed language
       August 16th     OACB submits revised ballot language to AG
       August 29th     AG approves proposed language

       October 22nd    Ballot initiative fails. HB6 takes effect.


       February 27th FirstEnergy Solutions emerges from bankruptcy
2020




       April 28th      Ohio primary election

                                    App'x 001                          6
                                                                      DepositsintoGenerationNow,Inc.
                                                             FifthThirdBankAccountNumbersx3310andx6847
     DATE                                    PAYOR                              AMOUNT               DATE                           PAYOR                           AMOUNT
2/23/2017
3/16/2017
                WAYNEM.BOICH;CYNTHIABOICH
               FIRSTENERGYSERVICECO.
                                                                           $25,000.00
                                                                           $250,000.00
                                                                                                   5/2/2019
                                                                                                   5/7/2019
                                                                                                              55GREENMEADOWS
                                                                                                              FIRSTENERGYSERVICECO.
                                                                                                                                                              $25,000.00
                                                                                                                                                              $1,500,000.00
                                                                                                                                                                                         1 of 1
5/17/2017      FIRSTENERGYSERVICECO.                                     $250,000.00    5/15/2019   FIRSTENERGYSERVICECO.                         $2,500,000.00
8/10/2017      FIRSTENERGYSERVICECO.                                     $250,000.00    5/22/2019   FIRSTENERGYSERVICECO.                         $2,500,000.00
8/22/2017      THESCHROERGROUP,INC.                                     $10,000.00   5/29/2019   FIRSTENERGYSERVICECO.                         $1,500,000.00
10/27/2017     55GREENMEADOWS                                            $30,000.00   6/5/2019    FIRSTENERGYSERVICECO.                         $2,000,000.00
10/27/2017
11/3/2017
               NCPFINANCEOHIO,LLC
               PENNNATIONALGAMING,INC.
                                                                           $25,000.00
                                                                           $25,000.00
                                                                                                  6/13/2019
                                                                                                  6/17/2019
                                                                                                              FIRSTENERGYSERVICECO.
                                                                                                              REPUBLICBANK
                                                                                                                                                              $1,361,899.00
                                                                                                                                                              $5,000.00
                                                                                                                                                                                          16
12/5/2017       SUBURBANNURSING&MOBILEHOMES,INC.                      $100,000.00    6/20/2019   FIRSTENERGYSERVICECO.                         $2,116,899.00
12/8/2017      FIRSTENERGYSERVICECO.                                     $250,000.00    6/24/2019   IGMINVESTMENTS,LLC.                           $98,000.00
12/27/2017     EMPOWEROHIO,INC.                                          $100,000.00     7/1/2019   GREENMEADOWS                                   $35,000.00




                                                                                                                                                                                                  Case: 23-3565
1/11/2018      BYERS,MINTON&ASSOCIATES,LLC.                            $10,000.00    7/1/2019   EMPOWEROHIO,INC.                              $100,000.00
1/19/2018      55GREENMEADOWS                                            $20,000.00    7/1/2019   POLITICALEDUCATIONPATTERNS                    $20,000.00
3/15/2018      PARTNERSFORPROGRESSINC.                                  $300,000.00     7/5/2019   FIRSTENERGYSOLUTIONSCORP.                     $1,879,457.00
3/30/2018      UNITEDBROTHERHOODOFCARPENTERSANDJOINERSOFAMERICA $210,000.00         8/2/2019   FIRSTENERGYSERVICECO.                         $734,250.00
4/3/2018       55GREENMEADOWS                                            $25,000.00   8/5/2019    EMPOWEROHIO,INC.                              $100,000.00
4/4/2018       OHIOAFLͲCIO                                                $175,000.00    8/7/2019    FIRSTENERGYSERVICECO.                         $4,390,000.00
4/5/2018       RESOURCEFUELSLLC                                          $250,000.00    8/14/2019   STRATEGICMEDIA;THESTRATEGYGROUPFORMEDIA   $300,000.00
4/6/2018       ACTOHIOFOUNDATION                                         $250,000.00    8/22/2019   FIRSTENERGYSERVICECO.                         $653,000.00
4/9/2018       POLITICALEDUCATIONPATTERNS                                $200,000.00    8/29/2019   FIRSTENERGYSERVICECO.                         $2,003,000.00
4/19/2018      JACKENTERTAINMENTLLC                                      $25,000.00   8/29/2019   POLITICALEDUCATIONPATTERNS                    $20,000.00
4/23/2018      JIMWALTON                                                  $20,000.00    9/5/2019   FIRSTENERGYSERVICECO.                         $2,403,000.00




                                                                                                                                                                                                  Document: 23
4/27/2018      DMPINVESTMENTSLLC                                         $10,000.00   9/12/2019   FIRSTENERGYSERVICECO.                         $2,403,000.00
4/27/2018      FINANCIALSERVICECENTERSOFOHIOLLC                       $10,000.00   9/13/2019   55GREENMEADOWS                                $50,000.00
5/1/2018       AT&T                                                        $5,000.00  9/19/2019   FIRSTENERGYSERVICECO.                         $4,695,000.00
5/1/2018       AT&T                                                        $10,000.00   9/25/2019   BANKOFAMERICA                                 $7,455.00
5/4/2018       PARTNERSFORPROGRESSINC.                                  $100,000.00    9/25/2019   WFEXCRTNTOSNDR721WIP                      $19,950.00
5/7/2018       GULFPORTENERGYCORPORATION                                 $10,000.00   9/26/2019   FIRSTENERGYSERVICECO.                         $2,445,000.00
6/22/2018      55GREENMEADOWS                                            $20,000.00   9/30/2019   JACKENTERTAINMENTLLC                          $50,000.00
7/3/2018       POLITICALEDUCATIONALPATTERNS                              $50,000.00   9/30/2019   PENNNATIONALGAMING,INC.                      $50,000.00
7/17/2018      INDIANACARPENTERSPOLITICALFUND                           $25,000.00   10/1/2019   FEDERALRESERVEBANK                            $24,960.00
8/8/2018       COALITIONFORGROWTH&OPPTY.INC                           $54,000.00   10/3/2019   FIRSTENERGYSERVICECO.                         $4,160,000.00




                                                                                                                                                                                                  Filed: 02/26/2024
8/9/2018       55GREENMEADOWS                                            $20,000.00   10/3/2019   WFEXCRTNTOSNDR721WIP                      $9,950.00
8/16/2018      PARTNERSFORPROGRESSINC.                                  $500,000.00    10/8/2019   FIRSTENERGYSERVICECO.                         $1,600,000.00
9/21/2018      WORKINGFORWORKINGAMERICAN                                $25,000.00  10/10/2019 CHARTERCOMMUNICATIONS                            $25,000.00
10/9/2018      55GREENMEADOWS                                            $10,000.00  10/10/2019 PARTNERSFORPROGRESSINC.                        $10,000,000.00
10/9/2018      MOLINAHEALTHCARE,INC.                                     $6,250.00 10/16/2019 AT&T                                              $40,000.00
10/9/2018      PENNNATIONALGAMING,INC.                                  $50,000.00  10/16/2019 POLITICALEDUCATIONPATTERNS                      $20,000.00
10/16/2018     FIRSTENERGY                                                 $400,000.00   10/17/2019 FIRSTENERGYSERVICECO.                           $248,000.00
10/19/2018     CHARTERCOMMUNICATIONS                                      $15,000.00  10/22/2019 PARTNERSFORPROGRESSINC.                        $3,000,000.00
10/19/2018     CHARTERCOMMUNICATIONS                                      $35,000.00   11/5/2019   MVP,LLC                                        $50,000.00
10/23/2018     55GREENMEADOWS                                            $10,000.00  11/15/2019 55GREENMEADOWS                                  $60,000.00
10/23/2018     HEALTHCAREFACILITYMGMT,LLC                              $10,000.00  11/15/2019 FAIRGAMINGCOALITIONOFOHIO                     $100,000.00
10/23/2018     KARENBUCHWALDWRIGHTREVOCABLETST                         $250,000.00   11/15/2019 POLITICALEDUCATIONPATTERNS                      $20,000.00




                                                                                                                                                                                                  Page: 4
10/24/2018     EMPOWEROHIO,INC.                                          $50,000.00   12/2/2019   JOHNRBURGESS;SHARRONST.CLAIR               $25,000.00
10/29/2018     FIRSTENERGY                                                 $100,000.00   12/10/2019 ELDORADOGAMINGSCIOTODOWNS                      $15,000.00
10/30/2018     RAISERVICESCOMPANY                                        $5,000.00  1/21/2020   EMPOWEROHIOINC.                               $100,000.00
2/15/2019      POLITICALEDUCATIONPATTERNS                                $25,000.00   1/21/2020   POLITICALEDUCATIONPATTERNS                    $20,000.00
3/6/2019       CHARTERCOMMUNICATIONS                                      $25,000.00   1/28/2020   NATIONWIDEMUTUALINSURANCECOMPANY             $25,000.00
3/6/2019       GERALDINEB.WARNER                                         $25,000.00   2/19/2020   55GREENMEADOWS                                $100,000.00
3/8/2019       GEORGER.&AMYF.JOSEPH                                   $10,000.00   2/27/2020   POLITICALEDUCATIONPATTERNS                    $20,000.00
3/8/2019       ROBERTE.&BRYNNEF.COLETTI                               $5,000.00   3/3/2020   PARTNERSFORPROGRESSINC.                      $2,000,000.00
3/8/2019       SCOTTD.&MARYJ.FARMER                                   $5,000.00   3/5/2020   CHARTERCOMMUNICATIONS                          $25,000.00
3/25/2019      GLASOLUTIONS,LLC.                                         $25,000.00   3/12/2020   55GREENMEADOWS                                $25,000.00
3/25/2019      GLASOLUTIONS,LLC.                                         $25,000.00   4/27/2020   MOLINAHEALTHCARE                               $100,000.00
3/26/2019      55GREENMEADOWS                                            $60,000.00   5/21/2020   55GREENMEADOWS                                $25,000.00
4/12/2019      EMPOWEROHIO,INC.                                          $250,000.00    6/15/2020   GIANTEAGLE,INC.                               $25,000.00
4/30/2019      FIRSTENERGYSERVICECO.                                     $1,500,000.00 Transactionsunder$5,000                                        $34,325.22
*ExcludesdepositsfromrelatedaccountGenerationNow                                                        TOTAL*                                          $64,397,395.22

                                                                              App'x 002
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Situation Analysis
Out-of-state gas and wind energy interests are working to defeat House Bill 6 (HB6). We are
looking to expose them and protect our members against whom they are running ads.

Message
We will educate members and build public support for HB6, by showing this bill allows for costs
savings, jobs, and keeping dollars in Ohio.

Deliverables
We will develop a communications strategy and plan with targeted messages to our target
audience.

Targeted Communications Campaign
Our targets are:
Legislators in the Ohio House and Senate.
Our opponents, to know there is a price to pay for opposing this bill.                            462

Phone Patching:
We will reinforce our advertising with a paid live patch-through phone calls. We will dial out into
the communities educate voters and patch them through to their elected officials.

Digital:
We will create a landing page to cookie and track viewers and host the Gasland video. We will
utilize social media, display, and programmatic ads to drive people to the page to view the
trailer.

Texting:
We use Peer-to-Peer Texting to send SMS and MMS messages to large audiences - one
message at a time - either through the client’s volunteers or our call center. In this case, we
would handle the sending. Peer-to-Peer Texting will come in handy for this type of program is to
contact voters, sending them a video message to educate them on the issue and leading them
to an action.

Television and Radio:
We will defend our members and target our opponents. Focus will depend on budget, see
below.

Timeline
We propose beginning the campaign as soon as possible:
April 29     Begin Phone Patch Program, Texting, and Digital
April 30     Begin the Radio and TV Program in House
May 13       Begin the Radio and TV Program in Senate




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Budget
8 Week program to educate the Ohio electorate about the importance of passing HB6. Overall
budget would be $15-16m for a full burn over 8 weeks.

Phone Patch           Data Cost: $5,000
                      Dial Cost, assuming 100 calls into each target = $1,200 per target
                      Assuming 20 targets and 10 targets in the Senate = $36,000
Texting               Peer-to-Peer texting program approximate costs per
                      House District including data $2300 (multiply by 3 for
                      Senate Districts). Assuming 20 House and 5 Senate targets = $80,500
Television            To run over a two-week period targeting the House:
(Broadcast)           1,000 GRPs Cleveland                         $279,000
                      1,000 GRPs Columbus                          $192,000
                      1,000 GRPs Cincinnati                        $179,000
                      1,000 GRPs Youngstown                        $69,000
                      1,000 GRPs Wheeling/Steubenville             $72,000
                      1,000 GRPs Charleston                        $116,000
                      1,000 GRPs Zanesville                        $48,000
                      1,000 GRPs Parkersburg                       $43,000
                      Total Weekly Television (Broadcast)          $998,000
(Cable)               Statewide FoxNews                            $198,000
                      Columbus                                     $43,000
                      Youngstown                                   $15,000
                      Wheeling/Steubenville                        $5,000
                      Parkersburg                                  $2,000
                      Charleston                                   $12,000
                      Total Weekly Cable                           $275,000
Digital               FB: 2.3MM Reach, 3k-6k link clicks/day       $300,000
                      Graphic Display: 54-70mm impressions
                      at 5/24 frequency.                           $400,000
                      Total Digital                                $700,000

Radio                 Statewide radio targeting voting age adults.
                      Total Weekly Radio                           $150,000

Production            Radio spots at $1,250 each
                      Television spots at $6,500 each

Mail                  Will be dependent on how many legislators we target to receive the
                      messages. For budgeting purposes, we will figure on 20-30 House
                      targets and 10-15 Senate targets at (3) pieces per target at $.45-
                      .50/piece. House Members we assume 100,000 total pieces and Senate
                      Members we assume 300,000 total pieces. Total Mail $3,250,000

Conclusion
We are excited about the prospect of working on this project and making a strong impact on
public opinion on the legislation. We are available to answer any of your questions or provide
additional information as necessary. Thank you.




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                                          App'x 005
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                                                                                                      624B
                                 EMPLOYMENT             AGREEMENT

      THIS EMPLOYMENT            AGREEMENT         (the "Agreement"),   dated as of this 7th day of
  August, 2019

  BETWEEN:

                                     Advanced Micro Targeting, Inc.
                                           (the "Employer")

                                                 -AND-

                                              Tyler Fehrman
                                            (the "Employee")




BACKGROUND:

    A. The Employer is of the opinion that the Employee has the necessary qualifications, experience
       and abilities to assist and benefit the Employer in its business.

    B. The Employer desires to employ the Employee and the Employee has agreed to accept and enter
       such employment upon the terms and conditions set out in this Agreement.

IN CONSIDERATION          OF the matters described above and of the mutual benefits and obligations set
forth in this Agreement, the receipt and sufficiency of which consideration is hereby acknowledged, the
parties to this Agreement agree as follows:

   Section 1. Commencement Date and Term.                 The Employee will begin full-time employment
   with the Employer on the 7th day of August, 2019 (the "Commencement Date") for a ballot initiative
   project in the State of Ohio ("Project") and continuing such full-time employment until the conclusion
   of the Project ("Term"). The Project is expected to be completed on or before October 31, 2019.
   Employer reserves the right to relocate Employee to other Company projects around the country if
   deemed necessary by Employer on the same terms and conditions required for this Project. Upon the
   Commencement Date, any previous employment agreement between Employee and Company is
   deemed to be terminated. Notwithstanding anything to the contrary contained herein, in no event
   shall the Commencement Date occur before Employer has received a completed and signed Ohio
   Form 15 from Employee and filed the same with the Ohio Secretary of State.

   EMPLOYEE IS EXPRESSLY PROHIBITED FROM BEGINNING ANY WORK ON THE
   PROJECT PRIOR TO EMPLOYER HAVING RECEIVED A COMPLETED AND SIGNED
   omo FORM 15 FROM EMPLOYEE AND FILED THE SAME WITH THE omo
   SECRETARY OF STATE.

   Section 2. At Will EmDlovment.            The Employee shall be considered an "at will" Employee.
   Employer shall have the right to terminate Employee's employment with Employer at any time for any
   reason permitted under applicable law or for no reason. Employer shall have the right to terminate



                                                    1
AMT Employment Contract.Ohio.Fehrman.080619.01
                                              App'x 006
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    Employee's employment without any notice or compensation to the Employee other than wages owed
    for days of work already completed and subject to the provisions of Section 13.

   Section 3. Job Title and Description.          The Employer agrees to employ the Employee as a Project
   Manager. The Employee will be expected to perform the following job duties: Duties to include, but
   not limited to the following: arrive to work on time, comply with all Employer policies as may be
   communicated to Employee, complete all required Ohio paperwork as prescribed by the State of Ohio
   and Employer, including Ohio's Form 15 prior to starting any work on the Project, have a detailed
   understanding of the Project and related issues, prepare maps and devices for use in the field, obtain
   ballot petition signatures and supervise the collection of ballot petition signatures that comply with
   Employer's quality standards and all applicable laws, supervise and ensure the proper completion of
   circulator statements as prescribed by the State of Ohio and Employer for all petition books, manage
   team members, review and edit reports, ensure all petitioners report their signature totals on an hourly
   basis at the top of every hour, and such other related duties as determined by Employer.

   The Employee agrees to be employed on the terms and conditions set out in this Agreement. The
   Employee agrees to be subject to the general supervision of and act pursuant to the orders, advice and
   direction ofthe Employer.

   The Employee will perform any and all duties that are reasonable and that are customarily performed
   by a person holding a similar position in the industry or business of the Employer.

   The Employer may in its sole discretion unilaterally and significantly change the Employee's job title
   or duties. The Employee agrees to abide by the Employer's rules, regulations, and practices, including
   those concerning work schedules, and sick leave, as they may from time to time be adopted or modified.

   Section 4: Employee Compensation.       Compensation paid to the Employee for the services rendered
   by the Employee as required by this Agreement (the "Compensation") will include a monthly salary
   equal to Five Thousand and 00/1 00 Dollars ($5,000.00), to be prorated based upon the actual length of
   the Term.

   This Compensation will be payable twice per month while this Agreement is in force. The Employer
   is entitled to deduct from the Employee's Compensation, or from any other compensation in
   whatever form, any applicable deductions and remittances as required by law, including without
   limitation, Unauthorized Expenses pursuant to Section 13. The Employer shall have the right in
   its sole discretion to withhold Employee's final paycheck for a period of up to fifteen (15) business
   days to determine the existence of any unpaid Unauthorized Expenses.

   The Employee understands and agrees that any additional compensation paid to the Employee in the
   form of bonuses or other similar incentive compensation will rest in the sole discretion of the Employer
   and that the Employee will not earn or accrue any right to incentive compensation by reason of the
   Employee's employment. Notwithstanding the foregoing, Employee is eligible for a referral bonus of
   One Hundred and 00/100 Dollars ($100.00) (the "Referral Bonus") for each new employee referred by
   Employee to Employer provided that such referred new employee is actually hired by Employer and
   further provided that such referred new employee remains employed by Employer for a minimum of
   sixty (60) days. The Referral Bonus will be paid to Employee, if at all, following the completion of the
   applicable referred new employee's initial sixty-day (60) employment period.




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    Section 5: Duty to Devote Full Time. The Employee agrees to devote full-time efforts, as an
    employee of the Employer, to the employment duties and obligations as described in this Agreement.
    Due to the nature of the Project, which primarily consists of ballot initiative work, full-time hours will
    be set by Employer and such hours may vary on a day-to-day basis and may vary based upon weather,
    available daylight, and such other factors as may be determined by Employer in its sole discretion.

    Section 6: Conflict of Interest. During the term of the Employee's active employment with the
    Employer, it is understood and agreed that any business opportunity relating to or similar to the
    Employer's actual or reasonably anticipated business opportunities (with the exception of personal
    investments in less than 5% of the equity of a business, investments in established family businesses,
    real estate, or investments in stocks and bonds traded on public stock exchanges) coming to the attention
    of the Employee, is an opportunity belonging to the Employer. Therefore, the Employee will advise the
    Employer of the opportunity and cannot pursue the opportunity, directly or indirectly, without the
    written consent of the Employer, which may be withheld in Employer's sole discretion.

    During the term of the Employee's active employment with the Employer, the Employee will not,
    directly or indirectly, engage or participate in any other business activities that the Employer, in its sole
    discretion, determines to be in conflict with the Employer's business.

   Section 7: Non-Competition.          The Employee agrees that during the Employee's term of active
   employment with the Employer and for a period of two (2) years after the end of that term, the
   Employee will not, directly or indirectly, as employee, owner, sole proprietor, partner, director,
   member, consultant, agent, founder, co-venturer or otherwise, solely or jointly with others engage in
   any business that is in competition with the business of the Employer or the current or active clients of
   the Employer within any geographic area in which the Employer conducts its business, or give advice
   or lend credit, money or the Employee's reputation to any natural person or business entity engaged in
   a competing business in any geographic area in which the Employer conducts its business.

   Section 8: Non-Solicitation. The Employee understands and agrees that any attempt on the part of
   the Employee to induce other employees or contractors to leave the Employer's employ, or any effort
   by the Employee to interfere with the Employer's relationship with its other employees and contractors
   would be harmful and damaging to the Employer. The Employee agrees that during the Employee's
   term of employment with the Employer and for a period of two (2) years after the end of that term, the
   Employee will not in any way, directly or indirectly:

            a.   Induce or attempt to induce any employee           or contractor   of the Employer to quit
                 employment or retainer with the Employer;

            b.   Otherwise interfere with or disrupt the Employer's relationship with its employees and
                 contractors;

            c.   Discuss employment opportunities or provide information about competitive employment
                 to any of the Employer's employees or contractors; or

            d.   Solicit, entice, or hire away any employee or contractor of the Employer for the purpose of
                 an employment opportunity that is in competition with the Employer.

   This non-solicitation obligation as described in this section will be limited to employees or contractors
   who were employees or contractors of the Employer during the period that the Employee was employed
   by the Employer.

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    During the term of the Employee's active employment with the Employer, and for two (2) years
    thereafter, the Employee will not divert or attempt to divert from the Employer any business the
    Employer had enjoyed, solicited, or attempted to solicit, from its customers, prior to termination or
    expiration, as the case may be, of the Employee's employment with the Employer.

    Section 9: Confidential Information.         The Employee acknowledges that, in any position the
    Employee may hold, in and as a result ofthe Employee's employment by the Employer, the Employee
    will, or may, be making use of, acquiring or adding to information which is confidential to the Employer
    (the "Confidential Information") and the Confidential Information is the exclusive property of the
    Employer.

   The Confidential Information will include all data and information relating to the business and
   management of the Employer, including but not limited to, proprietary and trade secret technology and
   accounting records to which access is obtained by the Employee, including Work Product, Computer
   Software, Other Proprietary Data, Business Operations, Marketing and Development Operations, and
   Customer Information.

   The Confidential Information will also include any information that has been disclosed by a third party
   to the Employer and is governed by a non-disclosure agreement entered into between that third party
   and the Employer.

   The Confidential Information will not include information that:

            a.   Is generally known in the industry of the Employer;

            b.   Is now or subsequently becomes generally available to the public through no wrongful act
                 of the Employee;

            c.   Was rightfully in the possession of the Employee prior to the disclosure to the Employee
                 by the Employer;

            d.   Is independently created by the Employee without direct or indirect use of the Confidential
                 Information; or

            e.   The Employee rightfully obtains from a third party who has the right to transfer or disclose
                 it.

   The Confidential Information will also not include anything developed or produced by the Employee
   during the Employee's term of employment with the Employer, including but not limited to, any
   intellectual property, process, design, development, creation, research, invention, know-how, trade
   name, trade-mark or copyright that:

            a.   Was developed without the use of equipment, supplies, facility or Confidentiallnfonnation
                 of the Employer;

            b.   Was developed entirely on the Employee's own time;

           c.    Does not result from any work performed by the Employee for the Employer; and



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           d.   Does not relate to any actual or reasonably anticipated        business opportunity of the
                Employer.

   Section 10:          Duties and Obligations Concerning Confidential Information. The Employee
   agrees that a material term of the Employee's contract with the Employer is to keep all Confidential
   Information absolutely confidential and protect its release from the public through any medium,
   including social media. The Employee agrees not to divulge, reveal, report or use, for any purpose, any
   of the Confidential Information which the Employee has obtained or which was disclosed to the
   Employee by the Employer as a result of the Employee's employment by the Employer. The Employee
   agrees that if there is any question as to such disclosure then the Employee will seek out senior
   management of the Employer prior to making any disclosure of the Employer's information that may
   be covered by this Agreement.

   The Employee agrees and acknowledges that the Confidential Information is of a proprietary and
   confidential nature and that any disclosure of the Confidential Information to a third party in breach of
   this Agreement cannot be reasonably or adequately compensated for in money damages, would cause
   irreparable injury to Employer, would gravely affect the effective and successful conduct of the
   Employer's business and goodwill, and would be a material breach of this Agreement.

   The obligations to ensure and protect the confidentiality of the Confidential Information imposed on
   the Employee in this Agreement and any obligations to provide notice under this Agreement will
   survive the expiration or termination, as the case may be, of this Agreement and will continue for a
   period of five (5) years from the date of such expiration or termination.

   The Employee may disclose any of the Confidential Information:

           a.   To a third party where Employer has consented in writing to such disclosure; and

           b.   To the extent required by law or by the request or requirement of any judicial, legislative,
                administrative or other governmental body.

   If the Employee loses or makes unauthorized disclosure of any of the Confidential Information, the
   Employee will immediately notify the Employer and take all reasonable steps necessary to retrieve the
   lost or improperly disclosed Confidential Information.

   Section 11:          Ownership      and Title to Confidential        Information.       The Employee
   acknowledges and agrees that all rights, title and interest in any Confidential Information will remain
   the exclusive property of the Employer. Accordingly, the Employee specifically agrees and
   acknowledges that the Employee will have no interest in the Confidential Information, including,
   without limitation, no interest in know-how, copyright, trade-marks or trade names, notwithstanding
   the fact that the Employee may have created or contributed to the creation of the Confidential
   Information.

   The Employee waives any moral or equitable rights that the Employee may have with respect to the
   Confidential Information.

   The Employee agrees to immediately disclose to the Employer all Confidential Information developed
   in whole or in part by the Employee during the Employee's term of employment with the Employer and
   to assign to the Employer any right, title or interest the Employee may have in the Confidential
   Information. The Employee agrees to execute any instruments and to do all other things reasonably

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   requested by the Employer, both during and after the Employee's employment with the Employer, in
   order to vest more fully in the Employer all ownership rights in those items transferred by the Employee
   to the Employer.

   Section 12:          Return of Confidential Information. The Employee agrees that, upon request of
   the Employer or upon termination or expiration, as the case may be, of this employment, the Employee
   will turn over to the Employer all Confidential Information belonging to the Employer, including but
   not limited to, all documents, plans, specifications, disks or other computer media, as well as any
   duplicates or backups made of that Confidential Information in whatever form or media, in the
   possession or control of the Employee that:

           a.   May contain or be derived from ideas, concepts, creations, or trade secrets and other
                proprietary and Confidential Information as defined in this Agreement; or

           b.   Is connected with or derived from the Employee's employment with the Employer.


   Section 13:            Unauthorized Expenses.        Employee is responsible
   for any and all expenses incurred without the prior express written approval
   of Employer or resulting from Employee's failure to abide by the terms and
   conditions of the Agreement ("Unauthorized Expenses"). Unauthorized
   Expenses include, without limitation, the following: any fines charged to
   Company for Employees's failure to comply with all applicable laws,
   hotel/motel room or other temporary housing service charges, including
   without limitation, cleaning and damage fees; car rental charges for traffic
   violations occurring while using such rental car; car rental cleaning fees,
   damage fees and fuel charges; any costs incurred by Employer for flight,
   bus, taxi or other travel arrangements for Employee or any other expenses
   incurred due to, following, or resulting from, the resignation or termination
   for cause of Employee (including all housing expenses and travel expenses
   to and from the location of the work site and Employee's primary residence);
   unauthorized credit or debit card charges; and any costs or expenses
   incurred by Employer in enforcing the terms and conditions of this
   Agreement or in seeking reimbursement or remediation of any violations by
   Employee of the terms and conditions of this Agreement. Employer and
   Employee acknowledge and agree that any failure of Employee to return any
   property of Employer, including without limitation, un-notarized petitions,
   ANY petitions or other Work Product in Employee's possession, keys,
   palms, mobile devices, computers, phones, rental cars, etc., in a timely and
   undamaged manner, as determined by Employer in its sole discretion, shall
   be considered Unauthorized Expenses. The Employer is entitled to deduct
   from the Employee's Compensation, or from any other compensation in
   whatever form, any applicable deductions and remittances as required by
   law, including without limitation, Unauthorized Expenses pursuant to this

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   Section 13. The Employer shall have the right in its sole discretion to
   withhold Employee's final paycheck for a period of up to fifteen (15)
   business days to determine the existence of any unpaid Unauthorized
   Expenses.
                                                                          TYLE


                                                                          Employee Signature

   Section 14.          Contract Binding Authority. Notwithstanding any other term or condition
   expressed or implied in this Agreement to the contrary, the Employee will not have the authority to
   enter into any contracts or commitments for or on the behalf of the Employer without first obtaining
   the express written consent of the Employer.

   Section 15.          Reserved.

   Section 16.          Prohibited Conduct.     Employee shall not be under the influence of any
   controlled substance during work hours. Employee acknowledges and agrees that Employer shall
   have the right in its sole discretion to require random drug tests of Employee. Any illegal or
   fraudulent activity by Employee in the course of employment is expressly prohibited. In the event
   Employer determines that Employee has submitted fraudulent work product, including without
   limitation, fraudulent petition signatures or fraudulent voter interviews, Employee's employment
   will be immediately terminated and Employer may in its sole discretion turn such matters over
   to law enforcement. Employee acknowledges and agrees that in the event of any illegal or
   fraudulent activity or other gross misconduct by Employee in the course of employment,
   Employee shall forfeit all unpaid or uncollected wages. Employee acknowledges and agrees that
   Employee is prohibited from publishing on any medium, including social media, anything which
   would reflect poorly on Employer or its clients, as determined by Employer in its sole discretion.

   Section 17.           Remedies/Dispute Resolution. In the event of a breach or threatened breach by
   the Employee of any of the provisions of this Agreement, the Employee agrees that the Employer is
   entitled to a permanent injunction, in addition to and not in limitation of any other rights and remedies
   available to the Employer at law or in equity, in order to prevent or restrain any such breach by the
   Employee or by the Employee's partners, agents, representatives, servants, employees, and/or any and
   all persons directly or indirectly acting for or with the Employee.

Employer and Employee expressly agree that, except as provided in
the immediately preceding paragraph of this Agreement, all disputes
arising out of this Agreement shall be resolved by arbitration in
accordance with the following provisions. Either party must demand
in writing such arbitration within ten days after the controversy
arises by sending a notice to arbitrate to both the other party and to
the American Arbitration Association (hereinafter referred to as

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"AAA "). The controversy shall then be arbitrated pursuant to the
rules promulgated by the AAA at the AAA's offices located in Clark
County, Nevada. The parties will select by mutual agreement the
arbitrator or arbitrators   (hereinafter collectively referred to as
"arbitrator")  to hear and resolve the controversy. The arbitrator
shall be governed by the express terms of this Agreement and the laws
of the State of Nevada. The arbitrator's decision shall be final and
binding on the parties and shall bar any suit, action, or proceeding
instituted in any federal, state, or local court or administrative
tribunal, including the right to bring or join a class or collective action
or participate in a "class arbitration". Notwithstanding the preceding
sentence, the arbitrator's judgment may be entered in any court of
competent jurisdiction. These arbitration provisions shall survive the
termination of this Agreement.

I UNDERSTAND THAT I AM VOLUNTARILY AGREEING TO
ARBITRATE DISPUTES ARISING UNDER THIS AGREEMENT
AND THAT I AM GIVING UP MY RIGHT TO A TRIAL BY JURY
AND THE RIGHT TO JOIN A CLASS OR COLLECTIVE ACTION
OR PARTICIPATE IN A "CLASS ARBITRATION".
   (c          L-

Employee Signature

   Section 18.            Severability. The Employer and the Employee acknowledge that this Agreement
   is reasonable, valid and enforceable. However, if any term, covenant, condition or provision of this
   Agreement is held by a court of competent jurisdiction to be invalid, void or unenforceable, it is the
   parties' intent that such provision be changed in scope by the court only to the extent deemed necessary
   by that court to render the provision reasonable and enforceable and the remainder of the provisions of
   this Agreement will in no way be affected, impaired or invalidated as a result.




   Section 19.         Notices. Any notices, deliveries, requests, demands or other communications
   required here will be deemed to be completed when hand-delivered, delivered by agent, or seven (7)


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   days after being placed in the post, postage prepaid, to the parties at the following addresses or as the
   parties may later designate in writing:

           a.    Employer:


                 Name:             Advanced Micro Targeting



                 Address:          5757 Alpha Rd., Suite 501, Dallas, TX 75240




           b.    Employee:


                 Name:             Tyler Fehrman

                 Address:           1752 Ridgebury Drive, Hilliard, OH 43026

                 Email:             tfehrman@gmail.com


   Section 20.           Modification of Agreement. Any amendment or modification of this Agreement
   or additional obligation assumed by either party in connection with this Agreement will only be binding
   if evidenced in writing signed by each party or an authorized representative of each party.

   Section 21.        Governing Law. This Agreement will be construed in accordance with and
   governed by the laws of the state of Nevada.

   Section 22.            Definitions.   For the purpose of this Agreement the following definitions will
   apply:

           a.    'Work Product' means work product information, including but not limited to, work product
                 resulting from or related to work or projects performed or to be performed for the Employer
                 or for clients of the Employer, of any type or form in any stage of actual or anticipated
                 research and development.
           b.    'Computer Software' means computer software resulting from or related to work or projects
                 performed or to be performed for the Employer or for cl ients of the Employer, of any type
                 or form in any stage of actual or anticipated research and development, including but not
                 limited to, programs and program modules, routines and subroutines, processes,
                 algorithms,    design concepts, design specifications         (design notes, annotations,
                 documentation, flowcharts, coding sheets, and the like), source code, object code and load
                 modules, programming, program patches and system designs.
           c.    'Other Proprietary Data' means information relating to the Employer's proprietary rights
                 prior to any public disclosure of such information, including but not limited to, the nature
                 of the proprietary rights, production data, technical and engineering data, test data and test
                 results, the status and details of research and development of products and services, and
                 information regarding acquiring, protecting, enforcing and licensing proprietary rights
                 (including patents, copyrights and trade secrets).
           d.    'Business Operations' means operational information, including but not limited to, internal
                 personnel and financial information, vendor names and other vendor information

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                 (including vendor characteristics, services and agreements), purchasing and internal cost
                 infonnation, internal services and operational manuals, and the manner and methods of
                 conducting the Employer's business.
           e.    'Marketing and Development Operations' means marketing and development infonnation,
                 including but not limited to, marketing and development plans, price and cost data, price
                 and fee amounts, pricing and billing policies, quoting procedures, marketing techniques
                 and methods of obtaining business, forecasts and forecast assumptions and volumes, and
                 future plans and potential strategies of the Employer which have been or are being
                 considered.
           f.    'Customer Information' means customer information, including but not limited to, names
                 of customers and their representatives, contracts and their contents and parties, customer
                 services, data provided by customers and the type, quantity and specifications of products
                 and services purchased, leased, licensed or received by customers of the Employer.
           g.    'Termination Date' means the date specified in this Agreement or in a subsequent notice by
                 either the Employee or the Employer to be the last day of employment under this
                 Agreement. The parties acknowledge that various provisions of this Agreement will
                 survive the Termination Date.

   Section 23.           General Provisions.

   Time is of the essence in this Agreement.

   Headings are inserted for the convenience of the parties only and are not to be considered when
   interpreting this Agreement. Words in the singular mean and include the plural and vice versa. Words
   in the masculine mean and include the feminine and vice versa.

   No failure or delay by either party to this Agreement in exercising any power, right or privilege
   provided in this Agreement will operate as a waiver, nor will any single or partial exercise of such
   rights, powers or privileges preclude any further exercise of them or the exercise of any other right,
   power or privilege provided in this Agreement.

   This Agreement will inure to the benefit of and be binding upon the respective heirs, executors,
   administrators, successors and assigns, as the case may be, of the Employer and the Employee.

   This Agreement may be executed in counterparts. Facsimile signatures are binding and are considered
   to be original signatures.

   This Agreement constitutes the entire agreement between the parties and there are no further items or
   provisions, either oral or written. The parties to this Agreement stipulate that neither of them has made
   any representations with respect to the subject matter of this Agreement except such representations as
   are specifically set forth in this Agreement.




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EMPLOYER:
                                       /';

Latiecha Crowden                    (:;f~._,     H. C~/                       Aug 14, 2019

Print                               Sign                                     Date




EMPLOYEE:
TYLER C FEHRMAN                                                               Aug 6,2019
Print                               Sign                                     Date




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            (Filed Manually)




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                  GX 913
            (Filed Manually)




                       App'x 026
FirstEnergy Solutions Corp.
Regular Meeting of Board of Directors
West Akron Campus Hub-215
9:00 a.m. Eastern Time
August 22, 2019
AGENDA
1. Call Meeting to Order
2. Roll Call
Mr. John C. Blickle
Mr. James C. Boland
Mr. John W. Judge
Mr. Donald R. Schneider
Mr. Joseph M. Gingo




                                                                                         Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 29
3. Approval of Minutes
A. Consideration should be given to the approval of the minutes of the regular meeting
of the Board of Directors held July 24, 2019, and the approval of the minutes of the
special meeting of the Board of Directors on August 7, 2019
4. Presentations
A. Update on Regulatory Affairs (Griffing)
B. Update on July Operational & Financial Results (David/Jay/Brian/Kevin)
C. Update on Bankruptcy/ Disclosure (Akin/Alvarez)
D. Update From CEO
5. Executive Session
6. Adjournment
1/88
Confidential Treatment Requested Pursuant to EH-GJ-0183993
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593952
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                                                                                                                App'x 027
FirstEnergy Solutions Corp.
Regular Meeting of Board of Directors
West Akron Campus Hub-215
9:00 a.m. Eastern Time
August 22, 2019
AGENDA
1. Call Meeting to Order
2. Roll Call
Mr. John C. Blickle
Mr. James C. Boland
Mr. John W. Judge
Mr. Donald R. Schneider
Mr. Joseph M. Gingo




                                                                                         Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 30
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D. Update From CEO
5. Executive Session
6. Adjournment
2/88
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                                                                                                                App'x 028
For Professional Eyes Only
Subject fo FRE 408 and Reiated Privileges
FirstEnergy
Solutions
3/88
Confidential Treatment Requested Pursuant to EH-GJ-0183995
FOIA and Fed. R. Crim. P. 6(e)
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Limitations of Report / Disclaimers
Disclaimer
The information herein has been prepared by Lazard Freres & Co., LLC (‘Lazard’), Akin Gump Strauss Hauer & Feld LLP (Akin Gump’), and Alvarez &
Marsal North America, LLC (Alvarez & Marsal’) based upon information supplied by FirstEnergy Solutions Corp. (FES or the Company’), and
portions of the information herein may be based upon certain statements, estimates and projections provided by the Company with respect to the
anticipated future performance of the Company. We have relied upon the accuracy and completeness of the forgoing information, and have not
assumed any responsibility for any independent verification of such information or any independent valuation or appraisal of any of the assets or
liabilities of the Company, or any other entity, or concerning solvency or fair value of the Company or any other entity. With respect to financial
projections, we have assumed that they have been reasonably prepared in good faith on bases reflecting the best currently available estimates and
judgements of management of the Company as fo the future financial performance of the Company. We assume no responsibility for and express no
view as to such projections or the assumptions on which they are based. The information set forth herein is based upon economic, monetary, market
and other conditions as in effect on, and the information made available to us as of, the date hereof, unless indicated otherwise. These materials and




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the information contained herein are confidential and may not be disclosed publicly or made available to third parties without the prior written consent of
Lazard, Akin Gump and Alvarez & Marsal. These materials are preliminary and summary in nature and do not include all of the information that parties
should evaluate in considering a possible transaction. Nothing herein shall constitute a commitment or undertaking on the part of Lazard, Akin Gump,
Alvarez & Marsal or any related party to provide any service. Lazard is acting as investment banker to the Company and Alvarez & Marsal Is acting as
financial advisor to the Company, and will not be responsible for and will nat provide any tax, accounting, actuarial, legal or other specialist advice.
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0183996
FOIA and Fed. R. Crim. P. 6(e)
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— Highlights
— Select Upcoming Motions




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Definitions _
Allegheny Energy Supply
Company, LLC
FirstEnergy Ventures Corp.
Net Demonstrated Capacity
ATC Around the Clack FG FirstEnergy Generation, LLC NDT Nuclear Decommissioning Trust
American Transmission Systems FirstEnergy Generation Mansfield FirstEnergy Nuclear Generation,
Ale) Inc. eM) Unit 1 Corp. No LLC
BRA Base Residual Auction FMB First Mortgage Bond NRC ae Nuclear Regulatory
ommission
DOE U.S. Department of Energy INPO Perle p) Hugeat Powe OVEC Ohio Valley Electric Corporation
Operations




                                                                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 34
DS Disclosure Statement KWh Kilowatt-hour PJM PJM Interconnection, L.L.C.
EFOR Equivalent Forced Outage Rate LBR Little Blue Run POLR Provider of Last Resort
EPA Agen Protection LMP Locational Marginal Price POR Plan of Reorganization
FE FirstEnergy Corp. MATS Mercury and Air Toxics Standards REC Renewable Energy Credit
FENOC FirstEnergy Nuclear Operating MISO Midcontinent Independent System RPM Reliability Pricing Model (PJM
Company Operator, Inc. Capacity)
FERC Federal Energy Regulatory MW Megawalt RTO Regional Transmission
Commission Organization
FES FirstEnergy Solutions Corp. MWd Megawatt-day TWh Terawatt-hour
FESC FirstEnergy Service Company MWh Megawatt-hour ZEN Zero Emission Nuclear Credits
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0183998
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593957
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                                                                                                                                     App'x 032
Nuclear
For Profess ona! Eyes Only — subject fo Coniidertia'’ Agreements
eo Beelece, aeesss GS ice is sae ee cca cee SN
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                                                                                          App'x 033
be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Nuclear | Safety
0.70
0.60
0.50
0.40
Nuclear
OSHA Rate
0.30
0.20
0.10 A oo
Jan Feb Mar Aor May Jun “Jul “Aug Sep Oct Nov ‘Dec
ci!“ §ZYTO 9,00 0.00 0.00 0.00 0.00 0.00 0.00 0.00 0.11 0.20 0.18 0.17




                                                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 36
wemmm "FO YTD 0.51 0.53 0.65 0.49 0.50 0.43 0.38
om oe '19 Target 0.19 0.19 0.19 0.19 0.19 0.19 0.19 0.19 0.19 0.19 0.19 0.19
Highlights
a Nuclear operations had no incidents in July 2019
a For year-to-date 2019, nuclear operations had five incidents, resulting in a OSHA incident rate of 0.38, which is
unfavorable to the target of 0.19
July 2019 Fo
Confidential Treatment Requested Pursuant to EH-GJ-0184000
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593959
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                                                                                                                                             App'x 034
| ‘ Beg fea EG : Hi hli h
Ce es 8) | Nee erg ee De aia) g g ts
N7D July a Perry metrics were unfavorable for July and year-to-date as the unit was taken off line
Unit capability factor 400% 400% 100%, 36% from July 27- August 6 due to a turbine trip, in addition to the station being taken
Capacity factor 36% 37% 39% 83% offline for six days in June related to a valve leak
Online reliability factor 0% 0% 0% 14%
INPO index 92.5 100.0 100.0 88.3
Q Perry’s INPO index metrics were unfavorable to forecast due to the unplanned
Unit capability factor 97% 97% 97% 96% outages in June and July; and higher than forecast dose rates and safety incidents
Capacity factor 93% 93% 95% 94% compared to forecast
Online reliability factor 2% 2% 2% 2%
INPO index 92.5 100.0 100.0 99.7
a Unit capability and capacity factor metrics for Beaver Valley Unit 1, Beaver Valley Unit




                                                                                                                                                                                                         Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 37
Unit capability factor 3% 3%, 3% (10%) 2, and Davis-Besse were favorable to forecast due to fewer planned and unplanned
Capacity factor 4% 4% 5% (12%) losses
Online reliability factor 2% 2% 2% (12%)
INPO index 0.0 0.0 0.0 (11.4)
Refueling Cycles
a Beaver Valley Unit 1
Unit capability factor
Capacity factor 98% 98% 99% BA% i. 2019: October / November
Online reliability factor 0% O% 1% 6% . .
INPO index 92.5 100.0 100.0 28.3 ~ 2021: April / May (not in the forecast)
Headcount’ 339 339 593 624
a Beaver Valley Unit 2
~ 2020: April / May
Unit capability factor
Capacity factor 94% 94% 95% 76% . .
Online reliability factor 2y, 2% 39, m0 2021: October / November (not in the forecast)
INPO index 92.5 100.0 100.0 99.7 Q Davis-Besse
Headcount 359 359 618 661
~ 2020: February / March {not in the forecast) — authorized
ni capabi ity actor
" (%) 2022: March / April (not in the forecast)
Capacity factor 8%
Online reliability factor 2% 2% 1% (4%) 2 Pe rry
INPO index 0.0 0.0 0.0 (11.4)
Headcount 20 20 25 5 2021: March / April (not in the forecast)
Definitions
Unit capability factor - The ratio of actual energy produced to maximum energy the unit is capable of generating. Items considered to be outside the control of plant management are not considered in
determination of losses. Plants with a high unit capability are successful in reducing unplanned outages and improving planned outages.
Online reliability factor - Measures the generation losses between refueling outages minus generation losses from pre-determined activities required by plant design.
INPO index - Caiculated using 10 operating / safety metrics, including unit capability and online reliability.
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0184001
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593960
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                                                                                                                                                                                                                                App'x 035
Nuclear | Financial Results (Disclosure Statement)
July-19 Highlights
Nuclear P&L MTD YTD
Actual ny Var. to Visca i MTD: Free cash flow was $16 million
Seo a) a) aT Actual . .
Net Generation (TWh) 2.8 (0.0) 18.3 0.5 unfavorable primarily related to lower energy
$ /MWH $33.22 ($5.79) $33.92 ($7.10)
(1)
revenue due to unfavorable market prices (17%
Revenues
Energy Revenue $76.7. $93.6 ($17.0) $502.3. $619.3 ($117.0) lower), Perry’s unplanned turbine outage and
Ancillary 0.6 0.6 0.0 4.0 4.0 - i. . .
Capacity 10.4 10.2 0.2 109.0 108.6 0.4 timing of final fuel expense for the spring




                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 38
Total Plant Revenue $87.6 $104.4 ($16.7) $615.3 $731.9 ($116.6)
outage; partly offset by lower capital
Cost of Revenues
Nuclear Fuel Expense 2.5 0.5 (2.0) 32.3 20.9 (11.4) expenditures and lower O&M expense driven by
Total Variable Costs $2.5 $0.5 ($2.0) $32.3 $20.9 ($11.4) . ;
: . timing of contractor services and lower head
Variable Margin $85.2 $103.9 ($18.7) $583.0 $711.0 ($128.0)
Operations & Maintenance count
Labor & Benefits 22.5 24.2 1.7 173.6 183.2 9.6
Non-Outage OTL 11.6 10.9 (0.7) 68.7 72.8 4.0 _
Planned Outage OTL (0.0) 0.4 0.4 29.3 36.2 69 © YTD: Free cash flow was $80 million
S&E Assessments to Capital {0.9) {0.7) 0.2 {6.4) (6.4) 0.0 . .
Taxes (Property, B&O, etc.) 1.3 1.5 0.2 8.8 10.4 1.6 unfavorable primarily related to lower energy
Total Operations & Maintenance $34.4 $36.3 $1.9 $274.0 $296.2 $22.2 revenue due to unfavorable market prices,
Operating Margin $50.7 $67.6 ($16.8) $309.0 $414.7 ($105.7)
partially offset by higher generation, lower O&M
FENOC Fleet Support 13.6 12.2 (1.4) 67.2 79.6 12.4
expense driven by lower headcount and outage
+/(-) Capital Expenditures
KERP Cash Flow
2.2 (53.4) (70.3) on related expenditures and lower capital
0.0 3
expenditures
L ce en eee (enero) ee ey a intercompany ee SN Bees sik
ee ee ee ree
Confidential Treatment Requested Pursuant to EH-GJ-0184002
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                                                                       App'x 036
Fossil
eS Oh See Cee ee
ee ee ee eer ae cee SN
Confidential Treatment Requested Pursuant to EH-GJ-0184003
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593962
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                                                                                    App'x 037
be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Fossil | Safety
2.50
2.25
2.00
1.75
1.50
1.25
1.00
0.75
0.50
0.25
FES Fossil




                                                                                                                 Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 40
OSHA Rate
Jan Feb ‘Mar a ul Jun iE Aug Sep Oct. ‘Nov Dec
mmm 18 YTD 2.37 1.27 0.84 1.62 1.29 1.09 0.94 0.85 0.98 0.89 0.82 0.77
ti! "19 YTD 0.00 1.05 0.72 0.55 0.45 0.40 0.70
= «= °'19 Target 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58
Highlights
.1 Fossil operations had one incident in July 2019, where an employee at Sammis 7 experienced a muscle tear
while closing a valve
a For year-to-date 2019, fossil operations has experienced two incidents resulting in an OSHA incident rate of
0.70, which is unfavorable to the target of 0.58
even
Confidential Treatment Requested Pursuant to EH-GJ-0184004
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593963
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be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Sammis Highlights - MTD
: : : Mansfield : . : . . .
Fossil Business Unit Tene eas a Mansfield Unit 3 was unfavorable primarily due to economic
a . . . . .
ae dispatch for the majority of the period given lower market prices.
J
M In addition, Mansfield Unit 3 was on reserve status for the
Capacity factor 4% 48% majority of the period.
Fuel Coal Inventory Days’ 21 48 2 Sammis Units 5-7 was unfavorable primarily due to economic
dispatch, in addition, there were several forced outages due to
Capacity factor 63% 63% boiler tube leaks on all three units.
Fuel Coal Inventory Days' 24 14




                                                                                                  Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 41
Highlights — YTD
a Mansfield Unit 3: lower YTD capacity factor is primarily due to
economic dispatch due to lower market prices, in addition to
maintenance issues, such as belt repairs, air heater
Capacity factor (59%) (15%)
Fuel Coal Inventory Days" 3 (34)
Capacity factor 10% 35% replacements, and boiler tube failures.
Headcount 163 213 4 Sammis Units 5-7: lower YTD capacity factor is primarily due to
economic dispatch, in addition to maintenance issues related to
Capacity factor 68% 66% . .
Headcount 439 192 boiler tube failures and absorbers.
Capacity factor (58%) (31%) <2 Headcount is unfavorable to forecast primarily related to timing
Headcount (24) (21) of attrition.
Definitions a On August 9, the Company notified PJM that Bruce
Capacity factor - The ratio of actual energy produced to
maximum energy the unit is capable of generating.
Mansfield Unit 3 would deactivate in early November
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ee IO. oe
EO Ee i ee a,
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FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593964
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                                                                                                                         App'x 039
July-19 . .
eee AeA NY Sree Highlights
1B) AE aan ke) Var. to _—
Pee MTD Actual eee 2 MTD: Free cash flow was $9 million
Net Generation (1 Wh) 1) (0.5) 21 18 (4.7) unfavorable primarily related to lower energy
$/MWH $33.62 ($5.07) $29.57 $33.77 ($4.20)
1 Qo
Revenues! revenue due to unfavorable market prices (15%
Energy Revenue 3179 936.7 ($18.8) 993.0 $265.7 ($172.7) lower) and lower generation; partially offset by
Ancillary 0.6 0.7 (0.1) 4.2 48 (0.6) ,
Capacity 9.2 10.7 (1.5) 106.7 116.4 (9.7) the timing of severance and contractor fees and
Total Plant Revenue $27.7 $48.1 ($20.4) $203.9 $386.9 ($183.0)
Cost of Revenues lower coal and reagent usage




                                                                                                           Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 42
Coal 12.9 20.0 7.1 73.1 139.8 66.7
Fuel Handling 1.7 1.8 0.1 14.7 12.5 (2.2)
Reagents 47 5.4 0.7 25.1 43.6 18.5 © YTD: Free cash flow was $119 million
Total Variable Costs $19.2 $27.1 $7.9 $112.8 $195.8 $83.0
. . unfavorable primarily related to lower energy
Variable Margin $8.5 $21.0 ($12.5) $91.1 $191.0 ($100.0)
Operations & Maintenance revenue due to unfavorable market prices,
Labor & Benefits 2.8 3.6 0.9 28.4 25.3 (3.2) . -
Non-Outage OTL 2.7 4.1 1.4 28.9 28.8 (0.1) lower generation, timing of severance
Planned Outage OTL 0.0 - (0.0) 2.3 - (2.3) payments, and unfavorable O&M and capital
S&E Assessments to Capital (0.1) (0.0) 0.0 (0.5) (0.3) 0.2
Taxes (Property, B&O, etc.) 0.6 0.5 (0.1) 3.7 3.6 (0.1) expenditures due to forced outages and the pull
Total Operations & Maintenance $6.1 $8.2 $2.2 $62.9 $57.4 ($5.5) —— ;
ahead of planned outage activities at Mansfield
Operating Margin $2.4 $12.8 ($10.4) $28.2 $133.6 ($105.4)
Fossil Fleet Support 1.8 0.7 (1.0) 10.1 16.7 6.6 and Sammis scheduled for the fall 2019;
Severance 1.3 4.6 3.3 15.4 9.6 (5.8)
partially offset by favorable fleet support
expense and lower coal and reagent usage
+/{-) Capital Expenditures (1.1) - (1.1) (14.3) - (14.3} P g g
+/{-) KERP Cash Flow - - - - _ -
ee Pel fo: Brice Ee Se
ee ee ee co Evel a — oy 202
Ue ice ei Geo e eee (a ecee Je iu ie ec eu eels Wes cei
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FOIA and Fed. R. Crim. P. 6(e)
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Retail
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ee ee ee seh ee cee SN
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FOIA and Fed. R. Crim. P. 6(e)
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                                                                                    App'x 041
Retail | Financial Results (Disclosure Statement)
July-19 Highlights
eet MTD YTD -
pea Dé ve pea Ds eee 2 MTD: Free cash flow was $15 million
LN WA AL ach Mal LAL Rashes favorable primarily related to higher volume
driven by weather and lower purchased power
Revenues costs driven by lower spot market prices;
LCI Revenue $41.1 $44.3 ($3.2) $298.5 $341.4 ($42.9) ; ;
MCI Revenue 43 3.2 1.1 245 20.7 3.8 partially offset by slightly lower realized
GovAgg Revenue 427 30.7 12.0 207.4 194.6 12.9 contract pricing driven by customer mix
Mass Market Revenue 16.3 15.1 1.2 93.9 95.7 (1.8)
Muni & Co-op Revenue 4.3 3.6 0.7 25.4 23.0 2.4
POLR Revenue - Associated Companies 99 9.2 0.7 135.5 134.7 0.9 we




                                                                                                             Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 44
POLR Revenue - External 5.8 5.2 0.6 36.9 34,2 23 4 YTD: Free cash flow was $111 million
Structured Physical Revenue (0.1) - (0.1) 9.2 9.0 0.3 favorable primarily related to lower purchased
Total Retail Revenue $124.3 $111.2 $13.1 $831.4 $853.1 ($21.8)
Variable Costs power costs driven by lower spot market
Purchased Power 83.9 84.2 0.3 549.0 666.9 117.9 prices and favorable O&M expenses; partially
Capacity Expense 15.1 16.4 1.2 180.5 188.7 8.2 .
Total Variable Costs $99.0 $100.6 $1.5 $729.5 $855.6 $126.1 offset by unfavorable retail volume and lower
Retail Variable Margin $25.3 $10.6 $14.6 $101.9 ($2.4) $104.3 realized contract pricing driven by customer
O&M and Other mix
FES Retail O&M 2.8 2.8 (0.1) 15.8 19.5 3.7
Gross Receipt / CAT Tax 1.6 2.1 0.5 10.7 13.3 2.5
Total O&M and Other $4.4 $4.8 $0.5 $26.5 $32.8 $6.3
a =s«d The retail free cash flow for both the actual
results and the Disclosure Statement
Capital Expenditures .
forecast are based on market rates (i.e.,
purchased load from PJM)
en July oe
Confidential Treatment Requested Pursuant to EH-GJ-0184008
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                                                                    App'x 042
Units in TWhs
Variance
Fy 2019 FY2020 FY2021 FY2019 FY2020 FY2021 FY2019 FY2020 FY 2021
LCI
Mcl
GovAgg
Mass Market
Muni & Co-op
POLR
Structured Physical
Wholesale Physical
Total
Highlights




                                                                                                                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 45
a LCI increase primarily due to Plastipak Packaging
Q Gov Agg increase due to community supplemental activity and renewals (Jackson Township, Clark County Communities,
Franklin Township, Richland Township, Pease Township, Jefferson Township)
Q Market Update / Near Term Focus
~ Majority of recent committed sales are for terms beyond 2021 as customers are taking advantage of the lower
forward market prices
Definitions
Large Commercial & Industrial ("LCI") - Large C&l customers over 1,000 MWh of load with customized products and contracts to meet specific customer needs
Medium Commercial & Industrial ("MCI") - Medium sized C&l customers between 10 and 1,000 MWh of load with customized products and contracts to meet specific customer needs
Governmental Aggregation ("Gov Agg") - Buying group represents all members of the group consisting of residential and small C&l below 10 MWh of load with standardized contracts
Provider of Last Resort ("POLR") - "Slice of system” to provide for any customers not participating with a competitive REP using standardized contracts
Municipalities and Cooperatives ("Muni & Co-op") - Contracts with Munis and Co-ops for all participating residential and small C&l below 10 MWh of load with standardized contracts
Mass Market ("MM") - Campaign oriented channel offered to residential and small C&l below 10 MWh of load with standardized contracts
Structured Physical - Wholesale like transactions which contain customized terms, shapes, or options
Wholesale Physical - Block power transactions that are traded in standard sizes and easily obtainable in the market place
STi
EH-GJ-0184009
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Retail | FES Sales Position Report
FES Open Position
an
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DD se SP ee oes PY oS > or gy
oo 8” 8” ” or SS SP SM oh MS OP
Poot
xe PP s ~ Se y “ " is as aa “o e oe cs oe “o ye a PH PE ss cs oxo a
SWS Committed Load ome me Supply
2019 TWhs % 2020 TWhs % 2021 TWhs %
Supply 20 100% Supply 47 100% Supply 30 100%
Committed 10 50% Committed 20 42% Committed 11 36%




                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 46
Open Spot 10 50% Open Spot 27 58% Open Spot 19 64%
7 Wi forecas! 1) He bead posi 81/19
ee Bo eee
Se ee Se
eee
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FOIA and Fed. R. Crim. P. 6(e)
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                                                                                             App'x 044
Consolidated Financial Results
For Professional Eves Only — Subject to @eplecgze We eee
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FOIA and Fed. R. Crim. P. 6(e)
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                                                                                    App'x 045
Lbe-- ee ee ee
Financial Results | Income Statement (Disclosure Statement)
S In Millions
Nuclear Generation (TWh) . 18.7 18.3
Fossil Generation (TWh) 0.6 1.1 (0.5) 3.2 7.9 (4.7)
Electric Retail $104 S93 $11 $624 $652 (S28)
Muni & CO-OP 4 4 1 25 2
POLR 16 14 1 172 4
Structured - 0 9 {0)
Total Segment Sales 111 13 831 (22)
Wholesale 56 (29) 170 (155)
21
27




                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 48
ee abacity Revenue ane
yi e $
SLAIN : Liss
Fossil Fuel Expense
Nuclear Fuel Expense
Purchased Power (7)
Other Variable Expenses {2)
iable Costs 56
evenue (1) (0)
Fossil O&M 10 13
Nuclear O&M 47 47
80
96
Restructuring Professional Fees 9
Pension / FES O&M 9
General Taxes 3 4 29
8
16 126
a
1, Non-GAAP income slatement acs Ce DOISR u-
Adjusted EBITDA
Actual’ DS Actual’ DS
one, IID Variance 8 YID Variance iw
2.8 2.8 - 0.5
MTD: Adjusted EBITDA was $9 million
unfavorable due to margin impact due to lower
generation (economic dispatch of fossil units
and unplanned Perry turbine outage), lower
market prices; partially offset by increased retail
sales volume driven by warmer weather,
favorable fossil O&M expense, and favorable
service company costs
YTD: Adjusted EBITDA was $7 million
unfavorable due to lower variable margin which
was driven by lower market prices and lower
retail sales volume; partially offset by lower
service company costs from FESC, timing of
shared service implementation costs, favorable
nuclear generation, and lower nuclear O&M
sine
Confidential Treatment Requested Pursuant to
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090
EH-GJ-0184012
TIER 3 - 593971
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be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Financial Results | Collateral
Certain counterparties require FES to post collateral in order to hedge their market exposure with FES
Q Collateral outstanding as of July 31, 2019 was $80 million, a $4 million increase as compared to June 30, 2019
- Approximately ($4) million in posted collateral related to increased hedging activity with FC Stone and Morgan Stanley
- Approximately ($2) million in posted collateral related to higher exposure with PJM
- Approximately +$2 million in returned collateral due to due to lower exposure (Retail and Third-Party Supplier
Agreements)
FES Collateral ($ in Millions) Collateral Amount
Type Counterparty Tau ais) YU) Variance
Energy Market Collateral (RTO) PJM & MISO $ 19 $ 18 $ 2
Retail Supplier Agreements Various 35 36 (2)
POLR Auction Various 7 7 -




                                                                                                                           Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 49
Third-Party Supplier Agreements Various 6 6 1
Uranium Contract Requirements Macquarie Energy 3 3 -
Renewables Agreements Various 2 2 -
Vendor Deposits Carmeuse Lime / NJ Natural Gas 1 1 -
Future Brokers Accounts INTL FC Stone / Morgan Stanley 7 3
Total $ 80 $ 75 $
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0184013
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593972
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Liquidity
oy Ss cee Oe ee ee
Be ee cee SN
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                                                                                    App'x 048
be-- ee ee ee ee ee ee ee ee ee ee ee ee eee
Liquidity | Month of July 2019
$'s in Millions
gana a elem Coty eg” Highlights
a Onaconsolidated basis, net cash use of approximately $2
Monthly Summary:
y "Y million for the period
Net Receipts $ 139
Total Receipts 139 a Net receipt activity includes retail receipts of $92 million,
Fuel (Coal / Reagents / Nuclear Fuel) (15) wholesale receipts of $7 million, affiliate POLR receipts of
Purchased power (13) $7 million, and net PJM receipts of $31 million
Payroll and Benefits (34) q Payroll includes AIP quarterly payment of $2 million
O&M Expense / Capex (39)




                                                                                                          Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 51
Professional Fees (20) 2 Collateral disbursement of $7 million related to US Steel
State & Local Taxes (8) retail contract
Total Operating Disbursements (130) , Professional fee activity included approximately $6 million
FE Service Company (4) of spend related to prior interim fee holdback
ete ed 0: & "Sn Coch EE Related ——_" a Adjusted July ending cash balance of $952 million, as
nlevere erating Cash Flow
P g compared to the projected cash balance of $985 million for
Cash Interest 2 the targeted emergence date or September 30, 2019, as
Collateral, net ___)~—SCs reflected in the Disclosure Statement
Total Debt Service / Other (6)
Levered Net Cash Flow $ (2)
Beginning Cash Balance $ 1,066
(+/-) Levered Net Cash Flow (2)
Ending Cash Balance $ 1,064
Gee cee a alige oes ae cia: oa Naa Seige eee ae area iG eagle)
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0184015
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593974
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                                                                                                                                 App'x 049
be-- ee ee ee ee ee ee ee ee ee ee ee ee eee
Liquidity | Comparison of Cumulative Cash Flow to13-Week Cash Flow Forecast
(Prepared July 19, 2019)
FES & FENOC Forecast to Actual Variance (Xe Tey gece | \eueqe- | Variance for the 4-week period ended 8/9/19
Monthly Summary: a Favorable variance of $4 million for the 4-week
Net Receipts $ 127 $ 130 $ (3) period ended 8/9/19
Total Receipts $ 127 $ 130 $ (3)
a Variance primarily related to the following:
Fuel (Coal / Reagents / Nuclear Fuel) (23) (19) (4)
Purchased power (8) (11) 30 Net Receipts — Unfavorable PJM and retail
Payroll and Benefits (32) (30) (2) receipts variance primarily related lower
O&M Expense / Capex (37) (39) 2 generation
Professional Fees (16) (18) 2 . .




                                                                                                               Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 52
State & Local Taxes (1) (5) 4 Fuel — Unfavorable fuel costs primarily related
Pension (3) - (3) to reagents spend timing
Total Operating Disbursements $ (120) $ (121) $ 1. Purchased Power — Favorable timing variance
FE Service C . __. -
ervice ompany (6) (6) oc Pension — Timing of EDCP and non-qualified
NOL cash tax receipts - - -
Critical Vendor, Lienholder, Other BK . - - plan payments
Total Affiliate & Restructuring Related $ (6) $ (6) $ oO | Collateral, net — Favorable timing variance of
Unlevered Operating Cash Flow § 1 $ 3 $ (2) collateral postings related to new retail
Cash Interest 2 2 (0) contracts
Collateral, net (1) (7) 6
Total Debt Service / Other $ 1 $ (5) $ 6
Levered Net Cash Flow $ 2 $ (2) $ 4
Beginning Cash Balance - WE 7/19 $ 1,056 $ 1,056 $ 0
(+/-) Levered Net Cash Flow 2 (2) 4
Ending Cash Balance - WE 8/9 $ 1,058 $ 1,054 $ 4
STi
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be-- ee ee ee ee ee ee ee ee ee ee ee ee eee
Liquidity | 13-Week Cash Flow Forecast (Consolidated Forecast Prepared August
16, 2019)
Receipts / Operating Disbursements
a PJM receipts updated based on latest load and generation forecasts
~ Bruce Mansfield Unit 3 in must run mode in September and October to burn remaining coal inventory following
decision on accelerated deactivation
- Forecast removes all forecasted activity related to the Pleasants station from the period
Q Incorporates anticipated expenditures related to the HB6 referendum ($17.5 million)
a Incorporates impact of Bruce Mansfield Unit 3 shutdown on disbursements (O&M and Capital / Payroll)
Q Forecast includes payments related to coal purchases and coal combustion residuals (CCR) activity from
Consolidation Coal ($12 million in week 1)
Affiliate Receipts / Other Disbursements




                                                                                                                     Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 53
a Pension charges related to Q3 is included in week 7 of the forecast for $9 million
a Shared services payment of $11 million in week 5 of the forecast related to the July FESC shared service charges
and run-rate shared service charges
Restructuring Related
a Professional fee forecast includes $6 million of holdback fee payments in week 11 of forecast
a Forecast excludes restructuring related transactions
July 2019
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FOIA and Fed. R. Crim. P. 6(e)
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Actual /:Forecast:Period Fava |)
Actual Actual
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eos
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Projected
13-Week
Total
Receipts:
Retail Receipts $ 16 § 24° § 16 $ 28 | $ 20 $§$ 22 $§$ 21 § 21 §$ 23 22 $ 22 $ 19 §$ 18 §$ 18 § 18 § 18 § 19 | $ 263
Wholesale Receipts 2 § 0 - - 8 2 - - 4 1 - - - 3 q - 19
PJM Activity, net 6 7 8 7 1 5 7 7 6 10 10 11 10 11 41 9 8 105
Miscellaneous Receipts 0 6 0 0 0 0 0 a a 0 Oo a a 0 0 0 a 0
Asset Sales / Other “ “ - - “ “ “ “ . “ - - - - - - . .
Total Receipts 25 36 24 35 20 35 30 29 29 37 33 30 29 29 33 28 27 387
Operating Disbursements:
Fuel ~ Coal (12) (0) - i (12) ) (0) (1) (0) (11) (0) (0) {1} (1) (11) 1} (0) (38)
Fuel — Other (Reagents, etc.) {0) {0} {0} {0} {1} {1} (1) {1} {1) (1) (1) {1} (1} (1) (1) {1} (1) (15)
Fuel — Nuclear - - - (8} - - - - {4) - - - {18} - - - - (22)
Purchased Power {3) {2} {2} {1} {2} {2} 2) {2} {2) (2) {2) {2} {2} {2} {2} {2} {2) {25)
Direct Payroll & Benefits (2) (16) {1} (14) (?} (13) Q) (11) {2) (12) (2) {13} (3) (11) (4) (11) (3) (95)
G&M Expense/CapEx/Gther Vendors (6) (12) (8) (113 (8) (8) (103 (11) (18) (13) (18) (14) (15) (13} (13) (13) (13) (164)
Pension - - - (3) - - - - - - (9) - - - - - - (9)
State & Local Taxes {0) {0} {0} {0} {1} {1} (1) {0} {0) (0) (0) {0} (G} {0} {0} {0} (0) {8}
Total Operating Disbursements (23) (30) (12) (38) (32) (26) (18) (26) (26) (40) (31) (341) (40) (27) (30) (27) (20) (375)
Affiliate Transactions, Net:
POLR revenue 7 - - 10 - 8 - - - 6 - - 24
Service Company Billings - - {5} - {11} - - - {11} - - {12} (34)
GENCO Labor & O&M Allocation {0) (0) 0 {0} - - - - - - - - - - - - - -
Miscellaneous Affiliate Receipts } Charges {0) 0 a {0} {0} (0) {0} {0) {0) (0) {0} {G} {0} {0} {0} {a} 1)
FENGC Allocation - - “ “ “ “ “ . “ - - - - - - “ .
NOL Monetiza-ion - - - - - -
Other - - - - - - - - - - - - - - - - -
Total Affiliate Transactions, Net 7 (0) (0) (6) {0) 10 (0) {0) (11) 8 (0) {0} (11) (0) 6 {0) (13) (11)
Restructuring Related:
Pro‘essional Fees 1) (2) (12) (1) (1) G) (3) {2) 3) (3) (3) {2} {2} (2} (8) 2} (2) (32)
Critical Vendor Payments (Pre-petition) - - - - - - - - - - - - - - - - - -
Utility Deposits - - - - - -
Setilerrent Considerations - - - - - - - - - - - - - - - - - -
Total Restructuring Related (1) (2) (12) (1) (1) (4) 3) {2) (3) (3) (3) (2) (2) (2) (8) (2) (2) (32)
Dabt Service:
Cash Interest - 2 - - - 2 - - 2 - - 2 6
Collateral, net {1} {0) 0 - {1} {1} - {2} - - {1} - - {8}
Surety Payments - - - - - - - - - - - - - -
Total Debt Service Related (1) (0) 2 - (1) (1) 2 (2) - 2 (1) - 2
Cash Balance:
Beginning Cash Balance $ 1,056 $ 1,062 $ 1,068 $ 1,068 |$ 1,058 $ 1,044 $ 1062 $ 1,069 $ 1,072 $ 1,062 $ 1,061 $ 1,061 $ 1,059 $ 1,035 $ 1034 $ 1,035 $ 1,036 /$ 1,058
(41-} Levered Net Cash Flow 7 4 2 (10} (14) 17 8 3 (11) (0) (0) (2) (24) (1) 1 1 (7) (29)
Ending Cash Balance $ 1,062 $ 1,066 $ 1,068 § 1,058 |$ 1,044 $ 1,062 §$ 1,069 §$ 1072 § 1,062 § 1,001 $ 1,061 § 1,059 § 1,035 $ 1,034 $ 1035 § 1036 §$ 1,029 [$ 1,029
Confidential Treatment Requested Pursuant to
FOIA and Fed. R. Crim. P. 6(e)
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July 2019
EH-GJ-0184018
TIER 3 - 593977
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Current Events
For Professional Eves Only — Subject to Confidestsity Agreements
Bo eee 6 See ie eam OE Res cee SN
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be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Current Events | Highlights
Legislative Support — State
a Ohio
~ The Ohio Clean Air Program (HB6) was signed by the governor, Mike Dewine, on July 23, and will generate
roughly $150 million annually for the two nuclear units in Ohio.
m Numerous citizen groups, including the Ohioans Against Corporate Bailouts are petitioning to include a
referendum on the Ohio ballot in November 2020 to repeal HB6.
vn On August 12, Ohio Attorney General Dave Yost rejected a summary of petition language for a proposed ballot
referendum to repeal HB6 for the state’s two nuclear power plants.
— Upon adjusting petition language and getting approval from the Ohio Attorney General on that language, the
group would need to collect 265,774 valid voter signatures from registered voters in at least half of Ohio’s 88
counties. The group needs to obtain those signatures within 90 days of Governor DeWine signing HB6 into law




                                                                                                                       Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 56
(by October 21).
a Pennsylvania
— The “Alternative Energy Portfolio Standards Act” (HB11 / SB510) provides definitions for alternative energy
portfolio standards, for portfolio requirements in other states, for health and safety standards and for interagency
responsibilities; and providing for Tier ||| alternative energy sources and for capacity payments to alternative
energy sources.
FES and other PA nuclear operators have been meeting to discuss alternatives to the current bills stalled in the
house and the senate. The administration is still focused on PA joining the Regional Greenhouse Gas Initiative
(RGGI).
Additional meetings are being held with the administration and members of the house in August to refine our
alternatives.
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0184020
FOIA and Fed. R. Crim. P. 6(e)
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Current Events | Highlights (continued)
OVEC / Renewable PPA Rejection Process
o The appeals of the PPA rejections with respect to OVEC and Maryland Solar are presently before the Sixth Circuit
Court of Appeals. Appellants filed opening briefs on February 26. The Company filed its responsive brief on April 29.
Appellants’ reply briefs were filed on May 20. Oral argument on the appeals took place on June 26. The matter has
been taken under advisement. The timing of a ruling by the Sixth Circuit is unknown, but will likely take several
months.
a Company and professionals have engaged in communications with OVEC in an attempt to consensually resolve the
ongoing disputes, but at present, those discussions have not been fruitful. The Company’s advisors continue to
engage with advisors to the creditor constituencies to evaluate potential settlement paths with OVEC. The Company
entered into a stipulation with OVEC to limit the scope of OVEC’s confirmation objections, while leaving the appeal and
rejection damages claim disputes unresolved.




                                                                                                                          Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 57
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                                                                                                                                                 App'x 055
Current Events | Bankruptcy Timeline
Upcoming
May 2019
a May 20 - Disclosure Statement Approved by the Court
July 2019
Q July 23 — Plan Supplement Filed with the Court
August 2019
Q August 2 — Voting Deadline on the Plan / Objection Deadline on the Plan
ug August 13 — Prime Clerk to file Voting Certification / Proposed Cure Amounts Deadline
a August 20 — Confirmation Hearing Commences
Q4 2019
Q Target quarter for Plan Effective Date
Disclosure Statement




                                                                                           Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 58
Disclosure Hearing & Motion to
Statement and Disclosure = Approve RSA and the
Plant Term Statement Hearing Voting Record Date NRC
Sheet Filing (initial) (continued) Application
Disclosure
Statement
Approved by
Court
Plan
Supplement
Deadline
Prime Clerk to
Voting
Voting Deadline — Certification
on the Plan / Filing /
Objection Proposed Cure
Deadline on the Amounts Confirmation Plan Effective
Plan Deadline Hearing Date
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Por Discussion Purposes Only — Subjec! io FRE 403 cid Reied cee SN
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                                                                                            App'x 057
be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Appendix | Capex and O&M (Disclosure Statement)
In $Millions
Pele ee Or, eee vo ee eee
Nuclear Actual DS FCST Actual DS FCST
Beaver Valley
Davis-Besse 1 2
Perry 4 1
Total Capex $3 $5
0&M $47 $47
Nuclear Fuel
gee | Actual DS FCST
Sammis




                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 60
Mansfield 0 -
West Lorain - -
Little Blue Run - -
Total Capex $1 $0
O&M $10 $13
Nuclear
a Capital Expenditures — Favorable MTD variance related to fleet performance initiatives, and favorable YTD variances due
to lower spend for fleet performance initiatives and Perry outage projects
a =©Nuclear Fuel — Unfavorable MTD and YTD variances due to timing of nuclear fuel purchases
Q O&M - Favorable YTD variance due to lower labor and benefit costs, favorable nuclear liability insurance refund, and timing
of fees and contractor services; offset by spend related to Ohio legislative efforts
Fossil
ao Capital Expenditure — Unfavorable MTD due to non-outage projects not originally forecasted and YTD due to acceleration
of Mansfield and Sammis planned outage projects originally planned for the fall
ag O&M -—- Favorable MTD due to the timing of severance payments. Unfavorable YTD variance due to the acceleration of
Mansfield and Sammis planned outage projects from fall 2019
Aye
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FOIA and Fed. R. Crim. P. 6(e)
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Appendix | Capex and O&M (Budget)
In $Millions
Capex and O&M eB eR eee wey OR eae
Nuclear iene silts (eli Actual site
Beaver Valley
Davis-Besse 1 2
Perry 1 1
Total Capex $3 $5
O&M $47 $45
Nuclear Fuel
[gets eagle ete
Sammis




                                                                                                                          Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 61
Mansfield 0 -
West Lorain - -
Little Blue Run - -
Total Capex $1 $1
Nuclear O&M $10 $9
g Capital Expenditures — Favorable MTD variance related to fleet performance initiatives, and favorable YTD variances
due to lower spend for fleet performance initiatives and Perry outage projects
ag Nuclear Fuel — Unfavorable MTD and YTD variances due to timing of nuclear fuel purchases
»=08&M — Favorable YTD variance due to lower labor and benefit costs, favorable nuclear liability insurance refund, and
timing of fees and contractor services; offset by spend related to Ohio legislative efforts
Fossil
Q Capital Expenditure — Unfavorable MTD due to non-outage projects not originally forecasted and YTD due to
acceleration of Mansfield and Sammis planned outage projects originally planned for the fall
a O&M —- Unfavorable YTD variance due to the acceleration of Mansfield and Sammis planned outage projects from fall
2019
Reflects the October 2078 financial update. dee2evi'/-n, included as KPIs are measured agains! this Budget cy Brie
Confidential Treatment Requested Pursuant to EH-GJ-0184025
FOIA and Fed. R. Crim. P. 6(e)
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Appendix | Financial Results, Pleasants Power Station
$ in Millions hii
Actual a5 a OTe) FCST- Highlights
ape MID ME ees, YID Vane VETTE tes) For th ‘od. f hf .
Net Generation (TWh} 0.6 0.7 (0.1) 2.5 5.0 (2.5} or the period, ree cas ow Is
s/MWh s 30.09 $ 36.18 § (6.09) s 30.92 § 35.59 § (4.67) approximately $2 million unfavorable to the
Energy Revenue’ $18.9 $24.9 ($6.0) $78.4 $178.2 ($99.8) forecast
Ancillary (0.1) 0.0 (0.1) (0.1) 0.1 (0.2) — Primarily driven by lower energy pricing and
Capacity, N 3.2 3.0 0.1 27.4 27.0 0.4 .
apacity, Net lower generation as compared to the forecast
Other 0.1 0.0 0.1 0.9 0.2 0.7
Total Revenue 22.2 28.0 (5.8) 106.5 205.5 (98.9) ~ Controllable costs for the station were




                                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 62
Coal (14.2) (14.9) 0.8 (58.1) (108.8) 50.7 favorable to the forecast
Fuel Handling (0.5) (0.6) 04 (4.0) (4.5) °° 4 The Debtors are working with the AES team
Delivery {0.9) (0.6) (0.3) (3.1) (4.6) 1.5 . oo.
Other Variable Costs {2.2) (2.7) 0.5 (10.1) (19.4) 9.2 to integrate the station into the Debtors
portfolio once the title transfers
Total Variable Costs (17.8) (18.8) 1.0 (75.2) (137.2) 62.0
Variable Margin 44 9.2 (4.8) 31.3 68.2 6.3) = The inventory for coal was approximately 64
Labor & Benefits (1.5) (1.4) (0.1) (10.6) (10.7) 0.1 days at the end of the period and the
Property Taxes (0.1) (1.2) 1.1 (8.9) (8.5) (0.4) capacity at the station is approximately 67
OTL {1.4) (2.1) 0.7 (10.1) (13.7) 3.6 days or 800.000 tones
EBITDA 14 45 (3.1) 18 35.3 (33.5)
a Perthe APA, the Debtors will receive or
Capital Expenditures {0.6) (0.6) (0.0) (7.7) (9.1) 1.4
McElroy's Run _ _ _ _ _ _ pay the aggregate free cash flow and cost
Shared Services (1.0) (1.7) 0.7 (7.2) (11.7) 44 for inventory at the exit from bankruptcy
Free Cash Flow (50.2) $2.2 ($2.4) ($13.2) $14.5 ($27.7)
1 Fepecess feces fo AEG FES dated Jee 7 2019 Ae
BC Fe ee Taeeece le ee , SU aes
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FOIA and Fed. R. Crim. P. 6(e)
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Appendix | Shared Services Separation
Saas July 19
munications
External Affairs
Beta Lab
[ Amended SSA step down notice issued to FESC (effective as of month-end, notice issued 90 days prior)
= Expected SSA step down date (effective as of month-end, notice issued 90 days prior)
= Step dawn complete
= Step down on-going and on schedule
= Step dawn notice issued, but has since been rescinded
= Step dawn timing at risk
Select Commentary and Recent Events:




                                                                                                                                               Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 63
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Communications functional group successfully stepped down on August 1.
FEU/FET Services
Fuel Procurement
Records
Management
Unit Dispatch
Offer extended to ClO candidate. Worked with FESC recruiting to prepare offers for other Tier 1 hires. Interviews for other key positions in
progress and ongoing.
Received agreement from SAP for ECC licenses and reviewed FESC resource requirements with each FES separation team functional lead
to develop IT migration plan. Continued target separation date of 12/31/2019.
NewCo post-separation employee benefit providers determined. ADP working with carriers to begin development of user interfaces.
Continue to evaluate proposals for NewCo banking partners and treasury support.
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                                                                                    App'x 062
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio July 24, 2019
The Board of Directors of FirstEnergy Solutions Corp. (the “Company’’) met at the West Akron Campus,
Akron, Ohio, on July 24, 2019 at 2:00 p.m., Eastern Time, after receiving written notice of the meeting.
The meeting was called to order by Mr. Donald R. Schneider, Chair. Mr. Kevin T. Warvell, Corporate
Secretary, recorded the minutes.
The following Directors participated:
Mr. John C. Blickle
Mr. James C. Boland (via Phone)
Mr. Joseph M. Gingo
Mr. John W. Judge
Mr. Charles E. Sweet




                                                                                                           Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 65
Mr. Raphael T. Wallander (via Phone)
constituting a quorum of the Board.
The following executives participated:
Mr. Rick Giannantonio
Mr. Kevin T. Warvell
Mr. David Griffing
Mr. Jay Bellingham
Mr. Stephen Burnazian
Mr. Ray Lieb
Mr. Brian Farley
Mr. Joel Bailey
Mr. David Hamilton
The following representatives of Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) participated:
Mr. Scott Alberino (via Phone)
Mrs. Lisa Beckerman (via Phone)
Mr. Rick Burdick (via Phone)
Mr. Brad Kahn (via Phone)
The following representative of Lazard Fréres & Co. LLC (“Lazard”) participated:
Mr. Erik Overman (via Phone)
The following representatives of Alvarez & Marsal North America, LLC (“Alvarez”) participated:
Mr. Charles Moore
Mr. Dave Jurgens
The following representative of Willkie Farr & Gallagher LLP (“Willkie”) participated:
Mr. Matt Feldman (via Phone)
The following representative of Honigman LLP participated:
37/88
Confidential Treatment Requested Pursuant to EH-GJ-0184029
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Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio July 24, 2019
Mr. Joseph Sgroi (via Phone)
The following representatives of Ropes & Gray LLP participated:
Mr. Steve Moeller-Sally (via Phone)
Mr. Mark Somerstein (via Phone)
1. Board Matters
A. Approval of the Minutes of the Regular Board of Directors’ Meeting held on June 26, 2019
After discussion, upon motion duly made and seconded, the meeting minutes were unanimously
adopted.
The Board then discussed the following matters:
B. Approval of the Wholesale Purchases for 2020 - 2023




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Mr. Warvell reviewed with the Board certain proposed wholesale purchases and responded to
questions.
After discussion, upon motion duly made and seconded, the resolution was unantmously adopted.
RESOLUTIONS OF
THE BOARD OF DIRECTORS (THE “BOARD”) OF
FIRSTENERGY SOLUTIONS CORP. (THE “COMPANY”)
Dated as of July 24, 2019
Approval of Wholesale Purchases
WHEREAS, due to recent declines in market forward prices, management has recommended to
the Board, and the Board has determined that it is advisable, to buy wholesale power at prices that are
favorable to the contracted rates during the years 2020-2023;
WHEREAS, the Board must approve any wholesale electricity transactions more than 12 months
into the future; and
WHEREAS, management has recommended that the Company purchase energy volumes in
MISO, AD Hub, and West Hub, in each case, on the terms set forth on Exhibit A attached hereto (the
“Term Purchases”).
NOW THEREFORE BE IT:
RESOLVED, that the Board hereby determines that the Term Purchases are advisable and in the
best interests of the Company;
RESOLVED FURTHER, that the Board hereby approves the Term Purchases and the entering
into, execution and delivery of, such contracts, agreements, and other instruments in connection therewith
(the “Energy Agreements’) and the performance by the Company and/or its subsidiaries of its obligations
thereunder on such terms with such changes as the Proper Officers (defined below) deem advisable;
38/88
Confidential Treatment Requested Pursuant to EH-GJ-0184030
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593989
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                                                                                                                                    App'x 064
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio July 24, 2019
RESOLVED FURTHER, that the “Proper Officers” referenced in these resolutions shall be the
Chairman of the Board, the President, any Vice President, the Chief Financial Officer, the Treasurer and
the Corporate Secretary of the Company;
RESOLVED FURTHER, that any Proper Officer be, and each of them individually hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to effectuate the Term
Purchases and to negotiate, approve, execute and deliver, and to cause the Company and/or its
subsidiaries to perform its obligations under, one or more Energy Agreements, in each case in such forms
as the Proper Officer deems appropriate and advisable and as counsel may advise consistent with these
resolutions and the execution by any Proper Officer of such documents and letters or the doing by them of
any act in connection with the foregoing matters shall conclusively establish their authority therefor from




                                                                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 67
the Company and/or its subsidiaries and the approval and ratification by the Company and/or its
subsidiaries of the documents and letters so executed and the action so taken;
RESOLVED FURTHER, that any Proper Officer be, and each of them individually hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to execute and deliver
any such other documents, letters or instruments and do and perform any and all acts and things that may
be appropriate and advisable and as counsel may advise in order to carry out the intent and purposes of all
of the foregoing resolutions;
RESOLVED FURTHER, that each of the lawful acts of any Proper Officer taken prior to the date
hereof in connection with the transactions contemplated by the foregoing resolutions is hereby ratified,
approved, adopted and confirmed as if each such act had been presented to and approved by the Board
prior to being taken; and
RESOLVED FURTHER, that the Corporate Secretary and any other Proper Officer of the
Company are, and each individually hereby is, authorized, empowered and directed to certify and furnish
such copies of these resolutions and such statements as to the incumbency of the Company’s officers,
under corporate seal if necessary, as may be requested, and any person receiving such certified copy is
and shall be authorized to rely upon the contents thereof.
eck OR OR OR RR
2. Presentations
A. Update on Regulatory Affairs
Mr. Griffing updated the Board on the approval of House Bill 6. Mr. Judge explained how credits
are earned and that the Company would begin receiving the cash commencing in the year 2021.
He explained that we would be assembling an anti-referendum team to oppose a potential
referendum campaign on House Bill 6. Mr. Giannantonio explained the legal issues as to how a
referendum initiative works. Mr. Judge laid out the Company’s position and strategy on an anti-
referendum campaign. Mr. Giannantonio answered questions on other legal challenges that could
arise from opponents to House Bill 6.
Mr. Griffing updated the Board on the status of nuclear legislation in Pennsylvania and indicated
that his team would be evaluating next steps.
Mr. Bailey left the meeting.
39/88
Confidential Treatment Requested Pursuant to EH-GJ-0184031
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593990
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                                                                                                                                     App'x 065
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio July 24, 2019
Update on June Operational and Financial Results
Mr. Hamilton reviewed the nuclear operational and financial results for May. Mr. Bellingham
then reviewed the operational and financial results of the fossil organization. Mr. Farley updated
the Board on the retail business. Mr. Warvell updated the Board on the consolidated financials,
the collateral position and the cash forecast for consolidated FES. All three gentlemen responded
to questions.
Update on Bankruptcy and Disclosure
Mr. Moore updated the Board stating expert reports were presented to the court on July 12th.
Objecting parties to the plan are the government and environmental agencies. Rebuttal reports
were filed today. A plan supplement was filed by the Company on July 23rd. August 2nd is the




                                                                                                        Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 68
voting deadline for all the creditors and the objection deadline for all parties. Depositions will be
held over the next two weeks. The advisors are having discussions with OVEC and Maryland
Solar. The advisors believe they have a deal with these two parties to resolve their objections. The
rail companies allowed claim will be higher than what was in the recovery claims model. A term
sheet was presented to the agencies working with the Department of Justice and rescinding the
deactivation notices will help these negotiations. The Company and advisors have been engaged
in negotiations and have reached a framework agreement with the plants except Beaver Valley
and Perry but anticipate that this will be resolved by August 2nd. Mr. Moore explained how the
passing of House Bill 6 would or would not impact the bankruptcy process. He explained why no
filings would be needed at this time. Various stakeholders could question the valuation of the
Plan of Reorganization but key creditor advisors do not see a need to re-allocate the consideration
in the Restructuring Settlement Agreement among the stakeholders. Mr. Moore reviewed the
supplemental presentation with the Board. He explained the timing with all the items involved
and the relationship of the capacity auction timing. Mr. Judge reaffirmed to the Board that the
forecast for the Sammis Plant does not contemplate potential positive cash flow opportunities
currently being explored by the Company’s management team, including reducing coal costs,
improving operating reliability and associated unit dispatch costs and further reductions in cost
structure, which management believes will be enough to address any forecasted negative cash
flows. Therefore, rescinding the deactivation notice is appropriate for Sammis Units 5-7, and this
does not foreclose deactivating in the future if cash flows do not support operations. Mr. Moore
and Mr. Judge responded to various questions from the Board.
3. Executive Session
An Executive Session of the Board Members was held.
The meeting was adjourned.
Corporate Secretary
FES 7/24/2019 Meeting Record
40/88
Confidential Treatment Requested Pursuant to
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090
EH-GJ-0184032
TIER 3 - 593991
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                                                                                                                               App'x 066
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio July 24, 2019
Exhibit A
Term Power Purchases
(Attached.)
41/88
Confidential Treatment Requested Pursuant to EH-GJ-0184033
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593992
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                                                                                    App'x 067
Special Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio August 7, 2019
The Board of Directors of FirstEnergy Solutions Corp. (the “Company”) held a Special Board Call, on
August 7, 2019 at 8:30 a.m., Eastern Time, after receiving written notice of the meeting.
The meeting was called to order by Mr. Donald R. Schneider, Chair. Mr. Kevin T. Warvell, Corporate
Secretary, recorded the minutes.
The following Directors participated:
Mr. John C. Blickle (via Phone)
Mr. James C. Boland (via Phone)
Mr. John W. Judge (via Phone)
constituting a quorum of the Board.
The following executives participated:




                                                                                                         Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 70
Mr. Rick Giannantonio (via Phone)
Mr. Kevin T. Warvell (via Phone)
Mr. David Griffing (via Phone)
Mr. Stephen Burnazian (via Phone)
The following representatives of Akin Gump Strauss Hauer & Feld LLP (‘Akin Gump”) participated:
Mr. Scott Alberino (via Phone)
Mrs. Lisa Beckerman (via Phone)
Mr. Rick Burdick (via Phone)
1. Board Matters
A. Approval of the Expenditures for House Bill 6 Voter Education
Mr. Judge reviewed the need for expenditures to educate voters on House Bill 6. He explained
how the money will be used.
After discussion, upon motion duly made and seconded, the resolution was unanimously adopted by the
Board members present and Mr. Gingo emailed his approval of the resolution.
RESOLUTIONS OF
THE BOARD OF DIRECTORS (THE “BOARD”) OF
FIRSTENERGY SOLUTIONS CORP. (THE “COMPANY”)
Dated as of August 7, 2019
Approval of Expenditures for House Bill 6 Voter Education Initiatives
WHEREAS, on July 23, 2019, the Ohio State Legislature passed, and the Ohio Governor signed
into law, House Bill 6 (‘HB6”’), which provides for, among other things, payments to the owners of
electric generating facilities in the state of Ohio fueled by nuclear power, including the Davis-Besse
Nuclear Power Station and the Perry Nuclear Power Plant; and
42/88
Confidential Treatment Requested Pursuant to EH-GJ-0184034
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593993
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                                                                                                                                App'x 068
Special Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio August 7, 2019
WHEREAS, the Board proposes to make various expenditures in order to educate Ohio voters on
issues related to HB6 in order to increase public support for HB6 (collectively, the “HB6 Expenditures’’)
in an aggregate amount not to exceed $25,000,000 (the “Spend Cap”).
NOW THEREFORE BEIT:
RESOLVED, that the Board hereby determines that it is advisable and in the best interests of the
Company to make the HB6 Expenditures up to the Spend Cap;
RESOLVED FURTHER, that the Board hereby approves and authorizes the Company’s making
of the HB6 Expenditures up to the Spend Cap in a manner to be determined at the discretion of the Proper
Officers;
RESOLVED FURTHER, that the “Preper Officers” referenced in these resolutions shall be the




                                                                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 71
Chairman of the Board, the Chief Executive Officer, the President, any Vice President, the Chief
Financial Officer, the Chief Risk Officer, the Treasurer and the Corporate Secretary of the Company;
RESOLVED FURTHER, that any Proper Officer be, and each of them individually hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to execute and deliver
any such other documents, letters or instruments and do and perform any and all acts and things that may
be appropriate and advisable and as counsel may advise in order to carry out the intent and purposes of all
of the foregoing resolutions;
RESOLVED FURTHER, that each of the lawful acts of any Proper Officer taken prior to the date
hereof in connection with the transactions contemplated by the foregoing resolutions is hereby ratified,
approved, adopted and confirmed as if each such act had been presented to and approved by the Board
prior to being taken; and
RESOLVED FURTHER, that the Corporate Secretary and any other Proper Officer of the
Company are, and each individually hereby is, authorized, empowered and directed to certify and furnish
such copies of these resolutions and such statements as to the incumbency of the Company’s officers,
under corporate seal if necessary, as may be requested, and any person receiving such certified copy is
and shall be authorized to rely upon the contents thereof.
a
B. Approval of Hiring Chief Information Officer and 2019 Compensation
Mr. Judge reviewed the hiring of the Chief Information Officer and his qualifications and
experience. He explained the hiring criteria that were used during the hiring process. Mr. Judge
then reviewed the compensation for the position.
After discussion, upon motion duly made and seconded, the resolution was unanimously adopted by the
Board members present and Mr. Gingo emailed his approval of the resolution.
43/88
Confidential Treatment Requested Pursuant to EH-GJ-0184035
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593994
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                                                                                                                                     App'x 069
Special Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio August 7, 2019
RESOLUTIONS OF
THE BOARD OF DIRECTORS (THE “BOARD”) OF
FIRSTENERGY SOLUTIONS CORP. (THE “COMPANY”)
August 7, 2019
Chief Information Officer — Hiring and 2019 Compensation
WHEREAS, the Board has determined that it is advisable and in the best interests of the
Company to hire Dan Havelka as Chief Information Officer of the Company;
WHEREAS, the Board previously reviewed and considered the executive compensation
analysis report prepared for the Board by Alvarez & Marsal (the “Report”); and
WHEREAS, based on the comparative analysis and other data set forth in the Report, Alvarez




                                                                                                           Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 72
& Marsal has recommended to the Board that the 2019 base salary and 2019 Annual Incentive Plan
(AIP) target percentage for Mr. Havelka be set at the levels set forth on Exhibit A attached hereto (the
“2019 Compensation Levels’).
NOW THEREFORE BE IT:
RESOLVED, that the hiring of Dan Havelka as Chief Information Officer of the Company be
and hereby is approved and adopted in all respects;
RESOLVED FURTHER, that the 2019 Compensation Levels for Mr. Havelka be and hereby
are approved and adopted in all respects;
RESOLVED FURTHER, that the “Proper Officers” referenced in these resolutions shall be the
Chairman of the Board, the President, any Vice President, the Chief Risk Officer, the Chief Financial
Officer, the Treasurer and the Corporate Secretary of the Company; and
RESOLVED FURTHER, that the Proper Officers be, and each of them individually hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to execute and deliver
any such other documents, letters or instruments and do and perform any and all acts and things that
may be appropriate and advisable and as counsel may advise in order to carry out the intent and
purposes of all of the foregoing resolutions.
i
The meeting was adjourned.
Corporate Secretary
FES 8/7/2019 Special Meeting Record
44/88
Confidential Treatment Requested Pursuant to EH-GJ-0184036
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593995
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                                                                                                                                  App'x 070
Special Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio August 7, 2019
Exhibit A
2019 Compensation Levels (Dan Havelka)
(Attached.)
45/88
Confidential Treatment Requested Pursuant to EH-GJ-0184037
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593996
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                                                             Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 73




                                                                                    App'x 071
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio July 24, 2019
The Board of Directors of FirstEnergy Solutions Corp. (the “Company’’) met at the West Akron Campus,
Akron, Ohio, on July 24, 2019 at 2:00 p.m., Eastern Time, after receiving written notice of the meeting.
The meeting was called to order by Mr. Donald R. Schneider, Chair. Mr. Kevin T. Warvell, Corporate
Secretary, recorded the minutes.
The following Directors participated:
Mr. John C. Blickle
Mr. James C. Boland (via Phone)
Mr. Joseph M. Gingo
Mr. John W. Judge
Mr. Charles E. Sweet




                                                                                                           Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 74
Mr. Raphael T. Wallander (via Phone)
constituting a quorum of the Board.
The following executives participated:
Mr. Rick Giannantonio
Mr. Kevin T. Warvell
Mr. David Griffing
Mr. Jay Bellingham
Mr. Stephen Burnazian
Mr. Ray Lieb
Mr. Brian Farley
Mr. Joel Bailey
Mr. David Hamilton
The following representatives of Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) participated:
Mr. Scott Alberino (via Phone)
Mrs. Lisa Beckerman (via Phone)
Mr. Rick Burdick (via Phone)
Mr. Brad Kahn (via Phone)
The following representative of Lazard Fréres & Co. LLC (“Lazard”) participated:
Mr. Erik Overman (via Phone)
The following representatives of Alvarez & Marsal North America, LLC (“Alvarez”) participated:
Mr. Charles Moore
Mr. Dave Jurgens
The following representative of Willkie Farr & Gallagher LLP (“Willkie”) participated:
Mr. Matt Feldman (via Phone)
The following representative of Honigman LLP participated:
46/88
Confidential Treatment Requested Pursuant to EH-GJ-0184038
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593997
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                                                                                                                                  App'x 072
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio July 24, 2019
Mr. Joseph Sgroi (via Phone)
The following representatives of Ropes & Gray LLP participated:
Mr. Steve Moeller-Sally (via Phone)
Mr. Mark Somerstein (via Phone)
1. Board Matters
A. Approval of the Minutes of the Regular Board of Directors’ Meeting held on June 26, 2019
After discussion, upon motion duly made and seconded, the meeting minutes were unanimously
adopted.
The Board then discussed the following matters:
B. Approval of the Wholesale Purchases for 2020 - 2023




                                                                                                             Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 75
Mr. Warvell reviewed with the Board certain proposed wholesale purchases and responded to
questions.
After discussion, upon motion duly made and seconded, the resolution was unantmously adopted.
RESOLUTIONS OF
THE BOARD OF DIRECTORS (THE “BOARD”) OF
FIRSTENERGY SOLUTIONS CORP. (THE “COMPANY”)
Dated as of July 24, 2019
Approval of Wholesale Purchases
WHEREAS, due to recent declines in market forward prices, management has recommended to
the Board, and the Board has determined that it is advisable, to buy wholesale power at prices that are
favorable to the contracted rates during the years 2020-2023;
WHEREAS, the Board must approve any wholesale electricity transactions more than 12 months
into the future; and
WHEREAS, management has recommended that the Company purchase energy volumes in
MISO, AD Hub, and West Hub, in each case, on the terms set forth on Exhibit A attached hereto (the
“Term Purchases”).
NOW THEREFORE BE IT:
RESOLVED, that the Board hereby determines that the Term Purchases are advisable and in the
best interests of the Company;
RESOLVED FURTHER, that the Board hereby approves the Term Purchases and the entering
into, execution and delivery of, such contracts, agreements, and other instruments in connection therewith
(the “Energy Agreements’) and the performance by the Company and/or its subsidiaries of its obligations
thereunder on such terms with such changes as the Proper Officers (defined below) deem advisable;
47/88
Confidential Treatment Requested Pursuant to EH-GJ-0184039
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593998
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                                                                                                                                    App'x 073
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio July 24, 2019
RESOLVED FURTHER, that the “Proper Officers” referenced in these resolutions shall be the
Chairman of the Board, the President, any Vice President, the Chief Financial Officer, the Treasurer and
the Corporate Secretary of the Company;
RESOLVED FURTHER, that any Proper Officer be, and each of them individually hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to effectuate the Term
Purchases and to negotiate, approve, execute and deliver, and to cause the Company and/or its
subsidiaries to perform its obligations under, one or more Energy Agreements, in each case in such forms
as the Proper Officer deems appropriate and advisable and as counsel may advise consistent with these
resolutions and the execution by any Proper Officer of such documents and letters or the doing by them of
any act in connection with the foregoing matters shall conclusively establish their authority therefor from




                                                                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 76
the Company and/or its subsidiaries and the approval and ratification by the Company and/or its
subsidiaries of the documents and letters so executed and the action so taken;
RESOLVED FURTHER, that any Proper Officer be, and each of them individually hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to execute and deliver
any such other documents, letters or instruments and do and perform any and all acts and things that may
be appropriate and advisable and as counsel may advise in order to carry out the intent and purposes of all
of the foregoing resolutions;
RESOLVED FURTHER, that each of the lawful acts of any Proper Officer taken prior to the date
hereof in connection with the transactions contemplated by the foregoing resolutions is hereby ratified,
approved, adopted and confirmed as if each such act had been presented to and approved by the Board
prior to being taken; and
RESOLVED FURTHER, that the Corporate Secretary and any other Proper Officer of the
Company are, and each individually hereby is, authorized, empowered and directed to certify and furnish
such copies of these resolutions and such statements as to the incumbency of the Company’s officers,
under corporate seal if necessary, as may be requested, and any person receiving such certified copy is
and shall be authorized to rely upon the contents thereof.
eck OR OR OR RR
2. Presentations
A. Update on Regulatory Affairs
Mr. Griffing updated the Board on the approval of House Bill 6. Mr. Judge explained how credits
are earned and that the Company would begin receiving the cash commencing in the year 2021.
He explained that we would be assembling an anti-referendum team to oppose a potential
referendum campaign on House Bill 6. Mr. Giannantonio explained the legal issues as to how a
referendum initiative works. Mr. Judge laid out the Company’s position and strategy on an anti-
referendum campaign. Mr. Giannantonio answered questions on other legal challenges that could
arise from opponents to House Bill 6.
Mr. Griffing updated the Board on the status of nuclear legislation in Pennsylvania and indicated
that his team would be evaluating next steps.
Mr. Bailey left the meeting.
48/88
Confidential Treatment Requested Pursuant to EH-GJ-0184040
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 593999
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                                                                                                                                     App'x 074
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio July 24, 2019
Update on June Operational and Financial Results
Mr. Hamilton reviewed the nuclear operational and financial results for May. Mr. Bellingham
then reviewed the operational and financial results of the fossil organization. Mr. Farley updated
the Board on the retail business. Mr. Warvell updated the Board on the consolidated financials,
the collateral position and the cash forecast for consolidated FES. All three gentlemen responded
to questions.
Update on Bankruptcy and Disclosure
Mr. Moore updated the Board stating expert reports were presented to the court on July 12th.
Objecting parties to the plan are the government and environmental agencies. Rebuttal reports
were filed today. A plan supplement was filed by the Company on July 23rd. August 2nd is the




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voting deadline for all the creditors and the objection deadline for all parties. Depositions will be
held over the next two weeks. The advisors are having discussions with OVEC and Maryland
Solar. The advisors believe they have a deal with these two parties to resolve their objections. The
rail companies allowed claim will be higher than what was in the recovery claims model. A term
sheet was presented to the agencies working with the Department of Justice and rescinding the
deactivation notices will help these negotiations. The Company and advisors have been engaged
in negotiations and have reached a framework agreement with the plants except Beaver Valley
and Perry but anticipate that this will be resolved by August 2nd. Mr. Moore explained how the
passing of House Bill 6 would or would not impact the bankruptcy process. He explained why no
filings would be needed at this time. Various stakeholders could question the valuation of the
Plan of Reorganization but key creditor advisors do not see a need to re-allocate the consideration
in the Restructuring Settlement Agreement among the stakeholders. Mr. Moore reviewed the
supplemental presentation with the Board. He explained the timing with all the items involved
and the relationship of the capacity auction timing. Mr. Judge reaffirmed to the Board that the
forecast for the Sammis Plant does not contemplate potential positive cash flow opportunities
currently being explored by the Company’s management team, including reducing coal costs,
improving operating reliability and associated unit dispatch costs and further reductions in cost
structure, which management believes will be enough to address any forecasted negative cash
flows. Therefore, rescinding the deactivation notice is appropriate for Sammis Units 5-7, and this
does not foreclose deactivating in the future if cash flows do not support operations. Mr. Moore
and Mr. Judge responded to various questions from the Board.
3. Executive Session
An Executive Session of the Board Members was held.
The meeting was adjourned.
Corporate Secretary
FES 7/24/2019 Meeting Record
49/88
Confidential Treatment Requested Pursuant to
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090
EH-GJ-0184041
TIER 3 - 594000
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                                                                                                                               App'x 075
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio July 24, 2019
Exhibit A
Term Power Purchases
(Attached.)
50/88
Confidential Treatment Requested Pursuant to EH-GJ-0184042
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594001
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                                                                                    App'x 076
Special Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio August 7, 2019
The Board of Directors of FirstEnergy Solutions Corp. (the “Company”) held a Special Board Call, on
August 7, 2019 at 8:30 a.m., Eastern Time, after receiving written notice of the meeting.
The meeting was called to order by Mr. Donald R. Schneider, Chair. Mr. Kevin T. Warvell, Corporate
Secretary, recorded the minutes.
The following Directors participated:
Mr. John C. Blickle (via Phone)
Mr. James C. Boland (via Phone)
Mr. John W. Judge (via Phone)
constituting a quorum of the Board.
The following executives participated:




                                                                                                         Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 79
Mr. Rick Giannantonio (via Phone)
Mr. Kevin T. Warvell (via Phone)
Mr. David Griffing (via Phone)
Mr. Stephen Burnazian (via Phone)
The following representatives of Akin Gump Strauss Hauer & Feld LLP (‘Akin Gump”) participated:
Mr. Scott Alberino (via Phone)
Mrs. Lisa Beckerman (via Phone)
Mr. Rick Burdick (via Phone)
1. Board Matters
A. Approval of the Expenditures for House Bill 6 Voter Education
Mr. Judge reviewed the need for expenditures to educate voters on House Bill 6. He explained
how the money will be used.
After discussion, upon motion duly made and seconded, the resolution was unanimously adopted by the
Board members present and Mr. Gingo emailed his approval of the resolution.
RESOLUTIONS OF
THE BOARD OF DIRECTORS (THE “BOARD”) OF
FIRSTENERGY SOLUTIONS CORP. (THE “COMPANY”)
Dated as of August 7, 2019
Approval of Expenditures for House Bill 6 Voter Education Initiatives
WHEREAS, on July 23, 2019, the Ohio State Legislature passed, and the Ohio Governor signed
into law, House Bill 6 (‘HB6”’), which provides for, among other things, payments to the owners of
electric generating facilities in the state of Ohio fueled by nuclear power, including the Davis-Besse
Nuclear Power Station and the Perry Nuclear Power Plant; and
51/88
Confidential Treatment Requested Pursuant to EH-GJ-0184043
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594002
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                                                                                                                                App'x 077
Special Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio August 7, 2019
WHEREAS, the Board proposes to make various expenditures in order to educate Ohio voters on
issues related to HB6 in order to increase public support for HB6 (collectively, the “HB6 Expenditures’’)
in an aggregate amount not to exceed $25,000,000 (the “Spend Cap”).
NOW THEREFORE BEIT:
RESOLVED, that the Board hereby determines that it is advisable and in the best interests of the
Company to make the HB6 Expenditures up to the Spend Cap;
RESOLVED FURTHER, that the Board hereby approves and authorizes the Company’s making
of the HB6 Expenditures up to the Spend Cap in a manner to be determined at the discretion of the Proper
Officers;
RESOLVED FURTHER, that the “Preper Officers” referenced in these resolutions shall be the




                                                                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 80
Chairman of the Board, the Chief Executive Officer, the President, any Vice President, the Chief
Financial Officer, the Chief Risk Officer, the Treasurer and the Corporate Secretary of the Company;
RESOLVED FURTHER, that any Proper Officer be, and each of them individually hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to execute and deliver
any such other documents, letters or instruments and do and perform any and all acts and things that may
be appropriate and advisable and as counsel may advise in order to carry out the intent and purposes of all
of the foregoing resolutions;
RESOLVED FURTHER, that each of the lawful acts of any Proper Officer taken prior to the date
hereof in connection with the transactions contemplated by the foregoing resolutions is hereby ratified,
approved, adopted and confirmed as if each such act had been presented to and approved by the Board
prior to being taken; and
RESOLVED FURTHER, that the Corporate Secretary and any other Proper Officer of the
Company are, and each individually hereby is, authorized, empowered and directed to certify and furnish
such copies of these resolutions and such statements as to the incumbency of the Company’s officers,
under corporate seal if necessary, as may be requested, and any person receiving such certified copy is
and shall be authorized to rely upon the contents thereof.
a
B. Approval of Hiring Chief Information Officer and 2019 Compensation
Mr. Judge reviewed the hiring of the Chief Information Officer and his qualifications and
experience. He explained the hiring criteria that were used during the hiring process. Mr. Judge
then reviewed the compensation for the position.
After discussion, upon motion duly made and seconded, the resolution was unanimously adopted by the
Board members present and Mr. Gingo emailed his approval of the resolution.
52/88
Confidential Treatment Requested Pursuant to EH-GJ-0184044
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594003
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                                                                                                                                     App'x 078
Special Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio August 7, 2019
RESOLUTIONS OF
THE BOARD OF DIRECTORS (THE “BOARD”) OF
FIRSTENERGY SOLUTIONS CORP. (THE “COMPANY”)
August 7, 2019
Chief Information Officer — Hiring and 2019 Compensation
WHEREAS, the Board has determined that it is advisable and in the best interests of the
Company to hire Dan Havelka as Chief Information Officer of the Company;
WHEREAS, the Board previously reviewed and considered the executive compensation
analysis report prepared for the Board by Alvarez & Marsal (the “Report”); and
WHEREAS, based on the comparative analysis and other data set forth in the Report, Alvarez




                                                                                                           Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 81
& Marsal has recommended to the Board that the 2019 base salary and 2019 Annual Incentive Plan
(AIP) target percentage for Mr. Havelka be set at the levels set forth on Exhibit A attached hereto (the
“2019 Compensation Levels’).
NOW THEREFORE BE IT:
RESOLVED, that the hiring of Dan Havelka as Chief Information Officer of the Company be
and hereby is approved and adopted in all respects;
RESOLVED FURTHER, that the 2019 Compensation Levels for Mr. Havelka be and hereby
are approved and adopted in all respects;
RESOLVED FURTHER, that the “Proper Officers” referenced in these resolutions shall be the
Chairman of the Board, the President, any Vice President, the Chief Risk Officer, the Chief Financial
Officer, the Treasurer and the Corporate Secretary of the Company; and
RESOLVED FURTHER, that the Proper Officers be, and each of them individually hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to execute and deliver
any such other documents, letters or instruments and do and perform any and all acts and things that
may be appropriate and advisable and as counsel may advise in order to carry out the intent and
purposes of all of the foregoing resolutions.
i
The meeting was adjourned.
Corporate Secretary
FES 8/7/2019 Special Meeting Record
53/88
Confidential Treatment Requested Pursuant to EH-GJ-0184045
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594004
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                                                                                                                                  App'x 079
Special Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio August 7, 2019
Exhibit A
2019 Compensation Levels (Dan Havelka)
(Attached.)
54/88
Confidential Treatment Requested Pursuant to EH-GJ-0184046
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                    App'x 080
For Professional Eyes Only
Subject fo FRE 408 and Reiated Privileges
FirstEnergy
Solutions
95/88
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FOIA and Fed. R. Crim. P. 6(e)
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                                                                                    App'x 081
be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Limitations of Report / Disclaimers
Disclaimer
The information herein has been prepared by Lazard Freres & Co., LLC (‘Lazard’), Akin Gump Strauss Hauer & Feld LLP (Akin Gump’), and Alvarez &
Marsal North America, LLC (Alvarez & Marsal’) based upon information supplied by FirstEnergy Solutions Corp. (FES or the Company’), and
portions of the information herein may be based upon certain statements, estimates and projections provided by the Company with respect to the
anticipated future performance of the Company. We have relied upon the accuracy and completeness of the forgoing information, and have not
assumed any responsibility for any independent verification of such information or any independent valuation or appraisal of any of the assets or
liabilities of the Company, or any other entity, or concerning solvency or fair value of the Company or any other entity. With respect to financial
projections, we have assumed that they have been reasonably prepared in good faith on bases reflecting the best currently available estimates and
judgements of management of the Company as fo the future financial performance of the Company. We assume no responsibility for and express no
view as to such projections or the assumptions on which they are based. The information set forth herein is based upon economic, monetary, market
and other conditions as in effect on, and the information made available to us as of, the date hereof, unless indicated otherwise. These materials and




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the information contained herein are confidential and may not be disclosed publicly or made available to third parties without the prior written consent of
Lazard, Akin Gump and Alvarez & Marsal. These materials are preliminary and summary in nature and do not include all of the information that parties
should evaluate in considering a possible transaction. Nothing herein shall constitute a commitment or undertaking on the part of Lazard, Akin Gump,
Alvarez & Marsal or any related party to provide any service. Lazard is acting as investment banker to the Company and Alvarez & Marsal Is acting as
financial advisor to the Company, and will not be responsible for and will nat provide any tax, accounting, actuarial, legal or other specialist advice.
STi
Confidential Treatment Requested Pursuant to EH-GJ-0184048
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                                                                                                                     App'x 082
be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Table of Contents
o Operations / Business Unit Financial Results
— Nuclear
— Fossil
— Retail
a Consolidated Financial Results
—~ Consolidated Income Statement
— Collateral
a Liquidity
u Current Events
— Highlights
— Select Upcoming Motions




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— Bankruptcy Timeline
Qo Appendix
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0184049
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                    App'x 083
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Definitions _
Allegheny Energy Supply
Company, LLC
FirstEnergy Ventures Corp.
Net Demonstrated Capacity
ATC Around the Clack FG FirstEnergy Generation, LLC NDT Nuclear Decommissioning Trust
American Transmission Systems FirstEnergy Generation Mansfield FirstEnergy Nuclear Generation,
Ale) Inc. eM) Unit 1 Corp. No LLC
BRA Base Residual Auction FMB First Mortgage Bond NRC ae Nuclear Regulatory
ommission
DOE U.S. Department of Energy INPO Perle p) Hugeat Powe OVEC Ohio Valley Electric Corporation
Operations




                                                                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 86
DS Disclosure Statement KWh Kilowatt-hour PJM PJM Interconnection, L.L.C.
EFOR Equivalent Forced Outage Rate LBR Little Blue Run POLR Provider of Last Resort
EPA Agen Protection LMP Locational Marginal Price POR Plan of Reorganization
FE FirstEnergy Corp. MATS Mercury and Air Toxics Standards REC Renewable Energy Credit
FENOC FirstEnergy Nuclear Operating MISO Midcontinent Independent System RPM Reliability Pricing Model (PJM
Company Operator, Inc. Capacity)
FERC Federal Energy Regulatory MW Megawalt RTO Regional Transmission
Commission Organization
FES FirstEnergy Solutions Corp. MWd Megawatt-day TWh Terawatt-hour
FESC FirstEnergy Service Company MWh Megawatt-hour ZEN Zero Emission Nuclear Credits
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Confidential Treatment Requested Pursuant to EH-GJ-0184050
FOIA and Fed. R. Crim. P. 6(e)
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Nuclear
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Confidential Treatment Requested Pursuant to EH-GJ-0184051
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                    App'x 085
be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Nuclear | Safety
0.70
0.60
0.50
0.40
Nuclear
OSHA Rate
0.30
0.20
0.10 A oo
Jan Feb Mar Aor May Jun “Jul “Aug Sep Oct Nov ‘Dec
ci!“ §ZYTO 9,00 0.00 0.00 0.00 0.00 0.00 0.00 0.00 0.11 0.20 0.18 0.17




                                                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 88
wemmm "FO YTD 0.51 0.53 0.65 0.49 0.50 0.43 0.38
om oe '19 Target 0.19 0.19 0.19 0.19 0.19 0.19 0.19 0.19 0.19 0.19 0.19 0.19
Highlights
a Nuclear operations had no incidents in July 2019
a For year-to-date 2019, nuclear operations had five incidents, resulting in a OSHA incident rate of 0.38, which is
unfavorable to the target of 0.19
STi Fo
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FOIA and Fed. R. Crim. P. 6(e)
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                                                                                                                                             App'x 086
| ‘ Beg fea EG : Hi hli h
Ce es 8) | Nee erg ee De aia) g g ts
N7D July a Perry metrics were unfavorable for July and year-to-date as the unit was taken off line
Unit capability factor 400% 400% 100%, 36% from July 27- August 6 due to a turbine trip, in addition to the station being taken
Capacity factor 36% 37% 39% 83% offline for six days in June related to a valve leak
Online reliability factor 0% 0% 0% 14%
INPO index 92.5 100.0 100.0 88.3
Q Perry’s INPO index metrics were unfavorable to forecast due to the unplanned
Unit capability factor 97% 97% 97% 96% outages in June and July; and higher than forecast dose rates and safety incidents
Capacity factor 93% 93% 95% 94% compared to forecast
Online reliability factor 2% 2% 2% 2%
INPO index 92.5 100.0 100.0 99.7
a Unit capability and capacity factor metrics for Beaver Valley Unit 1, Beaver Valley Unit




                                                                                                                                                                                                         Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 89
Unit capability factor 3% 3%, 3% (10%) 2, and Davis-Besse were favorable to forecast due to fewer planned and unplanned
Capacity factor 4% 4% 5% (12%) losses
Online reliability factor 2% 2% 2% (12%)
INPO index 0.0 0.0 0.0 (11.4)
Refueling Cycles
a Beaver Valley Unit 1
Unit capability factor
Capacity factor 98% 98% 99% BA% i. 2019: October / November
Online reliability factor 0% O% 1% 6% . .
INPO index 92.5 100.0 100.0 28.3 ~ 2021: April / May (not in the forecast)
Headcount’ 339 339 593 624
a Beaver Valley Unit 2
~ 2020: April / May
Unit capability factor
Capacity factor 94% 94% 95% 76% . .
Online reliability factor 2y, 2% 39, m0 2021: October / November (not in the forecast)
INPO index 92.5 100.0 100.0 99.7 Q Davis-Besse
Headcount 359 359 618 661
~ 2020: February / March {not in the forecast) — authorized
ni capabi ity actor
" (%) 2022: March / April (not in the forecast)
Capacity factor 8%
Online reliability factor 2% 2% 1% (4%) 2 Pe rry
INPO index 0.0 0.0 0.0 (11.4)
Headcount 20 20 25 5 2021: March / April (not in the forecast)
Definitions
Unit capability factor - The ratio of actual energy produced to maximum energy the unit is capable of generating. Items considered to be outside the control of plant management are not considered in
determination of losses. Plants with a high unit capability are successful in reducing unplanned outages and improving planned outages.
Online reliability factor - Measures the generation losses between refueling outages minus generation losses from pre-determined activities required by plant design.
INPO index - Caiculated using 10 operating / safety metrics, including unit capability and online reliability.
STi
Confidential Treatment Requested Pursuant to EH-GJ-0184053
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0.7.588.167090 TIER 3 - 594012
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                                                                                                                                                                                                                                App'x 087
Nuclear | Financial Results (Disclosure Statement)
July-19 Highlights
Nuclear P&L MTD YTD
Actual ny Var. to Visca i MTD: Free cash flow was $16 million
Seo a) a) aT Actual . .
Net Generation (TWh) 2.8 (0.0) 18.3 0.5 unfavorable primarily related to lower energy
$ /MWH $33.22 ($5.79) $33.92 ($7.10)
(1)
revenue due to unfavorable market prices (17%
Revenues
Energy Revenue $76.7. $93.6 ($17.0) $502.3. $619.3 ($117.0) lower), Perry’s unplanned turbine outage and
Ancillary 0.6 0.6 0.0 4.0 4.0 - i. . .
Capacity 10.4 10.2 0.2 109.0 108.6 0.4 timing of final fuel expense for the spring




                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 90
Total Plant Revenue $87.6 $104.4 ($16.7) $615.3 $731.9 ($116.6)
outage; partly offset by lower capital
Cost of Revenues
Nuclear Fuel Expense 2.5 0.5 (2.0) 32.3 20.9 (11.4) expenditures and lower O&M expense driven by
Total Variable Costs $2.5 $0.5 ($2.0) $32.3 $20.9 ($11.4) . ;
: . timing of contractor services and lower head
Variable Margin $85.2 $103.9 ($18.7) $583.0 $711.0 ($128.0)
Operations & Maintenance count
Labor & Benefits 22.5 24.2 1.7 173.6 183.2 9.6
Non-Outage OTL 11.6 10.9 (0.7) 68.7 72.8 4.0 _
Planned Outage OTL (0.0) 0.4 0.4 29.3 36.2 69 © YTD: Free cash flow was $80 million
S&E Assessments to Capital {0.9) {0.7) 0.2 {6.4) (6.4) 0.0 . .
Taxes (Property, B&O, etc.) 1.3 1.5 0.2 8.8 10.4 1.6 unfavorable primarily related to lower energy
Total Operations & Maintenance $34.4 $36.3 $1.9 $274.0 $296.2 $22.2 revenue due to unfavorable market prices,
Operating Margin $50.7 $67.6 ($16.8) $309.0 $414.7 ($105.7)
partially offset by higher generation, lower O&M
FENOC Fleet Support 13.6 12.2 (1.4) 67.2 79.6 12.4
expense driven by lower headcount and outage
+/(-) Capital Expenditures
KERP Cash Flow
2.2 (53.4) (70.3) on related expenditures and lower capital
0.0 3
expenditures
L ce en eee (enero) CEOS Bn a intercompany ee SN Bees sik
Bc ee es ee eee ee ree
Confidential Treatment Requested Pursuant to EH-GJ-0184054
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                                                                       App'x 088
Fossil
Oe Ss See Oe ee ee
ee ee ee ear ee cee SN
Confidential Treatment Requested Pursuant to EH-GJ-0184055
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                    App'x 089
be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Fossil | Safety
2.50
2.25
2.00
1.75
1.50
1.25
1.00
0.75
0.50
0.25
FES Fossil




                                                                                                                 Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 92
OSHA Rate
Jan Feb ‘Mar a ul Jun iE Aug Sep Oct. ‘Nov Dec
mmm 18 YTD 2.37 1.27 0.84 1.62 1.29 1.09 0.94 0.85 0.98 0.89 0.82 0.77
ti! "19 YTD 0.00 1.05 0.72 0.55 0.45 0.40 0.70
= «= °'19 Target 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58
Highlights
.1 Fossil operations had one incident in July 2019, where an employee at Sammis 7 experienced a muscle tear
while closing a valve
a For year-to-date 2019, fossil operations has experienced two incidents resulting in an OSHA incident rate of
0.70, which is unfavorable to the target of 0.58
AI eter
Confidential Treatment Requested Pursuant to EH-GJ-0184056
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594015
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be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Sammis Highlights - MTD
: : : Mansfield : . : . . .
Fossil Business Unit Tene eas a Mansfield Unit 3 was unfavorable primarily due to economic
a . . . . .
ae dispatch for the majority of the period given lower market prices.
J
M In addition, Mansfield Unit 3 was on reserve status for the
Capacity factor 4% 48% majority of the period.
Fuel Coal Inventory Days’ 21 48 2 Sammis Units 5-7 was unfavorable primarily due to economic
dispatch, in addition, there were several forced outages due to
Capacity factor 63% 63% boiler tube leaks on all three units.
Fuel Coal Inventory Days' 24 14




                                                                                                  Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 93
Highlights — YTD
a Mansfield Unit 3: lower YTD capacity factor is primarily due to
economic dispatch due to lower market prices, in addition to
maintenance issues, such as belt repairs, air heater
Capacity factor (59%) (15%)
Fuel Coal Inventory Days" 3 (34)
Capacity factor 10% 35% replacements, and boiler tube failures.
Headcount 163 213 4 Sammis Units 5-7: lower YTD capacity factor is primarily due to
economic dispatch, in addition to maintenance issues related to
Capacity factor 68% 66% . .
Headcount 439 192 boiler tube failures and absorbers.
Capacity factor (58%) (31%) <2 Headcount is unfavorable to forecast primarily related to timing
Headcount (24) (21) of attrition.
Definitions a On August 9, the Company notified PJM that Bruce
Capacity factor - The ratio of actual energy produced to
maximum energy the unit is capable of generating.
Mansfield Unit 3 would deactivate in early November
i ee LLL re
eee ae ee a POU ee eee ee ees ig
EO Ee i ee eo,
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0184057
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594016
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July-19 . .
eee AeA NY Sree Highlights
1B) AE aan ke) Var. to _—
Pee MTD Actual eee 2 MTD: Free cash flow was $9 million
Net Generation (1 Wh) 1) (0.5) 21 18 (4.7) unfavorable primarily related to lower energy
$/MWH $33.62 ($5.07) $29.57 $33.77 ($4.20)
1 Qo
Revenues! revenue due to unfavorable market prices (15%
Energy Revenue 3179 936.7 ($18.8) 993.0 $265.7 ($172.7) lower) and lower generation; partially offset by
Ancillary 0.6 0.7 (0.1) 4.2 48 (0.6) ,
Capacity 9.2 10.7 (1.5) 106.7 116.4 (9.7) the timing of severance and contractor fees and
Total Plant Revenue $27.7 $48.1 ($20.4) $203.9 $386.9 ($183.0)
Cost of Revenues lower coal and reagent usage




                                                                                                           Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 94
Coal 12.9 20.0 7.1 73.1 139.8 66.7
Fuel Handling 1.7 1.8 0.1 14.7 12.5 (2.2)
Reagents 47 5.4 0.7 25.1 43.6 18.5 © YTD: Free cash flow was $119 million
Total Variable Costs $19.2 $27.1 $7.9 $112.8 $195.8 $83.0
. . unfavorable primarily related to lower energy
Variable Margin $8.5 $21.0 ($12.5) $91.1 $191.0 ($100.0)
Operations & Maintenance revenue due to unfavorable market prices,
Labor & Benefits 2.8 3.6 0.9 28.4 25.3 (3.2) . -
Non-Outage OTL 2.7 4.1 1.4 28.9 28.8 (0.1) lower generation, timing of severance
Planned Outage OTL 0.0 - (0.0) 2.3 - (2.3) payments, and unfavorable O&M and capital
S&E Assessments to Capital (0.1) (0.0) 0.0 (0.5) (0.3) 0.2
Taxes (Property, B&O, etc.) 0.6 0.5 (0.1) 3.7 3.6 (0.1) expenditures due to forced outages and the pull
Total Operations & Maintenance $6.1 $8.2 $2.2 $62.9 $57.4 ($5.5) —— ;
ahead of planned outage activities at Mansfield
Operating Margin $2.4 $12.8 ($10.4) $28.2 $133.6 ($105.4)
Fossil Fleet Support 1.8 0.7 (1.0) 10.1 16.7 6.6 and Sammis scheduled for the fall 2019;
Severance 1.3 4.6 3.3 15.4 9.6 (5.8)
partially offset by favorable fleet support
expense and lower coal and reagent usage
+/{-) Capital Expenditures (1.1) - (1.1) (14.3) - (14.3} P g g
+/{-) KERP Cash Flow - - - - _ -
ee Pel fo: Brice IE ee
ee OIE 4 Soo. — e a 202
Pepreceiis an accrual based ee cash flow tial does noi nclude shared service costs
Confidential Treatment Requested Pursuant to EH-GJ-0184058
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                                                                  App'x 092
Retail
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ee ee eer ee ee cee SN
Confidential Treatment Requested Pursuant to EH-GJ-0184059
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                    App'x 093
Retail | Financial Results (Disclosure Statement)
July-19 Highlights
eet MTD YTD -
pea Dé ve pea Ds eee 2 MTD: Free cash flow was $15 million
LN WA AL ach Mal LAL Rashes favorable primarily related to higher volume
driven by weather and lower purchased power
Revenues costs driven by lower spot market prices;
LCI Revenue $41.1 $44.3 ($3.2) $298.5 $341.4 ($42.9) ; ;
MCI Revenue 43 3.2 1.1 245 20.7 3.8 partially offset by slightly lower realized
GovAgg Revenue 427 30.7 12.0 207.4 194.6 12.9 contract pricing driven by customer mix
Mass Market Revenue 16.3 15.1 1.2 93.9 95.7 (1.8)
Muni & Co-op Revenue 4.3 3.6 0.7 25.4 23.0 2.4
POLR Revenue - Associated Companies 99 9.2 0.7 135.5 134.7 0.9 we




                                                                                                             Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 96
POLR Revenue - External 5.8 5.2 0.6 36.9 34,2 23 4 YTD: Free cash flow was $111 million
Structured Physical Revenue (0.1) - (0.1) 9.2 9.0 0.3 favorable primarily related to lower purchased
Total Retail Revenue $124.3 $111.2 $13.1 $831.4 $853.1 ($21.8)
Variable Costs power costs driven by lower spot market
Purchased Power 83.9 84.2 0.3 549.0 666.9 117.9 prices and favorable O&M expenses; partially
Capacity Expense 15.1 16.4 1.2 180.5 188.7 8.2 .
Total Variable Costs $99.0 $100.6 $1.5 $729.5 $855.6 $126.1 offset by unfavorable retail volume and lower
Retail Variable Margin $25.3 $10.6 $14.6 $101.9 ($2.4) $104.3 realized contract pricing driven by customer
O&M and Other mix
FES Retail O&M 2.8 2.8 (0.1) 15.8 19.5 3.7
Gross Receipt / CAT Tax 1.6 2.1 0.5 10.7 13.3 2.5
Total O&M and Other $4.4 $4.8 $0.5 $26.5 $32.8 $6.3
a =s«d The retail free cash flow for both the actual
results and the Disclosure Statement
Capital Expenditures .
forecast are based on market rates (i.e.,
purchased load from PJM)
eee July oe
Confidential Treatment Requested Pursuant to EH-GJ-0184060
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594019
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                                                                                                                                    App'x 094
Units in TWhs
Variance
Fy 2019 FY2020 FY2021 FY2019 FY2020 FY2021 FY2019 FY2020 FY 2021
LCI
Mcl
GovAgg
Mass Market
Muni & Co-op
POLR
Structured Physical
Wholesale Physical
Total
Highlights




                                                                                                                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 97
a LCI increase primarily due to Plastipak Packaging
Q Gov Agg increase due to community supplemental activity and renewals (Jackson Township, Clark County Communities,
Franklin Township, Richland Township, Pease Township, Jefferson Township)
Q Market Update / Near Term Focus
~ Majority of recent committed sales are for terms beyond 2021 as customers are taking advantage of the lower
forward market prices
Definitions
Large Commercial & Industrial ("LCI") - Large C&l customers over 1,000 MWh of load with customized products and contracts to meet specific customer needs
Medium Commercial & Industrial ("MCI") - Medium sized C&l customers between 10 and 1,000 MWh of load with customized products and contracts to meet specific customer needs
Governmental Aggregation ("Gov Agg") - Buying group represents all members of the group consisting of residential and small C&l below 10 MWh of load with standardized contracts
Provider of Last Resort ("POLR") - "Slice of system” to provide for any customers not participating with a competitive REP using standardized contracts
Municipalities and Cooperatives ("Muni & Co-op") - Contracts with Munis and Co-ops for all participating residential and small C&l below 10 MWh of load with standardized contracts
Mass Market ("MM") - Campaign oriented channel offered to residential and small C&l below 10 MWh of load with standardized contracts
Structured Physical - Wholesale like transactions which contain customized terms, shapes, or options
Wholesale Physical - Block power transactions that are traded in standard sizes and easily obtainable in the market place
STi
EH-GJ-0184061
Confidential Treatment Requested Pursuant to
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be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Retail | FES Sales Position Report
FES Open Position
an
0
DD se SP ee oes PY oS > or gy
oo 8” 8” ” or SS SP SM oh MS OP
Poot
xe PP s ~ Se y “ " is as aa “o e oe cs oe “o ye a PH PE ss cs oxo a
SWS Committed Load ome me Supply
2019 TWhs % 2020 TWhs % 2021 TWhs %
Supply 20 100% Supply 47 100% Supply 30 100%
Committed 10 50% Committed 20 42% Committed 11 36%




                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 98
Open Spot 10 50% Open Spot 27 58% Open Spot 19 64%
7 Wi forecas! 1) He bead posi 81/19
ee Bo eee
Se ee Se
eee
Confidential Treatment Requested Pursuant to EH-GJ-0184062
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594021
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                                                                                             App'x 096
Consolidated Financial Results
For Professional Eves Only — Subject to Contidetiai*y Agreements
Bo eee 6 See ie ee Ee nes cee SN
Confidential Treatment Requested Pursuant to EH-GJ-0184063
FOIA and Fed. R. Crim. P. 6(e)
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                                                                   Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 99




                                                                                          App'x 097
Lbe-- ee ee ee
Financial Results | Income Statement (Disclosure Statement)
S In Millions
Nuclear Generation (TWh) . 18.7 18.3
Fossil Generation (TWh) 0.6 1.1 (0.5) 3.2 7.9 (4.7)
Electric Retail $104 S93 $11 $624 $652 (S28)
Muni & CO-OP 4 4 1 25 2
POLR 16 14 1 172 4
Structured - 0 9 {0)
Total Segment Sales 111 13 831 (22)
Wholesale 56 (29) 170 (155)
21
27




                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 100
ee abacity Revenue ane
yi e $
SLAIN : Liss
Fossil Fuel Expense
Nuclear Fuel Expense
Purchased Power (7)
Other Variable Expenses {2)
iable Costs 56
evenue (1) (0)
Fossil O&M 10 13
Nuclear O&M 47 47
80
96
Restructuring Professional Fees 9
Pension / FES O&M 9
General Taxes 3 4 29
8
16 126
a
1, Non-GAAP income slatement adjusted Toon
Adjusted EBITDA
Actual’ DS Actual’ DS
one, IID Variance 8 YID Variance iw
2.8 2.8 - 0.5
MTD: Adjusted EBITDA was $9 million
unfavorable due to margin impact due to lower
generation (economic dispatch of fossil units
and unplanned Perry turbine outage), lower
market prices; partially offset by increased retail
sales volume driven by warmer weather,
favorable fossil O&M expense, and favorable
service company costs
YTD: Adjusted EBITDA was $7 million
unfavorable due to lower variable margin which
was driven by lower market prices and lower
retail sales volume; partially offset by lower
service company costs from FESC, timing of
shared service implementation costs, favorable
nuclear generation, and lower nuclear O&M
Aye
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0.7.588.167090
EH-GJ-0184064
TIER 3 - 594023
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                                                                                      App'x 098
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Financial Results | Collateral
Certain counterparties require FES to post collateral in order to hedge their market exposure with FES
Q Collateral outstanding as of July 31, 2019 was $80 million, a $4 million increase as compared to June 30, 2019
- Approximately ($4) million in posted collateral related to increased hedging activity with FC Stone and Morgan Stanley
- Approximately ($2) million in posted collateral related to higher exposure with PJM
- Approximately +$2 million in returned collateral due to due to lower exposure (Retail and Third-Party Supplier
Agreements)
FES Collateral ($ in Millions) Collateral Amount
Type Counterparty Tau ais) YU) Variance
Energy Market Collateral (RTO) PJM & MISO $ 19 $ 18 $ 2
Retail Supplier Agreements Various 35 36 (2)
POLR Auction Various 7 7 -




                                                                                                                           Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 101
Third-Party Supplier Agreements Various 6 6 1
Uranium Contract Requirements Macquarie Energy 3 3 -
Renewables Agreements Various 2 2 -
Vendor Deposits Carmeuse Lime / NJ Natural Gas 1 1 -
Future Brokers Accounts INTL FC Stone / Morgan Stanley 7 3
Total $ 80 $ 75 $
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0184065
FOIA and Fed. R. Crim. P. 6(e)
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                                                                                                                                                   App'x 099
Liquidity
Oe Ss OS cee Oe eae ae a
ee ee ee ee cee SN
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FOIA and Fed. R. Crim. P. 6(e)
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                                                                                     App'x 100
be-- ee ee ee ee ee ee ee ee ee ee ee ee eee
Liquidity | Month of July 2019
$'s in Millions
gana a elem Coty eg” Highlights
a Onaconsolidated basis, net cash use of approximately $2
Monthly Summary:
y "Y million for the period
Net Receipts $ 139
Total Receipts 139 a Net receipt activity includes retail receipts of $92 million,
Fuel (Coal / Reagents / Nuclear Fuel) (15) wholesale receipts of $7 million, affiliate POLR receipts of
Purchased power (13) $7 million, and net PJM receipts of $31 million
Payroll and Benefits (34) q Payroll includes AIP quarterly payment of $2 million
O&M Expense / Capex (39)




                                                                                                          Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 103
Professional Fees (20) 2 Collateral disbursement of $7 million related to US Steel
State & Local Taxes (8) retail contract
Total Operating Disbursements (130) , Professional fee activity included approximately $6 million
FE Service Company (4) of spend related to prior interim fee holdback
ete ed 0: & "Sn Coch EE Related ——_" a Adjusted July ending cash balance of $952 million, as
nlevere erating Cash Flow
P g compared to the projected cash balance of $985 million for
Cash Interest 2 the targeted emergence date or September 30, 2019, as
Collateral, net ___)~—SCs reflected in the Disclosure Statement
Total Debt Service / Other (6)
Levered Net Cash Flow $ (2)
Beginning Cash Balance $ 1,066
(+/-) Levered Net Cash Flow (2)
Ending Cash Balance $ 1,064
Gee cee a alige oes ae cia: Eris -Lemefit of the shared service credit of $113 million
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0184067
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594026
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                                                                                                                                  App'x 101
be-- ee ee ee ee ee ee ee ee ee ee ee ee eee
Liquidity | Comparison of Cumulative Cash Flow to13-Week Cash Flow Forecast
(Prepared July 19, 2019)
FES & FENOC Forecast to Actual Variance (Xe Tey gece | \eueqe- | Variance for the 4-week period ended 8/9/19
Monthly Summary: a Favorable variance of $4 million for the 4-week
Net Receipts $ 127 $ 130 $ (3) period ended 8/9/19
Total Receipts $ 127 $ 130 $ (3)
a Variance primarily related to the following:
Fuel (Coal / Reagents / Nuclear Fuel) (23) (19) (4)
Purchased power (8) (11) 30 Net Receipts — Unfavorable PJM and retail
Payroll and Benefits (32) (30) (2) receipts variance primarily related lower
O&M Expense / Capex (37) (39) 2 generation
Professional Fees (16) (18) 2 . .




                                                                                                               Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 104
State & Local Taxes (1) (5) 4 Fuel — Unfavorable fuel costs primarily related
Pension (3) - (3) to reagents spend timing
Total Operating Disbursements $ (120) $ (121) $ 1. Purchased Power — Favorable timing variance
FE Service C . __. -
ervice ompany (6) (6) oc Pension — Timing of EDCP and non-qualified
NOL cash tax receipts - - -
Critical Vendor, Lienholder, Other BK . - - plan payments
Total Affiliate & Restructuring Related $ (6) $ (6) $ oO | Collateral, net — Favorable timing variance of
Unlevered Operating Cash Flow § 1 $ 3 $ (2) collateral postings related to new retail
Cash Interest 2 2 (0) contracts
Collateral, net (1) (7) 6
Total Debt Service / Other $ 1 $ (5) $ 6
Levered Net Cash Flow $ 2 $ (2) $ 4
Beginning Cash Balance - WE 7/19 $ 1,056 $ 1,056 $ 0
(+/-) Levered Net Cash Flow 2 (2) 4
Ending Cash Balance - WE 8/9 $ 1,058 $ 1,054 $ 4
STi
Confidential Treatment Requested Pursuant to EH-GJ-0184068
FOIA and Fed. R. Crim. P. 6(e)
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be-- ee ee ee ee ee ee ee ee ee ee ee ee eee
Liquidity | 13-Week Cash Flow Forecast (Consolidated Forecast Prepared August
16, 2019)
Receipts / Operating Disbursements
a PJM receipts updated based on latest load and generation forecasts
~ Bruce Mansfield Unit 3 in must run mode in September and October to burn remaining coal inventory following
decision on accelerated deactivation
- Forecast removes all forecasted activity related to the Pleasants station from the period
Q Incorporates anticipated expenditures related to the HB6 referendum ($17.5 million)
a Incorporates impact of Bruce Mansfield Unit 3 shutdown on disbursements (O&M and Capital / Payroll)
Q Forecast includes payments related to coal purchases and coal combustion residuals (CCR) activity from
Consolidation Coal ($12 million in week 1)
Affiliate Receipts / Other Disbursements




                                                                                                                     Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 105
a Pension charges related to Q3 is included in week 7 of the forecast for $9 million
a Shared services payment of $11 million in week 5 of the forecast related to the July FESC shared service charges
and run-rate shared service charges
Restructuring Related
a Professional fee forecast includes $6 million of holdback fee payments in week 11 of forecast
a Forecast excludes restructuring related transactions
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0184069
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594028
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Actual /:Forecast:Period Fava |)
Actual Actual
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eos
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cel!
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geo ce!
Projected
13-Week
Total
Receipts:
Retail Receipts $ 16 § 24° § 16 $ 28 | $ 20 $§$ 22 $§$ 21 § 21 §$ 23 22 $ 22 $ 19 §$ 18 §$ 18 § 18 § 18 § 19 | $ 263
Wholesale Receipts 2 § 0 - - 8 2 - - 4 1 - - - 3 q - 19
PJM Activity, net 6 7 8 7 1 5 7 7 6 10 10 11 10 11 41 9 8 105
Miscellaneous Receipts 0 6 0 0 0 0 0 a a 0 Oo a a 0 0 0 a 0
Asset Sales / Other “ “ - - “ “ “ “ . “ - - - - - - . .
Total Receipts 25 36 24 35 20 35 30 29 29 37 33 30 29 29 33 28 27 387
Operating Disbursements:
Fuel ~ Coal (12) (0) - i (12) ) (0) (1) (0) (11) (0) (0) {1} (1) (11) 1} (0) (38)
Fuel — Other (Reagents, etc.) {0) {0} {0} {0} {1} {1} (1) {1} {1) (1) (1) {1} (1} (1) (1) {1} (1) (15)
Fuel — Nuclear - - - (8} - - - - {4) - - - {18} - - - - (22)
Purchased Power {3) {2} {2} {1} {2} {2} 2) {2} {2) (2) {2) {2} {2} {2} {2} {2} {2) {25)
Direct Payroll & Benefits (2) (16) {1} (14) (?} (13) Q) (11) {2) (12) (2) {13} (3) (11) (4) (11) (3) (95)
G&M Expense/CapEx/Gther Vendors (6) (12) (8) (113 (8) (8) (103 (11) (18) (13) (18) (14) (15) (13} (13) (13) (13) (164)
Pension - - - (3) - - - - - - (9) - - - - - - (9)
State & Local Taxes {0) {0} {0} {0} {1} {1} (1) {0} {0) (0) (0) {0} (G} {0} {0} {0} (0) {8}
Total Operating Disbursements (23) (30) (12) (38) (32) (26) (18) (26) (26) (40) (31) (341) (40) (27) (30) (27) (20) (375)
Affiliate Transactions, Net:
POLR revenue 7 - - 10 - 8 - - - 6 - - 24
Service Company Billings - - {5} - {11} - - - {11} - - {12} (34)
GENCO Labor & O&M Allocation {0) (0) 0 {0} - - - - - - - - - - - - - -
Miscellaneous Affiliate Receipts } Charges {0) 0 a {0} {0} (0) {0} {0) {0) (0) {0} {G} {0} {0} {0} {a} 1)
FENGC Allocation - - “ “ “ “ “ . “ - - - - - - “ .
NOL Monetiza-ion - - - - - -
Other - - - - - - - - - - - - - - - - -
Total Affiliate Transactions, Net 7 (0) (0) (6) {0) 10 (0) {0) (11) 8 (0) {0} (11) (0) 6 {0) (13) (11)
Restructuring Related:
Pro‘essional Fees 1) (2) (12) (1) (1) G) (3) {2) 3) (3) (3) {2} {2} (2} (8) 2} (2) (32)
Critical Vendor Payments (Pre-petition) - - - - - - - - - - - - - - - - - -
Utility Deposits - - - - - -
Setilerrent Considerations - - - - - - - - - - - - - - - - - -
Total Restructuring Related (1) (2) (12) (1) (1) (4) 3) {2) (3) (3) (3) (2) (2) (2) (8) (2) (2) (32)
Dabt Service:
Cash Interest - 2 - - - 2 - - 2 - - 2 6
Collateral, net {1} {0) 0 - {1} {1} - {2} - - {1} - - {8}
Surety Payments - - - - - - - - - - - - - -
Total Debt Service Related (1) (0) 2 - (1) (1) 2 (2) - 2 (1) - 2
Cash Balance:
Beginning Cash Balance $ 1,056 $ 1,062 $ 1,068 $ 1,068 |$ 1,058 $ 1,044 $ 1062 $ 1,069 $ 1,072 $ 1,062 $ 1,061 $ 1,061 $ 1,059 $ 1,035 $ 1034 $ 1,035 $ 1,036 /$ 1,058
(41-} Levered Net Cash Flow 7 4 2 (10} (14) 17 8 3 (11) (0) (0) (2) (24) (1) 1 1 (7) (29)
Ending Cash Balance $ 1,062 $ 1,066 $ 1,068 § 1,058 |$ 1,044 $ 1,062 §$ 1,069 §$ 1072 § 1,062 § 1,001 $ 1,061 § 1,059 § 1,035 $ 1,034 $ 1035 § 1036 §$ 1,029 [$ 1,029
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July 2019
EH-GJ-0184070
TIER 3 - 594029
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Current Events
For Professional Eves Only — Subject to Confide*taity Agreements
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                                                                                           App'x 105
be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Current Events | Highlights
Legislative Support — State
a Ohio
~ The Ohio Clean Air Program (HB6) was signed by the governor, Mike Dewine, on July 23, and will generate
roughly $150 million annually for the two nuclear units in Ohio.
m Numerous citizen groups, including the Ohioans Against Corporate Bailouts are petitioning to include a
referendum on the Ohio ballot in November 2020 to repeal HB6.
vn On August 12, Ohio Attorney General Dave Yost rejected a summary of petition language for a proposed ballot
referendum to repeal HB6 for the state’s two nuclear power plants.
— Upon adjusting petition language and getting approval from the Ohio Attorney General on that language, the
group would need to collect 265,774 valid voter signatures from registered voters in at least half of Ohio’s 88
counties. The group needs to obtain those signatures within 90 days of Governor DeWine signing HB6 into law




                                                                                                                       Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 108
(by October 21).
a Pennsylvania
— The “Alternative Energy Portfolio Standards Act” (HB11 / SB510) provides definitions for alternative energy
portfolio standards, for portfolio requirements in other states, for health and safety standards and for interagency
responsibilities; and providing for Tier ||| alternative energy sources and for capacity payments to alternative
energy sources.
FES and other PA nuclear operators have been meeting to discuss alternatives to the current bills stalled in the
house and the senate. The administration is still focused on PA joining the Regional Greenhouse Gas Initiative
(RGGI).
Additional meetings are being held with the administration and members of the house in August to refine our
alternatives.
July 2019
Confidential Treatment Requested Pursuant to EH-GJ-0184072
FOIA and Fed. R. Crim. P. 6(e)
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Current Events | Highlights (continued)
OVEC / Renewable PPA Rejection Process
o The appeals of the PPA rejections with respect to OVEC and Maryland Solar are presently before the Sixth Circuit
Court of Appeals. Appellants filed opening briefs on February 26. The Company filed its responsive brief on April 29.
Appellants’ reply briefs were filed on May 20. Oral argument on the appeals took place on June 26. The matter has
been taken under advisement. The timing of a ruling by the Sixth Circuit is unknown, but will likely take several
months.
a Company and professionals have engaged in communications with OVEC in an attempt to consensually resolve the
ongoing disputes, but at present, those discussions have not been fruitful. The Company’s advisors continue to
engage with advisors to the creditor constituencies to evaluate potential settlement paths with OVEC. The Company
entered into a stipulation with OVEC to limit the scope of OVEC’s confirmation objections, while leaving the appeal and
rejection damages claim disputes unresolved.




                                                                                                                          Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 109
July 2019
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Current Events | Bankruptcy Timeline
Upcoming
May 2019
a May 20 - Disclosure Statement Approved by the Court
July 2019
Q July 23 — Plan Supplement Filed with the Court
August 2019
Q August 2 — Voting Deadline on the Plan / Objection Deadline on the Plan
ug August 13 — Prime Clerk to file Voting Certification / Proposed Cure Amounts Deadline
a August 20 — Confirmation Hearing Commences
Q4 2019
Q Target quarter for Plan Effective Date
Disclosure Statement




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Disclosure Hearing & Motion to
Statement and Disclosure = Approve RSA and the
Plant Term Statement Hearing Voting Record Date NRC
Sheet Filing (initial) (continued) Application
Disclosure
Statement
Approved by
Court
Plan
Supplement
Deadline
Prime Clerk to
Voting
Voting Deadline — Certification
on the Plan / Filing /
Objection Proposed Cure
Deadline on the Amounts Confirmation Plan Effective
Plan Deadline Hearing Date
Aye
Confidential Treatment Requested Pursuant to
FOIA and Fed. R. Crim. P. 6(e)
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EH-GJ-0184074
TIER 3 - 594033
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Appendix
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Por Discussion Purposes Only — Subjec! io FRE 403 ens Reied cee SN
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                                                                                             App'x 109
be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Appendix | Capex and O&M (Disclosure Statement)
In $Millions
Pele ee Or, eee vo ee eee
Nuclear Actual DS FCST Actual DS FCST
Beaver Valley
Davis-Besse 1 2
Perry 4 1
Total Capex $3 $5
0&M $47 $47
Nuclear Fuel
gee | Actual DS FCST
Sammis




                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 112
Mansfield 0 -
West Lorain - -
Little Blue Run - -
Total Capex $1 $0
O&M $10 $13
Nuclear
a Capital Expenditures — Favorable MTD variance related to fleet performance initiatives, and favorable YTD variances due
to lower spend for fleet performance initiatives and Perry outage projects
a =©Nuclear Fuel — Unfavorable MTD and YTD variances due to timing of nuclear fuel purchases
Q O&M - Favorable YTD variance due to lower labor and benefit costs, favorable nuclear liability insurance refund, and timing
of fees and contractor services; offset by spend related to Ohio legislative efforts
Fossil
ao Capital Expenditure — Unfavorable MTD due to non-outage projects not originally forecasted and YTD due to acceleration
of Mansfield and Sammis planned outage projects originally planned for the fall
ag O&M -—- Favorable MTD due to the timing of severance payments. Unfavorable YTD variance due to the acceleration of
Mansfield and Sammis planned outage projects from fall 2019
STi
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FOIA and Fed. R. Crim. P. 6(e)
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be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Appendix | Capex and O&M (Budget)
In $Millions
Capex and O&M eB eR eee wey OR eae
Nuclear iene silts (eli Actual site
Beaver Valley
Davis-Besse 1 2
Perry 1 1
Total Capex $3 $5
O&M $47 $45
Nuclear Fuel
[gets eagle ete
Sammis




                                                                                                                          Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 113
Mansfield 0 -
West Lorain - -
Little Blue Run - -
Total Capex $1 $1
Nuclear O&M $10 $9
g Capital Expenditures — Favorable MTD variance related to fleet performance initiatives, and favorable YTD variances
due to lower spend for fleet performance initiatives and Perry outage projects
ag Nuclear Fuel — Unfavorable MTD and YTD variances due to timing of nuclear fuel purchases
»=08&M — Favorable YTD variance due to lower labor and benefit costs, favorable nuclear liability insurance refund, and
timing of fees and contractor services; offset by spend related to Ohio legislative efforts
Fossil
Q Capital Expenditure — Unfavorable MTD due to non-outage projects not originally forecasted and YTD due to
acceleration of Mansfield and Sammis planned outage projects originally planned for the fall
a O&M —- Unfavorable YTD variance due to the acceleration of Mansfield and Sammis planned outage projects from fall
2019
Cooma Oct air ie ec ecu meme (elem Mamie ice at sii (oi cy Brie
Confidential Treatment Requested Pursuant to EH-GJ-0184077
FOIA and Fed. R. Crim. P. 6(e)
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be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Appendix | Financial Results, Pleasants Power Station
$ in Millions hii
Actual a5 a OTe) FCST- Highlights
ape MID ME ees, YID Vane VETTE tes) For th ‘od. f hf .
Net Generation (TWh} 0.6 0.7 (0.1) 2.5 5.0 (2.5} or the period, ree cas ow Is
s/MWh s 30.09 $ 36.18 § (6.09) s 30.92 § 35.59 § (4.67) approximately $2 million unfavorable to the
Energy Revenue’ $18.9 $24.9 ($6.0) $78.4 $178.2 ($99.8) forecast
Ancillary (0.1) 0.0 (0.1) (0.1) 0.1 (0.2) — Primarily driven by lower energy pricing and
Capacity, N 3.2 3.0 0.1 27.4 27.0 0.4 .
apacity, Net lower generation as compared to the forecast
Other 0.1 0.0 0.1 0.9 0.2 0.7
Total Revenue 22.2 28.0 (5.8) 106.5 205.5 (98.9) ~ Controllable costs for the station were




                                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 114
Coal (14.2) (14.9) 0.8 (58.1) (108.8) 50.7 favorable to the forecast
Fuel Handling (0.5) (0.6) 04 (4.0) (4.5) °° 4 The Debtors are working with the AES team
Delivery {0.9) (0.6) (0.3) (3.1) (4.6) 1.5 . oo.
Other Variable Costs {2.2) (2.7) 0.5 (10.1) (19.4) 9.2 to integrate the station into the Debtors
portfolio once the title transfers
Total Variable Costs (17.8) (18.8) 1.0 (75.2) (137.2) 62.0
Variable Margin 44 9.2 (4.8) 31.3 68.2 6.3) = The inventory for coal was approximately 64
Labor & Benefits (1.5) (1.4) (0.1) (10.6) (10.7) 0.1 days at the end of the period and the
Property Taxes (0.1) (1.2) 1.1 (8.9) (8.5) (0.4) capacity at the station is approximately 67
OTL {1.4) (2.1) 0.7 (10.1) (13.7) 3.6 days or 800.000 tones
EBITDA 14 45 (3.1) 18 35.3 (33.5)
a Perthe APA, the Debtors will receive or
Capital Expenditures {0.6) (0.6) (0.0) (7.7) (9.1) 1.4
McElroy's Run _ _ _ _ _ _ pay the aggregate free cash flow and cost
Shared Services (1.0) (1.7) 0.7 (7.2) (11.7) 44 for inventory at the exit from bankruptcy
Free Cash Flow (50.2) $2.2 ($2.4) ($13.2) $14.5 ($27.7)
7. Represents forecast irom AES / FES dated Janiery 7, 2019 Ae
BF ee ee Taeeece le ee , SU aes
Confidential Treatment Requested Pursuant to EH-GJ-0184078
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594037
*




                                                                                                                              App'x 112
be-- ee ee ee ee ee ee ee ee ee ee ee ee ee eee
Appendix | Shared Services Separation
Saas July 19
munications
External Affairs
Beta Lab
[ Amended SSA step down notice issued to FESC (effective as of month-end, notice issued 90 days prior)
= Expected SSA step down date (effective as of month-end, notice issued 90 days prior)
= Step dawn complete
= Step down on-going and on schedule
= Step dawn notice issued, but has since been rescinded
= Step dawn timing at risk
Select Commentary and Recent Events:




                                                                                                                                               Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 115
ol
ol
Communications functional group successfully stepped down on August 1.
FEU/FET Services
Fuel Procurement
Records
Management
Unit Dispatch
Offer extended to ClO candidate. Worked with FESC recruiting to prepare offers for other Tier 1 hires. Interviews for other key positions in
progress and ongoing.
Received agreement from SAP for ECC licenses and reviewed FESC resource requirements with each FES separation team functional lead
to develop IT migration plan. Continued target separation date of 12/31/2019.
NewCo post-separation employee benefit providers determined. ADP working with carriers to begin development of user interfaces.
Continue to evaluate proposals for NewCo banking partners and treasury support.
Confidential Treatment Requested Pursuant to
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090
STi
EH-GJ-0184079
TIER 3 - 594038
*




                                                                                                                                                                       App'x 113
End
eS ee ee ae
Bo eee 6 See ie Beer E eM Res cee SN
Confidential Treatment Requested Pursuant to EH-GJ-0184080
FOIA and Fed. R. Crim. P. 6(e)
0.7.588.167090 TIER 3 - 594039
*




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                                                                                     App'x 114
FirstEnergy Solutions Corp.
Regular Meeting of Board of Directors
West Akron Campus Hub -215
2:00 p.m. Eastern Time
May 28, 2019
AGENDA
1. Call Meeting to Order
2. Roll Call
Mr. John C. Blickle
Mr. James C. Boland
Mr. John W. Judge
Mr. Donald R. Schneider
Mr. Joseph M. Gingo




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3. Approval of Minutes
A. Consideration should be given to the approval of the minutes of the regular meeting
of the Board of Directors held April 30, 2019
4. Board Matters
A. Consideration of Approval of Wholesale Risk Changes for Capacity and Fuels
RESOLUTIONS OF
THE BOARD OF DIRECTORS (THE "BOARD") OF
FIRSTENERGY SOLUTIONS CORP. (THE "COMPANY")
Dated as of May 28, 2019
Amendment of Risk Policy
WHEREAS, the Board has previously reviewed and approved the Company's risk
management policy (the "FES Risk Policy");
WHEREAS, the Board has reviewed with Company management the proposed revisions
to the FES Risk Policy, which are attached hereto as Exhibit A (the "Risk Policy Amendment").
NOW THEREFORE BE IT:
RESOLVED, that the Board considers the Risk Policy Amendment to be advisable and in
the best interests of the Company;




                                                                                                                        App'x 115
RESOLVED, that the Board hereby approves the Risk Policy Amendment in all respects
and the FES Risk Policy is hereby amended as provided for in the Risk Policy Amendment;
RESOLVED, that the "Proper Officers" referenced in these resolutions shall be
Chairman of the Board, the Chief Executive Officer, the President, any Vice President, the Chief
Financial Officer, the Chief Risk Officer, the Treasurer and the Corporate Secretary of the
Company;
RESOLVED, that the Proper Officers be, and each of them individually hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to cause the
Company to adopt and comply with the FES Risk Policy, as amended by the Risk Policy
Amendment;
RESOLVED, that the Proper Officers be, and each of them individually hereby is,
authorized, empowered and directed, in the name and on behalf of the Company, to execute and
deliver any such other documents, letters or instrument and do and perform any and all acts and




                                                                                                   Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 118
things that may be appropriate and advisable and as counsel may advise in order to carry out the
intent and purposes of all of the foregoing resolutions;
RESOLVED, that each of the lawful acts of the Proper Officers taken prior to the date
hereof in connection with the transactions contemplated by the foregoing resolutions is hereby
ratified, approved, adopted and confirmed as if each such act had been presented to and approved
by the Board prior to being taken; and
RESOLVED, that the Corporate Secretary and any other Proper Officer of the Company
are, and each individually hereby is, authorized, empowered and directed to certify and furnish
such copies of these resolutions and such statements as to the incumbency of the Company's
officers, under corporate seal if necessary, as may be requested, and any person receiving such
certified copy is and shall be authorized to rely upon the contents thereof
* * * * * * * * *
B. Consideration of Approval of Ohio Advertising Spending
RESOLUTIONS OF
THE BOARD OF DIRECTORS (THE "BOARD") OF
FIRSTENERGY SOLUTIONS CORP. (THE "COMPANY")
Dated as of May 28, 2019
Approval of Generation Now Donations
WHEREAS, upon recommendation by the Company's Review Committee, the Board
proposes to donate to "Generation Now" in support of House Bill 6 in the Ohio legislature (the
"Donations") in an aggregate amount not to exceed $15,000,000 (the "Spend Cap").
NOW THEREFORE BE IT:




                                                                                                                           App'x 116
RESOLVED, that the Board hereby determines that it is advisable and in the best
interests of the Company to make the Donations up to the Spend Cap;
RESOLVED FURTHER, that the Board hereby approves, authorizes and ratifies the
Company's making of the Donations up to the Spend Cap;
RESOLVED FURTHER, that the "Proper Officers" referenced in these resolutions shall
be the Chairman of the Board, the Chief Executive Officer, the President, any Vice President, the
Chief Financial Officer, the Chief Risk Officer, the Treasurer and the Corporate Secretary of the
Company;
RESOLVED FURTHER, that any Proper Officer be, and each of them individually
hereby is, authorized, empowered and directed, in the name and on behalf of the Company, to
execute and deliver any such other documents, letters or instruments and do and perform any and
all acts and things that may be appropriate and advisable and as counsel may advise in order to
carry out the intent and purposes of all of the foregoing resolutions;




                                                                                                    Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 119
RESOLVED FURTHER, that each of the lawful acts of any Proper Officer taken prior to
the date hereof in connection with the transactions contemplated by the foregoing resolutions is
hereby ratified, approved, adopted and confirmed as if each such act had been presented to and
approved by the Board prior to being taken; and
RESOLVED FURTHER, that the Corporate Secretary and any other Proper Officer of
the Company are, and each individually hereby is, authorized, empowered and directed to certify
and furnish such copies of these resolutions and such statements as to the incumbency of the
Company's officers, under corporate seal if necessary, as may be requested, and any person
receiving such certified copy is and shall be authorized to rely upon the contents thereof.
* * * * * * * * *
5. Presentations
A. Update on Regulatory Affairs (Griffing)
B. Update on April Operational & Financial Results (David/Jay/Brian/Kevin)
C. Update on Union Negotiations (Akin)
D. Update on Capacity Auction 22/23(Warvell)
E. Update on Bankruptcy/ Disclosure (Akin/Alvarez)
F. Update From CEO
6. Executive Session
7. Adjournment




                                                                                                                            App'x 117
Exhibit A
Amendment to FES Risk Management Policy
(Attached.)




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                                                                  App'x 118
" is so icy Change
aaniaMnroll




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                                             App'x 119
Table of Con en s:
Page 3: Risk Policy Change Proposal to Fossil Fuel tenor and limits
Page 4: Risk Policy Change Proposal to Nuclear Fuel tenor and limits
5/23/2019




                                                                       Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 122




                                                                                               App'x 120
FES has an Open Fossil Fuel Position for 2020 and beyond
FES management seeks a Board Resolution for a Risk Policy change:
• An update to the Risk Policy would allow for the ability to procure and contract Fuel, Fuel Transportation, and
Fuel Related Products to manage the open position.
• The current Risk Policy transaction limits allow for:
• Trader/Analyst: N/A
• Director/Manager: up to 12 months / up to $1,000,000
• Vice President: more than 12 months / up to $2,000,000
• FES Review Committee: N/A
• FES Board of Directors: N/A Reasons for Seeking a Policy Change:
• The current policy limits our ability to contract
fossil fuel for plant operations.
• FES has 2019 hedged but maintains an open




                                                                                                                    Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 123
position for 2020 of approximately $3 Million
tons/month.
• The suggested limit and tenor approval limits are
set with a caveat that no fuels, fuel
transportation, or fuel related products can be
procured/contracted beyond the plant
deactivation date without BOD approval.
• The proposed Risk Policy transaction limits would allow for:
• Trader/Analyst: N/A
• Director/Manager: up to 6 months / up to $50,000,000
• Vice President: up to 24 months / up to $250,000,000
• FES Review Committee: up to 24 months / up to $500,000,000
• FES Board of Directors: greater than 24 months / greater than $500,000,000
5/23/2019




                                                                                                                                            App'x 121
FES has Hedged Nucluar Fuel only to Deactivation Dabs
FES management seeks a Board Resolution for a Risk Policy change:
• An update to the Risk Policy would allow for the ability to procure and contract Nuclear Fuel and Nuclear
Fuel Processing in the event deactivation dates are extended to a later date.
— —
Reasons for Seeking a Policy Change
The current policy limits our ability
to contract Nuclear fuel for plant
operations
• The current Risk Policy transaction limits allow for:
• Trader/Analyst: N/A
• Director/Manager: up to 12 months / up to $1,000,000
• Vice President: more than 12 months / up to $2,000,000




                                                                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 124
• FES Review Committee: N/A
• FES Board of Directors: N/A
• The proposed Risk Policy transaction limits would allow for:
• Trader/Analyst: N/A
•
•
•
• Director/Manager: up to 12 months / up to $20,000,000
Vice President: up to 24 months / up to $250,000,000
FES Review Committee: up to 72 months / up to $500,000,000 perations.
• FENOC is fully hedged to
deactivation. In the event the
deactivation dates are extended, the
business is seeking the ability to
procure and contract Nuclear Fuel.
• Nuclear Fuel can take up to 2 years
to procure, and significant savings is
offered for longer term contracts.
• The suggested limit and tenor
approval limits are set with a caveat
that no nuclear fuel or nuclear fuel
processing can be
procured/contracted beyond the
plant deactivation date without BOD
approval.
FES Board of Directors: greater than 72 months / greater than $500,000,000
5/23/2019




                                                                                                                                      App'x 122
For Professional Eyes Only
Subject to FRE 408 and Related Privileges
Solutions
onthly Reporting
April 2019
Subject to Confidentiality Agreements
For Discussion Purposes Only
Issued May 28, 2019




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                                                                    App'x 123
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Limitations of Report / Disclaimers
Disclaimer
The information herein has been prepared by Lazard Freres & Co., LLC ("Lazard"), Akin Gump Strauss Hauer & Feld LLP ("Akin Gump"), and Alvarez &
Marsal North America, LLC ("Alvarez & Marsal") based upon information supplied by FirstEnergy Solutions Corp. ("FES" or the "Company"), and
portions of the information herein may be based upon certain statements, estimates and projections provided by the Company with respect to the
anticipated future performance of the Company. We have relied upon the accuracy and completeness of the forgoing information, and have not
assumed any responsibility for any independent verification of such information or any independent valuation or appraisal of any of the assets or
liabilities of the Company, or any other entity, or concerning solvency or fair value of the Company or any other entity. With respect to financial
projections, we have assumed that they have been reasonably prepared in good faith on bases reflecting the best currently available estimates and
judgements of management of the Company as to the future financial performance of the Company. We assume no responsibility for and express no
view as to such projections or the assumptions on which they are based. The information set forth herein is based upon economic, monetary, market
and other conditions as in effect on, and the information made available to us as of, the date hereof, unless indicated otherwise. These materials and




                                                                                                                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 126
the information contained herein are confidential and may not be disclosed publicly or made available to third parties without the prior written consent of
Lazard, Akin Gump and Alvarez & Marsal. These materials are preliminary and summary in nature and do not include all of the information that parties
should evaluate in considering a possible transaction. Nothing herein shall constitute a commitment or undertaking on the part of Lazard, Akin Gump,
Alvarez & Marsal or any related party to provide any service. Lazard is acting as investment banker to the Company and Alvarez & Marsal is acting as
financial advisor to the Company, and will not be responsible for and will not provide any tax, accounting, actuarial, legal or other specialist advice.
April 2019




                                                                                                                                                                                      App'x 124
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Table of Contents
u Operations / Business Unit Financial Results
- Nuclear
- Fossil
- Retail
U Consolidated Financial Results
- Consolidated Income Statement
- Collateral
o Liquidity
Li Current Events
- Highlights
- Select Upcoming Motions




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 127
- Bankruptcy Timeline
o Appendix




                                                                                                                                                                        App'x 125
For Professional Eyes Only — Subject to Confidentiality Agreements — Subject to FRE 408 and Related Privileges — For Discussion Purposes Only
Definitions
AES
ATC
ATSI
BRA
DOE
DS
EFOR
EPA
FE
FENOC
FERC




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 128
FES
FESC Acronym
Allegheny Energy Supply
Company, LLC
Around the Clock
Transmission Systems
Base Residual Auction
U.S. Department of Energy
Disclosure Statement
Equivalent Forced Outage Rate LBR
U.S. Environmental Protection
Agency
FirstEnergy Corp.
FirstEnergy Nuclear Operating
Company
Federal Energy Regulatory
Commission
FirstEnergy Solutions Corp.
FirstEnergy Service Company FEV
FG
FGMU1
FMB
IN P0
KWh
LMP
MATS Term
FirstEnergy Ventures Corp.
FirstEnergy Generation, LLC
FirstEnergy Generation Mansfield
L.Jnit1Corp.HHH
First Mortgage Bond
Institute of Nuclear Power
Operations
Kilowatt-hour
Little Blue Run
Locational Marginal Price Acronym
NDC
NDT
NG
NRC
OVEC
PJM
POLR
POR
Mercury and Air Toxics Standards REC
MISO Midcontinent Independent System
Rpm
Operator, Inc.
MW
MWd Megawa
Megawatt -day
Megawatt -hour RTO
TWh Net Demonstrated Capacity
Nuclear Decommissioning Trust
FirstEnergy Nuclear Generation
LLC
U.S. Nuclear Regulatory
Commission
Ohio Valley Electric Corporation
PJM Interconnection, L.L.C.
Provider of Last Resort
Plan of Reorganization
Renewable Energy Credit
Reliability Pricing Model (PJM
Capacity)
Regional Transmission
Organization
Terawatt-hour
Zero Emission Nuclear Credits




                                                                                                                                                                        App'x 126
Nuclear
For Professional Eyes Only — Subject to Confidentiality Agreements
For Discussion Purposes Only — Subject to FRE 408 and Related Privileges April 2019




                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 129




                                                                                                              App'x 127
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Nuclear Safety
0.) 0.70
0.60
0.50
As -4
re 0.40
<
0.30
Z (f)
0 0.20
0.10
0.00




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 130
an Feb Mar Apr May Jun Jul Aug Sep Oct Nov Dec
8 YTD 0.000.00 0.00 0.00 0.00 0.00 0.00 0.00 0.11 0.20 0.18 0.17
9 YTD 0.51 0.53 0.65 0.49
'19 Target 0.19 0.19
Highlights
Nuclear operations had no incidents in April 2019
For year-to-date 2019, nuclear operations had four incidents resulting in a OSHA incident rate of 0.49, which is
unfavorable to the target of 0.19
April 2019




                                                                                                                                                                        App'x 128
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
uclear I Opera ons
Actuals
Unit capability factor
Capacity factor
Online reliability factor
INPO index Beaver Valley Beaver Valley
Unit 1 Unit 2
98%
97%
0%
92.5 100%
99%




                                                                                                                                                                                                         Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 131
0%
100.0 El= Disclosure Stateri-TiDnt)
Highlights
a Unit capability and capacity factor metrics for all nuclear units were
100% 74% favorable to forecast due to fewer planned and unplanned losses
101% 73%
0% 3% u Perry completed its refueling outage on April 6, which was 2 days ahead
100.0 90.9
Disclosure Statement Forecast
Unit capability factor 97% 89% 91% 71%
Capacity factor 92% 92% 91% 70%
Online reliability factor 2% 2% 2% 2%
INPO index 92.5 100.0 100.0 94.2
Variance (+ Fav / - Unfav)
Unit capability factor
Capacity factor
Online reliability factor
INPO index
YTD Actuals
Unit capability factor
Capacity factor
Online reliability factor
INPO index
Headcount' 1%
5%
2%
0.0 11%
7%
2%
0.0
99%
99%
0%
92.5
346 100%
99%
0%
100.0
346 9%
10%
2%
0.0
98%
98%
2%
100.0
604 3%
3%
(1%)
(3.3)
72%
82%
4%
90.9
639
YTD Disclosure Statement Forecast
Unit capability factor 95% 95% 96% 72%
Capacity factor 94% 94% 95% 62%
Online reliability factor 2% 2% 2% 2%
INPO index 92.5 100.0 100.0 94.2
Headcount 356 356 622 664
YTD Variance (+ Fav I - Unfav)
Unit capability factor 5% 5% 2% 1%
Capacity factor 5% 5% 3% 20%
Online reliability factor 2% 2% (0%) (2%)
INPO index 0.0 0.0 0.0 (3.3)
Headcount 11 11 18 25
Definitions of forecast
Perry's online reliability factor ("ORF") and INPO index metrics were
unfavorable to forecast due to:
A turbine trip as Perry exited the refueling outage (ORF), and
Higher than forecast dose rates and safety incidents (INPO)
Refueling Cycles
a Beaver Valley Unit 1
2019: October! November
2020: N/A
a Beaver Valley Unit 2
• 2019: N/A
- 2020: April / May
U Davis -Besse
- 2019: N/A
- 2020: February / April (not in the forecast)
a Perry
• 2019: March / April (complete)
- 2020: N/A
Unit capability factor - The ratio of actual energy produced to maximum energy the unit is capable of generating. Items considered to be outside the control of plant management are not considered in
determination of losses. Plants with a high unit capability are successful in reducing unplanned outages and improving planned outages.
Online reliability factor - Measures the generation losses between refueling outages minus generation losses from pre -determined activities required by plant design.
IN PO index
- Calculated using 10 operating / safety metrics, including unit capability and online reliability.




                                                                                                                                                                                                                                 App'x 129
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Nuclear Financial Results (Disclosure Statement
Nuclear P&L
In $US Millions April -19
Actual DS
MTD MTD MTD
Var. to
Actual Actual DS
YTD YTD YTD
Var. to
Actual
Net Generation (TWh)
$ / MWH




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 132
Revenues(11
Energy Revenue
Ancillary
Capacity
Total Plant Revenue
Cost of Revenues
Nuc'ear Fuel Expense
Total Variable Costs
Variable Margin
Operations & Maintenance
Labor & Benefits
Non -Outage OTL
Planned Outage OTL
S&E Assessments to Capital
Taxes (Property, B&O, etc.)
Total Operations & Maintenance
Operating Margin
FENOC Fleet Support
am57 A
+/(-) Capital Expenditures
+/(-) KERP Cash Flow
Free Cash Flow(2) 2.6 2.5 0.2 10.1 9.8 0.3
$25.95 $33.28 ($7.33) $28.58 $35.78 ($7.20)
$68.7 $82.4 ($13.6) $290.1 $352.2 ($62.1)
0.6 0.6
- 2.3 2.3
-
17.6 17.6
- 70.4 70.4
-
$86.9 $100.5 ($13.6) $362.7 $424.9 ($62.1) Highlights
MTD: Free cash flow was $13 million unfavorable
primarily related to lower energy revenue due to
unfavorable market prices and timing of nuclear fuel
expense, partially offset by favorable generation, and
capital expenditures related to the Perry outage
9.2 2.6 (6.6) 14.9 11.0 (3.9),
$9.2 $2.6 ($6.6) $14.9 $11.0 ($3.9) El
$77.7 $97.9 ($20.2) $347.8 $413.9 ($66.0)
24.7 25.2 0.5 95.0 100.3 5.3
9.0 9.6 0.7 38.5 39.5 1.0
1.2 1.5 0.3 30.1 34.7 4.6
(0.7) (0.9) (0.2) (3.3) (3.6) (0.3)
1,4 1.5 0.1 5.4 6.0 0.6
$35.7 $37.0 $1.4 $165.7 $176.9 $11.2
$42.0 $60.9 ($18.8) $182.1 $237.0 ($54.9)
11 8 1.3.1 1.3 32 3 .0.() 17.7
5303 S47.8 f517.51 5149.9 .5187.0 1537.11
•- •- 1 •----
• me ...11 •
..] First installment ot tne I-LNUC KLKF' program is
(3.7) (8.1) 5.0 (25 3) (413.6) 20.2
3.5 3.5 14.1 14.1
-
$30.1 $42.6 ($12.5) $134.6 $151.5 ($16.9) YTD: Free cash flow was $17 million unfavorable
primarily related to lower energy revenue due to
unfavorable market prices, partially offset by favorable
generation, lower fleet support costs, capital
expenditures, and O&M expense driven by lower
headcount and Perry outage under spend
payable in mid -May 2019
Based on revenue recognized by sales to PJM not intercompany power supply agreements
Represents an accrual based free cash flow that does not include shared service costs April 2019




                                                                                                                                                                        App'x 130
Fossil
For Professional Eyes Only — Subject to Confidentiality Agreements
For Discussion Purposes Only — Subject to FRE 408 and Related Privileges April 2019




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                                                                                                              App'x 131
For Professional Eyes Only- Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Fossil I Safety
Lt
LU
LL(:) 2.50
2.25
2.00
1.75
1.50
1.25
1.00
0.75
0.50




                                                                                                                                               Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 134
0.25
0.00
Jan Feb Mar 11111
Apr May Jun Jul Aug Sep Oct Nov Dec
'18 YTD 2.37 1.27 0.84 1.62 1.29 1.09 0.94 0.85 0.98 0.89 0.82 0.77
'19 YTD 0.00105 0.72 0.55
9 Target 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58 0.58
Highlights
Fossil operations had no incidents in April 2019
For year-to-date 2019, fossil operations had one incident resulting in a OSHA incident rate of 0.55, which is
favorable to the target of 0.58
April 2019 10




                                                                                                                                                                       App'x 132
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Fossil Operations
Fossil Business Unit
Actuals
Capacity factor
Fuel Coal Inventory Daysl
Disclosure Statement Forecast
Capacity factor
Fuel Coal Inventory Daysl
Variance (+ Fav / - Unfav)
Capacity factor
Fuel Coal Inventory Daysl
YTD Actuals




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 135
Capacity factor
Headcount Disclosure Statement
Sammis
Mansfield
YTD Disclosure Statement Forecast
Capacity factor
Headcount
YTD Variance (4- Fav / - Unfav
Capacity factor
Headcount
Definitions 0% 38%
22 31
66% 67%
26 14
(67%) (29%) Highlights - MTD
o Mansfield Unit 3 was unfavorable primarily due to economic dispatch
for the majority of the month given lower market prices, in addition to
pulling ahead planned outage maintenance from fall 2019 related to air
heaters
Sammis Unit 5, 6 & 7 were unfavorable due to an isolated forced
outage of the absorber, which accelerated the planned maintenance
outage of the absorbers
Highlights -YTD
Performance has primarily been impacted at:
4 (17) o Mansfield: lower YTD capacity factor is primarily due to economic
dispatch due to lower market prices, in addition to maintenance issues,
such as belt repairs and boiler tube failures
17% 40% o Sammis: lower YTD capacity factor is primarily due to economic
229 260 dispatch at Sammis Unit 5, in addition to maintenance issues, including
such as boiler tube failures
71% 67%
248 278
(55%) (26%)
19 18
Capacity factor - The ratio of actual energy produced to
maximum energy the unit is capable of generating.




                                                                                                                                                                        App'x 133
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Fossil I Financia
Fossil P&LU)
In $US Millions
Net Generation (11Nh)
$/MWH
Revenues(2)
Energy Revenue
Ancillary
Capacity
Gypsum
Total Plant Revenue
Cost of Revenues




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 136
Coal
Fuel Handling
Reagents
Total Variable Costs
Variable Margin
Operations & Maintenance
Labor & Benefits
Non -Outage OTL
Planned Outage OIL
S&E Assessments to Capital
Tnxns (P'-onnrty, BKO, ntr.. )
Total Operations & Maintenance
Operating Margin
Fossil Fleet Support
Severance
EBITDA
+/(-) Capital Expenditures
+/(-) KERP Cash Flow
Free Cash Flow(3) Results (D
April -19
Actual DS
MTD MTD
0.4 1.1
$26.76 $32.15 MTD
Var. to
Actual Actual
YTD osure Statement
YTD
Var. to
Actual
(0.7) 2.1 4.6 (2.5)
($5.39)
$10.5 $35.8 ($25.3)
0.7 0.7
17.6 18.9 (1.3)
$28.8 $55.4 ($26.7)
8.7
1.8
3.9
$14.4 19.5
1.7
6.1
$27.4 10.8
(0.1)
2.2
$13.0 $30.71 $35.41 ($4.70)
$63.6 $161.6 ($98.0)
3.0 2.7 0.2
70.3 75.7 (5.4)
$136.9 $240.0 003.11
50.3
9.0
16.4
$75.7 80.1
7.0
26.9
$114.0 29.8
(2.0)
10.5
$38.3
$14.5 $28.0 ($13.6) $61.2 $126.0 ($64.8)
3.9
3.9
0.2
(0.1)
0.5
$8.4 (0.2)
0.3
(0.2)
0.0
($0.1)
$6.0 $19.8 ($13.7) $20.6 $93.1 ($72.5)
2.2 1.4 (0.7) 7.5 11.5 4.1 3.7
4.1
(0.0)
0.5
$8.3
$3.9 $18.4 ($14.5)
(2.9) (2.9)
$1.0 $18.4 ($17.3) 17.9
20.4
0.2
(0.3)
74
$40.6 14.6
16.5
(0.2)
2.1
$32.9 (3.3)
(3.9)
(0.2)
0.1
(0.3)
($7.6)
$13.2 $81.6 ($68.4)
(5.1) (5.1)
$8.0 $81.6 ($73.5) Highlights
MTD: Free cash flow was $17 million unfavorable
primarily related to lower energy revenue due to
unfavorable market prices and lower generation, in
addition to unfavorable O&M expense related to
unplanned outages, offset by lower coal and reagent
usage
YTD: Free cash flow was $74 million unfavorable
primarily related to lower energy revenue due to
unfavorable market prices and lower generation, in
addition to unfavorable O&M expense related to
unplanned outages, offset by lower coal and reagent
usage
Represents P&L for Bruce Mansfield and Sammis Units
Based on revenue recognized by sales to RIM, not intercompany power supply agreements
Represents an accrual based free cash flow that does not include shared service costs April 2019




                                                                                                                                                                        App'x 134
Retail
For Professional Eyes Only — Subject to Confidentiality Agreements
For Discussion Purposes Only — Subject to FRE 408 and Related Privileges April 2019




                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 137




                                                                                                              App'x 135
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Retail I Financia Results (Disclosure Statement
Retail P&L
In $US Millions April -19
Actual DS
MID MID MID
Var. to
Actual Actual DS
YTD YID YTD
Var. to
Actual
Retail TVVH Sold
$ / MWH




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 138
Revenues
[CI Revenue
MCI Revenue
GovAgg Revenue
Mass Market Revenue
Muni & Co-op Revenue
POLR Revenue - Associated Companies
POLR Revenue - External
Structured Physical Revenue
Total Retail Revenue
Variable Costs
Purchased Power
Capacity Expense
Total Variable Costs
Retail Variable Margin
O&M and Other
FES Retail O&M
Gross Receipt / CAT Tax
Total O&M and Other
EBITDA
Capital Expenditures
Retail Cash Flown/ 2.1 2.3 (0.2) 10.0 10.5 (0.5)
$48.03 $49.33 ($1.30) $50.01 $50.11 ($0.10)
$41.2 $48.1 ($6.9) $167.3 $204.0 ($36.7)
3.2 2.8 0.3 13.5 11.8 1.8
21.8 24.6 (2.8) 117.7 115.7 2.0
9.9 11.4 (1.5) 56.2 56.3 (0.2)
3.3 2.7 0.6 14.8 13.7 1.1
17.3 19.2 (1.9) 100.4 98.6 1.8
4.1 4.0 0.0 22.8 20.3 2.5
1.5 1.6 (0.0) 7.4 7.2 0.2
$102.4 $114.5 ($12.2) $500.0 $527.5 ($27.5)
66.0 85.3 19.3 341.3 433.2 91.9
30.4 30.7 0.4 124 8 125.6 0.8
$96.3 $116.0 $19.7 $466.1 $558.9 $92.7
$6.0 ($1.5) $7.5 $33.9 ($31.3) $65.2
3.1 2.8 (0.4) 8 -) 11.2 2.8
1.3 1.7 0.4 6.2 7.7 1.5
$4.4 $4.5 $0.0 $14.7 $18.9 $4.3
$1.6 ($6.0) $7.6 $19.2 ($50.2) $69.5
(0.1) 0.1 - (0.3) $0.3
$1.6 ($6.1) $7.7 $19.2 ($50.6) $69.8 Highlights
MTD: Retail free cash flow was $8 million favorable
primarily related to lower purchased power costs driven
by lower market prices, offset by unfavorable retail
volume and realized pricing
YTD: Retail free cash flow was $70 million favorable
primarily related to lower purchased power costs driven
by lower market prices, offset by unfavorable retail
volume and realized pricing
The Retail free cash flow for both the actual results
and Disclosure Forecast are based on market rates
(i.e., purchased load from PJM)
Represents an accrual based free cash flow that does not include shared service costs
April 2019 14




                                                                                                                                                                        App'x 136
For Professional Eyes Only — Subject to Confidentiality Agreements — Subject to FRE 408 and Related Privileges — For Discussion Purposes Only
Retail I Committed Sales
Units in TWhs
LCI
MCI
GovAgg
Mass Market
Muni & Co-op
POLR
Structured Physical
Wholesale Physical
Total 11.2
0.7




                                                                                                                                                                                                                    Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 139
6.1
2.4
0.8
4.5
0.2 6.9
0.0
4.3
1.7
1.6
2.1 11.1
0.7
6.1
2.4
0.8
4.6
0.2 6.6
0.0
3.9
1.7
1.6
2.1
0.7 0.3
Highlights
LCI increase primarily due to the addition of Emery Oleochemicals
Li Gov Agg increase due to community supplemental activity
LI Market Update / Near Term Focus
- Recently launched a mass market campaign targeting NOPEC customers
LCI and Gov Agg space has tightened with average LCI margins below $1.50/MWh and Gov Agg below $2.00/MWh
Definitions
Large Commercial & Industrial ("LCI") - Large C&I customers over 1,000 MWh of load with customized products and contracts to meet specific customer needs
Medium Commercial & Industrial ("MCI") - Medium sized C&I customers between 10 and 1,000 MWh of load with customized products and contracts to meet specific customer needs
Governmental Aggregation ("Gov Agg") - Buying group represents all members of the group consisting of residential and small C&I below 10 MWh of load with standardized contracts
Provider of Last Resort ("POLR") - "Slice of system" to provide for any customers not participating with a competitive REP using standardized contracts
Municipalities and Cooperatives ("Muni & Co-op") - Contracts with Munis and Co-ops for all participating residential and small C&I below 10 MWh of load with standardized contracts
Mass Market ("MM") - Campaign oriented channel offered to residential and small C&I below 10 MWh of load with standardized contracts
Structured Physical - Wholesale like transactions which contain customized terms, shapes, or options
Wholesale Physical - Block power transactions that are traded in standard sizes and easily obtainable in the market place
'''''''''''''''''
. '
. '
. . . . . . . . 77777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777777'..', '''''''''''''
. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




                                                                                                                                                                                                                                            App'x 137
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Retail I FES Sales Position Report
C. a C.
c ,46% ,e
1.• Av Av .•kv
V`.. ! •
\ 1.\'\
2019 TWhs %
Supply 32 100%
Committed 16 50%
Open Spot 16 50% FES Open Position
itemite Committed Load 1%
t•F's 4




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 140
Supp;y
2020
Supply
Committed
Open Spot TWhs %
47 100%
17 35%
30 65% 2021
Supply
Committed
Open Spot TWhs %
30 100%
7 24%
23 76%
1. TWH forecast for the period post 05/01/2019
Committed sales as of 05/08/2019
Su .l is based on the Disclosure Statement April 2019




                                                                                                                                                                        App'x 138
Consolidated Financial Results
For Professional Eyes Only — Subject to Confidentiality Agreements
For Discussion Purposes Only — Subject to FRE 408 and Related Privileges April 2019




                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 141




                                                                                                              App'x 139
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Financia
$ In Millions
Gt»lcr:1 (TM))
Gent-...,Tatinn .0-1;*
Electric Retail
Muni & CO-OP
POLR
Structured
Wholesale
Capacity Revenue
Fossil Fuel Expense
Nuclear Fuel Expense




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 142
Purchased Power
Other Variable Expenses Resul
Other Revenue
Fossil O&M
Nuclear O&M
Restructuring Related Pro Fees
Other
General Taxes
Shared Service Costs2 ncome Statement (Disclosure Statement
Apr -19
Actual 1 Apr -19
Actual 1
IPPv,A1,0!PPPPPL741!1,01PPI'Mot:41 •
0.2 10.1 n 0.3
(0.7) 4.6 (2.5)
$76 $87
3 3
21 23
2 2 ($11)
1
(2)
(0)
28 43 (15)
36 37 (0)
. . . . . . . 3,54 sl-T.t
14
9
4
37
(1)
11
50
12
11
3
6 27
3
3
37
(0)
9
49
12
10
4
20 13
(7)
(2)
(0)
4
1
(1)
(1)
0
(1)
0
14 $355
15
123
7
86
151
76
15
24
163
1
51
197
54
62
15
41 $388 ($33)
14 1
119 4
7 0
162 (76)
152 (1)
114
11
11
190
6
45
221
55
70
17
74 38
(4)
(13)
27
5
(6)
24
1
8
2
33 Adjusted EBITDA
MTD: Adjusted EBITDA was $11 million unfavorable
primarily related to lower market prices and fossil
generation, partially offset by the favorable timing of
shared service implementation costs, lower service
company costs from FE, and favorable nuclear
generation.
YTD: Adjusted EBITDA was $11 million favorable due
to lower FES and Nuclear O&M, lower service
company costs from FE, and timing of shared service
implementation costs, partially offset by lower than
forecasted variable margin which was driven by lower
market prices and retail sales volume, timing of
nuclear fuel spend, and fossil fuel rate.




                                                                                                                                                                        App'x 140
For Professional Eyes Only - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Financial Resul Collatera
Certain counterparties require FES to post collateral in order to hedge their market exposure with FES
o Collateral outstanding of $77 million as of 4/30/19, a $1 million decrease as compared to 3/31/19
- Approximately ($12) million of additional collateral related to new retail client acquisition (North Star Steel)
• Approximately +$7 million in returned collateral from PJM due to the April peak market activity reset
- Approximately +$5 million in returned collateral due to lower exposure related to certain energy pricing hedges
Approximately +$1 million in returned collateral related to third -party supplier agreements
Energy Market Collateral (RTO)
Retail Supplier Agreements
POLR Auction
Third -Party Supplier Agreements
Uranium Contract Requirements




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 143
Renewables Agreements
Vendor Deposits
Future Brokers Accounts
Total PJM & MISO
Various
Various
Various
Macquarie Energy
Various
Carmeuse Lime / NJ Natural Gas
INTL FC Stone / Morgan Stanley Collateral Amount
4/30/19 3/31/19
18 $
29
8
10
5
2
1
5 25
17
8
11
5
2
1
10
77 $ 78 (7)
12
(1)
(5)
(1)




                                                                                                                                                                        App'x 141
Liquidity
For Professional Eyes Only — Subject to Confidentiality Agreements
For Discussion Purposes Only — Subject to FRE 408 and Related Privileges April 2019




                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 144




                                                                                                              App'x 142
Privileged and Confidential - Subject to Confidentiality Agreements - Subject to FRE 408 and Related Privileges - For Discussion Purposes Only
Liquidity I Month of April 2019
$'s in Millions
Monthly Summary:
Net Receipts
Total Receipts
Fuel (Coal / Reagents / Nuclear Fuel)
Purchased power
Payroll and Benefits
O&M Expense / Capex
Professional Fees
State & Local Taxes
Total Operating Disbursements




                                                                                                                                                 Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 145
FE Service Company
NOL cash tax receipts
Critical Vendor, Lienholder, Other BK
Total Affiliate & Restructuring Related
Unlevered Operating Cash Flow
Cash Interest
Collateral, net
Total Debt Service / Other
Levered Net Cash Flow
Beginning Cash Balance
(+0 Levered Net Cash Flow
Ending Cash Balance 151 Highlights
o On a consolidated basis, net cash generation of
approximately $42 million for the period
151 1 April net receipt activity includes retail receipts of $91 million,
wholesale receipts of $12 million, affiliate POLR receipts of
$26 million, and net PJM receipts of $21 million
o During the month, FES received approximately $2 million in
NOL monetization receipts from FE and paid $6 million to FE
for February service company billings
Approximately $60.4 million in outstanding post -petition
pension service costs and VERP charges to be paid in May
2019 following approval by the Court (16)
(7)
(35)
(35)
(12)
(3)
(106)
(6)
2
(3)
(7) -3 Amounts due for post -petition shared service charges
38 through April of $8 million, net of the $113 million FESC
shared service credit per the FE Settlement Agreement
Adjusted ending April cash balance of $1,044 million(1), as
compared to the projected cash balance of $985 million for
42 the targeted emergence date or September 30, 2019, as
1,113 reflected in the Disclosure Statement 2
2
4
42
1,156




                                                                                                                                                                         App'x 143
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Liquidity I 13 -Week Cash Flow Forecast (Disclosure Statement) to Actual Variance
$'s in Millions
FES & FENOC Forecast to Actual Variance Actual Forecasi
Monthly Summary:
Net Receipts
Total Receipts
Fuel (Coal / Reagents / Nuclear Fuel)
Purchased power
Payroll and Benefits
O&M Expense / Capex
Professional Fees
State & Local Taxes




                                                                                                                                                 Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 146
Pension
Total Operating Disbursements
FE Service Company
NOL cash tax receipts
Critical Vendor, Lienholder, Other BK
Total Affiliate & Restructuring Related
Unlevered Operating Cash Flow
Cash Interest
Collateral, net
Total Debt Service / Other
Levered Net Cash Flow
Beginning Cash Balance - WE 4/12
(+/-) Levered Net Cash Flow
Ending Cash Balance - WE 5/10 $ 162 $ 167
162 $ 167 $
(19) (43)
(9) (4)
(38) (14)
(51) (67)
(20) (24)
(3) (3)
(42)
(140) $
(16)
2
(3)
(17)
6 (4)
(4)
24
(6)
(24)
16
4
42
(196) $ 56
(44)
2
(3) 28
(45) $ 28
(75) 80
2 2 1
(9) (6) (3)
(7) $ (4) $ (3)
(1) $ (79) $ 78
$ 1,114 $ 1,114 $
(1) (79) 78
1,113 $ 1,035 $ 78 Variance for the 5 -week period ended 5/10/19
Favorable variance of $78 million for the 5-
week period ended 5/10/19, as compared to
the TWCF dated 4/12/19
Variance primarily related to the following:
- Fuel— favorable coal purchases due to
lower generation as a result of energy
pricing, offset by timing on nuclear fuel
purchases
- Payroll and benefits— Unfavorable due to
the timing of LTIP reimbursement from
service company and VERO payroll
payments
• Pension and Affiliate Transactions, net —
Variance related to payment timing of
negotiated VERP and pension charges
- Payment awaiting approval from
bankruptcy court of revised
settlement terms with FE




                                                                                                                                                                         App'x 144
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Liquidity I 13 -Week Cash Flow Forecast (Disclosure Statement
Receipts / Operating Disbursements
o PJM receipts updated based on latest load and generation forecasts
LI Forecast includes payments related to replenishment of coal inventories and updated contract terms with
Consolidation Coal
Affiliate Receipts / Disbursements
o Forecast includes the settlement of ongoing disputed pension and VERP charges by including payment of FESC
pension charges of $42 million and payment of the FESC VERP charges of $18 million in week 2 of the forecast
Li Pension charges related to Q2 and the true -up of Q1 estimates for actuals is included in week 6 of the forecast for
$8 million
Net receipt of $5 million, which reflects the LTIP reimbursement from FE, primarily offset by payments related to
post -petition EDCP contributions and retiree distributions




                                                                                                                                                 Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 147
u First installment of the FENOC KERP program is included in week 1 of the forecast
u Payment from FE Corp. for Q2 NOL receipt of $2 million week 7 of the forecast
Restructuring Related
LI Professional fee disbursements of $44 million over forecast period
D Debtors' portion of the outage expenditures for Pleasants of $3 million forecasted for payment to AES in week 1 of
the forecast




                                                                                                                                                                         App'x 145
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10
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21




                                                                                                                                                                                                                                                                 Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 148
22
23
24
25
26
27
28
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30
31
32
33
36 Liquidity I Consolidated Forecast (Disclosure Statement) Dated May 24, 2019
Week Number: Week -4 Week -3 Week -2 Prior Wk. Week 1 Week 2 Week 3 Week 4 Week 5 Week 6 Week 7 Week 8 Week 0 Week 10 Week 11 Week 12 Week 13 Protected
'I 13 -Week
Actual i Forecast Period: Actual Actual Actual Actual ?. ?.
,.,. ,. Fcet Foal Foal Foal Fcst Fcst Fcst Fcet Fcst Fuel Total
Receipts:
Retail Receipts 19 S 19 $ 22 $ 22 $ 22 $ 22 $ 21 $ 21 $ 21 $ 21 $ 20 $ 21 269
1Nholesale Receipts 1
- 4 1
- 19
PJM Activity. net 10 7 7 7 7 6 7 9 12 10 9 10 109
Miscellaneous Receipts 1 0 0 0 3 0 0 0 0 0 0 0 0 0 0 0 0 0
Total Receipts . . . . . . . . . . . . . . . . . . . . . . . . . ....................23 40 26 . . . . . . . . . . . . 28 29 35 28 28 28 34 29 28 30 33 35 30 31 397
Operating Disbursements:
Fuel -Coal (12) (2) (0) (2) (15) (1) (1) (1) (1) (13) (1) (1) (1) (1) (14) (1) (1) (50)
Fuel - Other (Reagents. etc.) (1) (1) (0) (1) (0) (2) (1) (1) (1) (1) (1) (1) (1) (1) (1) (1) (1) (17)
Fuel -Nuclear - - - (9) - - - (8) (1) - - - (17,
Purchased Power (1) (1) (1) (3) (1) (0) (0) (0) (0) (0) (0) (1) (1) (1) (1) (1) (1) )3)
Direct Payroll & Benefits (12) (5) (13) (5) (31) (2) (7) (3) (11) (3) (11) (3) (11) (3) (12) (4) (12) (114,
O&M Expense/CapExiOnier Vendors (7) (11) (17) (10) (11) (12) (11) (10) (10) (10) (10) (8) (10) (10) (10) (10) (9) (130)
Pension
- - (42) - - (8) - - - (51)
State & Local Taxes (0) (0) 0 (0) (0) (1) (1) (1) (1 ) (3) (1) (2) (3) (3) (3) (2) (1) (201
1.98111:Opereting Disbursements . . . . . . . . . . . . . . . : (34) : : : : (0) : ..;:::4;...(32) - - (pi)....(58) (81) (31) (17) (25) (40) (33) .:- 5) 7) (19) (40) (18) (25) (408)
Affiliate Transactions, Net:
POLR revenue 26- 18
- 19
- - 45
Service Company Billings - (9) - (11) (10) (12) (33)
GENCO Labor & O&M Allocation - 0 0 0
- - - - - - - - - -
Miscellaneous Affiliate Receipts/ Charges (0) (0) (1) (0) 2 (1) (2) (1) (1) (1) (0) (0) (0) (0) (0) (0) (0) (6)
NOL Monetization - - - - - 2
- 2
Other 0 o o o 0 (18) - (0) (0) (0) (0) - (20)
• Total Affiliate Transactions, Net 26 (0) (1) (10)
. 2 (1) (2) (1) (12) 18 1 (0) (11) (0) 8 (0) (12) (12)
'
Unlevered Operating Cash Flow S 14 $ 19 $ (6) 5 (4) I
. • $ (28) $ (27) $ (5) $ 10 5 (9) 5 12 5 (3) 5 12 5 (7) 5 14 2 5 12 $ (6) (22)
Restructuring Related:
Professional Fees (1) (2) (0) (13) 121 161 (6) (5) (4) (4) (4) (2) (2) 2) (2) (2) (2) (44)
Critical Vendor Payments i Pre -petition) - - - - - - - - -
Utility Deposits
Lienholders I Foreign - - - - - - - - - - -
Total Restructuring Related ...........(1) (2) (0) (13) : (2) (6) (6) (5) (4) . . . . . . . . . . . (4) (4) . . . . . . . . . . . (2) (2) (2) (2) . . . . . . . . . . . . . (2) (2) (44)
Unleveresi Operating FC, Less Restructuring 13 $ 18 $ (6) $ (17) $ (31) $ (32) $ (10) $ 5 $ (13) $ 7 $ (7) $ 11 $ (9) $ 12 $ 0 $ 10 $ (1) (x)
Debt Service:
Cash Interest 2 2 6
Collateral net 8 1 (6) (7) (5)
Surety Payments
Total Debt SeIVICII Related 8 1 (4)- (6) 0 0 0 2 - - - 2
Levered Net Cash Flow
. ... 21'
.' k1:4N
: 4: 0!!. :$(29.). 5.
: : : :402) $ .00):
: 4 0 $ (7) 5 (9) $ 12 0S 2 ...P4
Cash Balance:
Beginning Cash Balance $ 1,100 $ 1,120 $ 1,139 $ 1,129 $ 1,113 $ 1,084 $ 1,052 $ 1,041 S 1 041 S 1 028 S 1 036 S 1 029 S 1 041 S 1 032 S 1,044 $ 1,044 $ 1,056 $ 1,113
(i1-) Levered Net Cash Flow 21 19 (10) (16) (29) (32) (10) 0 (13) 8 (7) 13 (9) 12 o 12 (5) (65)
Ending Cash Balance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 1,120 $ 1,139 $ 1,129 $ 1,113 : $ 1,084 $ 1052 $ 1,041 $ 1,041 S 1,028 5 1,036 $ 1,029 $ 1,041 $ 1,032 $ 1,044 $ 1,044 $ 1,056 $ 1,048 $ 1;048
April 2019




                                                                                                                                                                                                                                                                                         App'x 146
Current Events
For Professional Eyes Only — Subject to Confidentiality Agreements
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                                                                                                              App'x 147
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Current Events I Highlights
Legislative Support — State
Li Ohio
Active bill "Creates Ohio Clean Air Program" (HB6) in the House. Bill encourages electricity production and use
from clean air resources and facilitates investment to reduce emissions from other generating technologies that
can be readily dispatched to satisfy demand in real time, and proactively engage the buying power of consumers
in this state for the purpose of improving air quality in this state
Multiple hearings occurring sub and full committees. Next steps include amended bill voted out of committee and
eventually a floor vote
FES legislative team in Columbus aggressively working with each member to solidify support
Additional members added to the team to introduce a bill in the Senate
Pennsylvania




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 150
Active bill, "Alternative Energy Portfolio Standards Act" (HB11) introduced in the House and Senate in March
2019. Bill provides definitions for alternative energy portfolio standards, for portfolio requirements in other states,
for health and safety standards and for interagency responsibilities; and providing for Tier ill alternative energy
sources and for capacity payments to alternative energy sources.
— Bill receiving significant resistance in both House and Senate
— Appears unlikely either bill will move forward in its current state
— Discussing potential amendments with leadership from both parties




                                                                                                                                                                        App'x 148
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Current Events I Highlights (continued
Legislative Support - Federal
Li In mid -April, FERC accepted a proposal from PJM that would revise the demand curve used in the capacity market
auction. PJM makes a similar filing every four years, as required by its tariff. FERC approved a few technical changes
to the demand curve that should place downward pressure on clearing prices. According to S&P Global Platts
Analytics, had these changes been in effect during last year's auction, the resulting clearing price would have been
$30-40/MW-day lower.
o The Commission continues to have a vacancy in one of the commissioner seats, leaving the agency with two
Republicans and two Democrats on the panel. Commissioner LaFleur's term will expire in June, although she may stay
on past that date if no replacement is confirmed.
Exelon, Talen, FE Corp., Dominion, and others filed a motion at FERC in late April requesting that PJM delay this year's
capacity auction to next year given that FERC appears unable to resolve the pending capacity proceeding (ELI 8178)in




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 151
time for the annual auction, which is scheduled for August. These parties ask that the 2019 auction for the 2022-
2023 delivery year be moved to mid -April 2020, six weeks before the 2020 auction for the 2023-2024 delivery year.
C3 In mid -April, the Supreme Court denied petitions for certiorari of Seventh and Second Circuit decisions that allowed
state subsidy programs for nuclear plants to go forward.
OVEC / Renewable PPA Rejection Process
o The Sixth Circuit has now accepted the direct appeals of the PPA rejections with respect to OVEC and Maryland
Solar. Appellants filed opening briefs on February 26, 2019. The Company filed its responsive brief on April 29,
2019. Appellants' reply briefs are due on May 20, 2019. Oral argument on the appeals has been scheduled for June
26, 2019.
o Company engaged in communications with OVEC in April and developing resolution strategies on the various disputed
issues




                                                                                                                                                                        App'x 149
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Current Events I Highlights (continued
Select Upcoming Motions
o Heard by the Court On May 20
Consent and Waiver Motion
— Disclosure Statement Hearing
— Substantial Contribution Application
— Confirmation Discovery Motion
Li Anticipated to be Heard by the Court on May 21
— Motion to approve stipulation with Traxys
15th and 16th Omnibus Claims Objectives
o Other Omnibus Hearing Dates: June 25, July 23
o Anticipated to be Heard by the Court on August 20




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 152
Confirmation Hearing Commences




                                                                                                                                                                        App'x 150
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Current Events I Bankruptcy Time
Upcoming
May 2019
a May 20 — Disclosure Statement Approved by the Court
July 2019
a July 23 — Plan Supplement Deadline me
August 2019
o August 2 — Voting Deadline on the Plan / Objection Deadline on the Plan
Li August 13 — Prime Clerk to file Voting Certification / Proposed Cure Amounts Deadline
a August 20 — Confirmation Hearing Commences
Q42019
a TBD




                                                                                                                                                                                                      Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 153
— Plan Effective Date
Disclosure Statement
Disclosure Hearing & Motion to
Statement and Disclosure Approve RSA and the
Plant Term Statement Hearing Voting Record Date
Sheet Filing (initial) (continued) NRC
Application Disclosure
Statement
Approved by
Court Plan
Supplement
Deadline Voting Deadline
on the Plan /
Objection
Deadline on the
Plan
2/11 ...............3119 . . . . . . . . . . . . . . . . 4/2 . . . . . . . . . . . . . . 4112 .............5/20 . . . . . . . . . . . . . 7/23 . . . . . . . . . . . . . ............ Prim Clerk to
Voting
Certification
Filing /
Proposed Cure
Amounts Confirmation Plan Effective
Deadline Hearing Date
8/2 . . . . . . . . . . . . 8/13 . . . . . . . . . . . 8/20 . . . . . . . . . . . . . TB D




                                                                                                                                                                                                                              App'x 151
Appendix
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For Discussion Purposes Only — Subject to FRE 408 and Related Privileges April 2019




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                                                                                                              App'x 152
For Professional Eyes Only — Subject to Confidentiality Agreements — Subject to FRE 408 and Related Privileges — For Discussion Purposes Only
Append
Nuclear
o Capital Expenditures — Favorable MTD and YTD variances due to lower spend for fleet performance initiatives and Perry
outage projects
o Nuclear Fuel
— Unfavorable MTD and YTD variances due to timing of nuclear fuel purchases. Expected to be favorable by
year end
o O&M
— Unfavorable MTD due to timing of material and supply costs for Perry outage (favorable variance in March).
Favorable YTD due to lower labor and benefit costs, a refund for nuclear liability insurance, and timing of fees and
contractor services
Fossil




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 155
o Capital Expenditure — Unfavorable MTD and YTD variances due to the acceleration of Mansfield and Sammis planned
outage projects originally planned for the fall
o O&M
— Unfavorable MTD variance due to the acceleration of Mansfield and Sammis planned outage projects from fall 2019.
Unfavorable YTD variance due to unplanned outages at both Sammis and Mansfield plants Capex and O&M (Disclosure Statement
In $Millions
Capex and O&M.
MTD April MTD April Varianc: YTD April YTD April Variance
Nuclear Actual DS FCST I Actual DS FCST
Beaver Valley $0
Davis -Besse 1
Perry 3
Total Capex $5
O&M $50
Nuclear Fuel $9
1.0M11111111111111111.1
Sammis
Mansfield
West Lorain
Little Blue Run
Total Capex
O&M $11 $1
2 $2
4
2
$9
$49
$3
DS FCST
$ 0 $2
3
(2)
$4
($1)
($7)
($1)
(2)
0
$3 $0 ($3)
$9 ($1) $4
5
24
$33 $10
10
30
$50 $6
5
5
$16
$197 $221 $24
$15 $11 ($4)
DS FCST
1 1 1 1 1 1 1 1 1 1 1 1 1 1
$3 $0 ($3)
3 (3)
0 0
0 0
$6 $0 ($6)
$51 $45 ($6)




                                                                                                                                                                        App'x 153
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Append Capex and O&M (Budget
In $Millions
apex and O&M MTD April MTD April Varianc
Beaver Valley
Davis -Besse
Perry
Total Capex
O&M
Nuclear Fuel Actual Budget
$0
1
3




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 156
$5 $2
4
2
$9 $2
3
(1)
$4
$50 $47 ($3) YTD April YTD April Variance
Actual Budget'
$4 $10
5 10
24 30 6 5
$33 $50 $17
$197 $214 $17
$9 $3 ($7)
tal Ac
Sammis $1 $1 $0
Mansfield 2
- (2)
West Lorain-
- -
Little Blue Run-
- -
Total Capex $3 $1 ($2)
O&M $11 $9 ($2) $15 $14 ($1)
MUM
$3 $2 ($1)
3 2 (1)
$6 $4 ($2)
$51 $59 $9
Nuclear
a Capital Expenditures — Favorable MTD and YTD variances due to lower spend for fleet performance initiatives and
Perry outage projects
a Nuclear Fuel
— Unfavorable MTD and YTD variances due to timing of nuclear fuel purchases
o O&M
— Unfavorable MTD due to timing of material and supply costs for Perry outage (favorable variance in March).
Favorable YTD due to lower labor and benefit costs, a refund for nuclear liability insurance, and timing of fees and
contractor services
Fossil
a Capital Expenditure — Unfavorable MTD and YTD variances due to acceleration of Mansfield and Sammis planned
outage projects originally planned for the fall
a O&M
— Unfavorable MTD variance due to the acceleration of Mansfield and Sammis planned outage projects from fall
2019. Favorable YTD variance due to the timing of severance payments




                                                                                                                                                                        App'x 154
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Append
$ in Millions Financial Results, Pleasants Power Station
Apr -19
Actual
MTD FCST1
MTD Variance
Net Generation (1Wh) 0.2 0.7 (0.5) Apr -19
Actual
YTD FCST1
YTD Variance
1.4 2.9 (1.5)
$ / MWh $ 29.67 $ 33.95 $ (4.27) $ 32.59 $ 37.04 $ (4.45)




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 157
Energy Revenu e2 $5.4 $23.0
Ancillary (0.0) 0.0
Capacity, Net 4.2 4.2
Other 0.1 0.0
Total Revenue ...........9.8 . . . . . . 27.2 ($17.6) $46.2 $107.1 ($60.8)
(0.0) (0.0) 0.1 (0.1)
0.0 16.8 16.6 0.1
0.1 0.5 0.1 0.4
(17:5 63.5 123.9 (60.4)
Coal (4.3) (14.7) 10.5 (32.7) (62.8) 30.1
Fuel Handling (0.5) (0.6) 0.1 (2.2) (2.5) . . . . . 0.3
Delivery (0.0) (0.2) 02 (2.1) (4.0) . . . . . 1.9
Other Variable Costs (0.9) (2.6) 1.7 (5.9) (11.1) 5.2
Total Varbble Costs (5.7) (182) 12.5 (42.9) (80.5) 37.6
Variable Margin 4.1 9.0 (5.0) 20.6 43.4 (22.8) Highlights
u For April 2019, free cash flow is
approximately $3 million unfavorable to the
forecast
Primarily driven by lower energy pricing and
lower generation as compared to the forecast
The units were unavailable in a maintenance
outage for select days during the period
Controllable costs for the station were
favorable to the forecast primarily due to
lower coal usage
..1 The Debtors are working with the AES team
to integrate the station into the Debtors'
portfolio once the title transfers
Labor & Benefits (1.3) (1.5) 0.2 (5.6) (5.7) 0.1 _I Per the APA, the Debtors will receive or pay
Property Taxes (1.4) (1.2) (0.2) (5.9) (4.8) (1.1) the aggregate free cash flow and cost for
Oil (1.8) (2.0) 0.2 (5.9) (7.5) 1.6 inventory at the exit from bankruptcy
EBITDA (0.5) 4.3 (4.8) 3.2 25.4 (22.2)
Capital Expenditures (0.8) (1.7) 0.9 (4.4) (6.8) 2.4
McElroy's Run - - - - -
Shared Services (1.0) (1.7) 0.7 (4.2) (6.7) 2.4
Free Cash Flow ($2.2) $0.9 ($3.2) ($5.4) $11.9 ($17.3)
Represents forecast from AES/ FES dated January 7, 2019
Energy revenue is shown gross of congestion and loss (costs included in "delivery" April 2019




                                                                                                                                                                        App'x 155
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Append*KI Sh ervices Senaration
I
Rates and Reg Affairs Outage Support
Corporate Strategy Environmental - Fossil
Flight Operations Environmental - Nuclear
Facilities Environmental
- Admin
Mobile Maintenance Unit Dispatch
Project Engineering &
Technical Services
Internal Audit Environmental
- Admin




                                                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 158
Unit Dispatch
Generation
- Other
Potential ASSA Step-downs to be issued 5/31/19
(effective 8/31/19): External Affairs
Beta Lab Communications Fuel Procurement
FEU/FET Services
= Amended SSA step down notice issued to FESC (effective as of month -end, notice issued 90 days prior)
= Expected SSA step down date (effective as of month -end, notice issued 90 days prior)
f= Step down complete
'= Step down on -going and on schedule
= Step down notice issued, but has since been rescinded
= Step down timing at risk
Fuel
Procurement Services include the transportation, negotiation,
and planning of coal and reagents to the fossil
plants, and NOx/S0x allocations
FEU / FET
Services Represent services being provided as part of a
current/historical billing period. Subfunctions
include FERC compliance and FEU fleet
services. The charges are billed as incurred by
the usage of services provided by FEU/FET. Select Commentary and Recent Events:
Completed initial review of compensation & benefits benchmarking and
NewCo shared services organization structure. Associated job postings for
priority I and priority 2 FESC replacement positions expected to be posted
in late May! early June
• Hosted ADP (HR service provider) on -site implementation kick-off meetings
and conducted finalist presentations for benefits broker and retirement plan
vendor RFPs
J Finalized environmental task lists / scope with environmental service
provider (ERM) and successfully stepped down various Environmental
FESC services
J DXC blue -printing sessions on track and expected to be completed by the
end of May
• Unit Dispatch step down notice has been formally rescinded due to FESC IT
CIP compliance concerns. FESC has committed to match Tenaska's lower
pricing until FESC IT CIP compliance issues are resolved
J Issuance of Fuel Procurement functional group step down timing delayed
due to anticipated timing of getting NewCo employees hired to assume
FESC responsibilities. FEU / FET services step down timing continues to
be delayed due to continued FESC IT CIP compliance concerns and NERC
operations and planning summer audit support




                                                                                                                                                                        App'x 156
End
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                                                                                                              App'x 157
Retrospective Analysis of 2021/22 RPM BRA
and Preliminary Views on 2022/23 RPM BRA
FirstEnergy Service Company
May 28, 2019




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                                                                    App'x 158
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OVERVIEW
FirstEnergy Service Company (FESC) has asked NorthBridge to assist FirstEnergy
Solutions (FES) in developing a capacity offering strategy for the 2022/23 BRA opening
on August 14th, 2019. We have divided the project into three phases, each focused on
developing and refining our analyses and recommendations.
Phase 1: Inputs May
28
(1) Post-Mortem of 2021/22 BRA
Cleared MW and BRA revenue
• ATSI price separation
• Market factors




                                                                                         Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 161
Implied supply curves
New entry
EE/DR
Uncleared capacity
(2) Impact of Known PJM Planning
Parameters
Load forecast
VRR curve shift
Net CONE
CETL
13) Impact of Basecase Supply Inputs
• New entry (inc. renewables &
uprates), retirements, uncleared
capacity, imports, EE/DR
- Offers of other market participants
(4) Preliminary Views on 2022/23 BRA Phase 2: Model
Simulations June
26
Refine Expectations and Uncertainty
• New entry
• Retirements
• Bidding behavior
• Inputs
• EE/DR
Develop Strawman Offering
Strategies.
• Nuclear units
• Coal units
Combinations (all plants clear, all
plants do not clear, options in
between)
• Offering curves
Revenue Outcomes by Strategy
Risk vs. Revenue Comparisons Phase 3: Proposal &
Outputs July
24
Update for Any Changes in
Parameters I Auction Rules
Refine Offering Strategies
Consider Post -Auction Swaps
Finalize FES Proposal
Outputs
(Estimate & Distribution
BRA Clearing Price Forecast
2022/23 BRA Revenue




                                                                                                                 App'x 159
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SL ------ARY (1) Post-Mortem of 2021/22 BRA
• FES cleared a total of 1,723 MW in the 2021/22 BRA auction, or 23% of the 7,402 MW it offered.
The majority of these cleared MW were comprised of 1,233 MW at Sammis 5-7 in ATSI. None of
the nuclear resources (Davis Besse, Perry, Beaver Valley) cleared in the auction.
• The cleared resources will produce $106.4 million in BRA revenue. This includes $29.3 million
from resources no longer in FES' portfolio. The remaining resources will contribute $77.1 million
in BRA revenue.
• Both ATSI and ATSI-C cleared at $171/MW-Day, higher than the clearing price of $140/MW-Day
in RTO. The last time ATSI separated from RTO in the BRA auction was 2016/17.
• Several factors drove this market outcome:




                                                                                                    Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 162
D Cleared capacity from new entry / uprates was considerably lower than it had been in prior
years (1,401 MW cleared vs. an average of 3,965 MW in the prior three years).
D Demand response rebounded, clearing 11,126 MW vs. 7,820 MW in the prior year. This
increase in demand response appears to reflect a return to "normal" rather than the start of
a trend.
D Energy efficiency hit 2,832 MW, a significant increase over the prior three year average of
1,491 MW.
D Imports remained relatively stable at just over 4,000 MW.
D Total uncleared capacity increased from 17,844 MW in 20/21 to 22,162 MW in 21/22,
almost half of which (10,643 MW) were uncleared nuclear offers.
• The supply curve of non-FES resources shifted higher by $30-$40/MW-Day versus the prior year
due to higher price offers.
NORTHBRIDGE 3




                                                                                                                            App'x 160
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SL ------ARY (2) Demand Side Changes
PJM has published new parameters for this year's BRA. These parameters establish the
Variable Resource Requirement (VRR) (a.k.a., the demand curve), a major factor in the
determination of both the quantity of capacity PJM will acquire and the price it will pay.
• There are several substantive changes to the VRR, some of which have complex implications for
FES:
• PJM's peak load forecast has decreased by 335 MW, which will tend to depress RTO
prices. However, some regions (e.g., EMAAC) saw increased reliability requirements,
which will mitigate some of the price depression effect.
D Net CONE has decreased substantially (from $322/MW-Day to $260/MW-Day). This




                                                                                                  Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 163
reduces the "height" of the demand curve and will lower clearing prices.
• CETL (i.e., transmission into LDAs) has increased substantially in several locations.
Increased CETL into ATSI (by 1,486 MW) suggests that ATSI is highly unlikely to separate
from RTO regardless of FES' offering behavior. However, increases in CETL into other
constrained LDAs will tend to increase the RTO price, benefiting resources in ATSI and
RTO.
• PJM has shifted the VRR curve to the left, meaning that it will buy fewer MW at the same
price. This will tend to depress clearing prices.
• Assuming no change in FES' offers, demand side changes would decrease ATSI prices by
$26/MW-Day (from $171 to $145), but would increase RTO prices by $5/MW-Day (from $140 to
$145).
NORTHBRIDGE 4




                                                                                                                          App'x 161
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SL ------ARY (3) Supply Side Changes
• As in past years, we expect to see significant changes to BRA supply resources and offers.
Between new entry, retirements, DR/EE, etc., we expect that the BRA supply curve will shift to
the right by 2.2 GW— meaning that more capacity will be available to PJM and will tend to lower
prices.
D We expect that new entry and uprates will continue to clear in the 2022/23 BRA, and in substantially
higher quantities than last year. The South Field project (1,060 ICAP MW) in ATSI is already under
construction and will likely clear. In addition, we see 3,000 MW of additional entry in the form of CCGTs,
uprates, and renewables clearing.
D We expect that 3,900 MW of resources that cleared in the 2021/22 BRA may retire and not participate in




                                                                                                             Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 164
the upcoming auction. These resources have submitted requests with PJM for deactivation prior to the
2022/23 delivery year. For the most part, these resources are located in RTO. Additional resources, which
we believe did not clear in the prior auction, may also choose not to participate in the 2022/23 BRA.
D We expect growth in demand response (+556 MW) and energy efficiency (+561 MW), reflecting recent
trends.
D Imports appear to be stable; we do not anticipate any changes.
D We expect that 900 MW of non-FES nuclear capacity (in PSEG) that did not clear in 2021/22 will clear in
2022/23.
• Based on these changes, our preliminary estimate is that RTO/ATSI will clear at between $82
and $130/MW-Day, depending on FES' offering strategy:
Clear No MW Clear Only Sammis 5-7 Clear All Available MW
RTO/ATSI Price ($/MW -Day) $130 $115 $82
MW Cleared 0 1,226 6,386
BRA Revenue ($MM) $0 $51 $189
NORTHBRIDGE 5




                                                                                                                                     App'x 162
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SUMMARY (4) Directional Changes
The 2022/23 auction will be impacted by several changes:
Category
2
0
Demand
Changes
Supply
Changes 1) CETL Values An increase in ATSI CETL (from 8,439 to 9,925 MW) suggests that ATSI will not separate
from RTO. However, RTO prices will be buoyed up by CETL changes elsewhere in PJM
(e.g., COMED, EMAAC, PSEG),




                                                                                                                Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 165
2) Load Forecast! A reduction in the RTO reliability requirement (due to a lower load forecast) will tend to
Reliability Requirement depress clearing prices.
3) VRR Shift
4) Net CONE
5) UCAP Ratings
6) Imports
7) Retirements
8) New Entry
9) Demand Response!
Energy Efficiency
10) Market behavior PJM has shifted the VRR demand curve to the left by 1%, which is equivalent to a 1%
decrease in the load forecast.
PJM has reduced net CONE by $60/MW-Day, which has the effect of compressing the
entire demand curve downward.
A small change in the pool -wide EFORd results in a net decrease of 17 MW to RTO supply.
No change expected
3,900 MW of previously cleared capacity has filed for deactivation with PJM and may not
participate in the upcoming BRA.
We expect 4,100 MW of new entry and uprates to clear in the upcoming BRA. This figure
accounts for both gas and renewable capacity.
We expect 1,100 MW of additional demand response and energy efficiency will clear in the
upcoming BRA.
900 MW of nuclear offers that did not clear in the prior BRA may choose to clear in this
auction.
NORTHBRIDGE Clearing Price
Impact




                                                                                                                                        App'x 163
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SL ------ARY (5) Preliminary 2022/23 BRA Expectations
While there are many moving parts, overall we anticipate that the resource clearing
price in RTO/ATSI will be lower than last year — near $130/MW-Day, assuming no
change in FES' offers. Increases in CETL into ATSI and several GW of new entry drive
most of this decrease.
$220
$200
$180
'$160
$140




                                                                                                                  Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 166
$120
$100
$80
$60 Basecase ATSI/RTO Clearing Price Expectations for 2022/23 BRA
(Assuming No Change in FES Offer Behavior From 2021/22 BRA)
$171 $22 Causes convergence with RTO
$1 $2
1=1. $1 $0 $145 $20 $24
$0 $0 LI $11 $1 $130
ATSI RCP CETL Reliability VRR Net PRO 2022/23 UCAP Imports Retirements New DR/EE Non-FES ATSI / RTO
2021/22 Requirement Shift CONE Parameters Ratings Entry Nuclear 2022/23
BRA BRA
(-0.5 GW) (-1.3 GW) (+0.1 GW) (-0.02 GW) (0 GW) (-3.9 GW) (+4.1 GW) (+1.1 GW) (+0.9 GW)
Planning Parameters Supply Changes
Net Decrease in Demand (-1.8 GW) Net Increase in Supply (+2.2 GW)
Note: The above chart assumes no change from 2021/22 in FES offer behavior for units FES will offer in 2022/23.
NORTHBRIDGE 7




                                                                                                                                          App'x 164
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio April 30, 2019
The Board of Directors of FirstEnergy Solutions Corp. (the "Company") met at the West Akron Campus,
Akron, Ohio, on April 30, 2019 at 2:00 p.m., Eastern Time, after receiving written notice of the meeting.
The meeting was called to order by Mr. Donald R. Schneider, Chair. Mr. Kevin T. Warvell, Corporate
Secretary, recorded the minutes.
The following Directors participated:
Mr. John C. Blickle
Mr. James C. Boland
Mr. Joseph M. Gingo
Mr. John W. Judge (via Phone)
Mr. Donald R. Schneider




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constituting a quorum of the Board.
The following executives participated:
Mr. Rick Giannantonio
Mr. Kevin T. Warvell
Mr. David Griffing (via Phone)
Mr. Jay Bellingham
Mr. Stephen Burnazian
Mr. Paul Harden
Mr. James Mellody (via Phone)
Mr. Brian Farley (via Phone)
Mr. Joel Bailey (via Phone)
The following representatives of Akin Gump Strauss Hauer & Feld LLP ("Akin Gump") participated:
Mr. Scott Alberino (via Phone)
Mrs. Lisa Beckerman (via Phone)
The following representative of Lazard Freres & Co. LLC ("Lazard") participated:
Mr. Erik Overman (via Phone)
The following representative of Alvarez & Marsal North America, LLC ("Alvarez") participated:
Mr. Charles Moore
The following representative of Willkie Fan & Gallagher LLP (Willkie") participated:
Mr. Matt Feldman (via Phone)
The following representatives of Honigman LLP participated:
Mr. Glenn Walter (via Phone)
Mr. Joseph Sgroi (via Phone)




                                                                                                                                    App'x 165
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
1. Board Matters Akron, Ohio April 30, 2019
A. Approval of the Minutes of the re2ular Board of Directors' Meetin2 held on
April 17, 2018
After discussion, upon motion duly made and seconded, the meeting minutes were unanimously
adopted.
The Board then discussed the following matter:
B. Approval of Amendment of Risk Policies
The Chairman stated the next item of business was to consider approval of an amendment to the
risk policies.
Mr. Warvell reviewed the resolution and the changes to the wholesale risk policies. Mr. Warvell
explained why the changes were needed and that these changes had been reviewed with the




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creditors. Mr. Farley reviewed the retail risk policy changes and why they were needed. Mr.
Farley explained that these retail changes had been reviewed with the creditors. Both Messrs.
Warvell and Farley responded to questions.
After discussion, upon motion duly made and seconded, the resolution was unanimously adopted by
board members present.
RESOLUTIONS OF
THE BOARD OF DIRECTORS (THE "BOARD") OF
FIRSTENERGY SOLUTIONS CORP. (THE "COMPANY")
Dated as of April 30, 2019
Amendment of Risk Policies
WHEREAS, the Board has previously reviewed and approved the Company's risk management
policy (the "FES Risk Policy") and the Company's retail risk management policy (the "Retail Risk
Policy");
WHEREAS, the Board has reviewed with Company management the proposed revisions to the
FES Risk Policy, which are attached hereto as Exhibit A (the "FES Risk Policy Amendment") and the
proposed amendments to the Retail Risk Policy, which are attached hereto as Exhibit B (the "Retail Risk
Policy Amendment" and, together with the FES Risk Policy Amendment, the "Risk Policy
Amendments").
NOW THEREFORE BE IT:
RESOLVED, that the Board considers the Risk Policy Amendments to be advisable and in the
best interests of the Company;
RESOLVED, that the Board hereby approves the Risk Policy Amendments in all respects and the
FES Risk Policy and the Retail Risk Policy are each hereby amended as provided for in the respective
Risk Policy Amendments;




                                                                                                                                  App'x 166
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio April 30, 2019
RESOLVED, that the "Proper Officers" referenced in these resolutions shall be Chairman of the
Board, the Chief Executive Officer, the President, any Vice President, the Chief Financial Officer, the
Chief Risk Officer, the Treasurer and the Corporate Secretary of the Company;
RESOLVED, that the Proper Officers be, and each of them individually hereby is, authorized,
empowered and directed, in the name and on behalf of the Company, to cause the Company to adopt and
comply with the FES Risk Policy, as amended by the FES Risk Policy Amendment and the Retail Risk
Policy, as amended by the Retail Risk Policy Amendment;
RESOLVED, that the Proper Officers be, and each of them individually hereby is, authorized,
empowered and directed, in the name and on behalf of the Company, to execute and deliver any such
other documents, letters or instrument and do and perform any and all acts and things that may be




                                                                                                              Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 169
appropriate and advisable and as counsel may advise in order to carry out the intent and purposes of all of
the foregoing resolutions;
RESOLVED, that each of the lawful acts of the Proper Officers taken prior to the date hereof in
connection with the transactions contemplated by the foregoing resolutions is hereby ratified, approved,
adopted and confirmed as if each such act had been presented to and approved by the Board prior to being
taken; and
RESOLVED, that the Corporate Secretary and any other Proper Officer of the Company are, and
each individually hereby is, authorized, empowered and directed to certify and furnish such copies of
these resolutions and such statements as to the incumbency of the Company's officers, under corporate
seal if necessary, as may be requested, and any person receiving such certified copy is and shall be
authorized to rely upon the contents thereof
* * * * * * * * *
2. Presentations
A. Update on Re2ulatorv Affairs
Mr. Griffing updated the Board on what has been happening in the Ohio legislature. There have
been three hearings and all have gone well. A substitute Bill is going to be introduced on
Thursday. Mr. Griffing and Mr. Judge gave positive comments on how things were going in
Ohio. Mr. Griffing indicated that Pennsylvania was not going as well, and currently, there was no
major support for the Bill. Mr. Judge pointed out to the Board that in Ohio negative ads had been
occurring against supporters of the nuclear bill. An advertising campaign to counter those
negative ads may be necessary. Both Messrs. Judge and Griffing then responded to questions.
B. Update on NRC Filing




                                                                                                                                      App'x 167
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio April 30, 2019
C. Update on Union Ne2otiations
Mr. Judge updated the Board on the union meetings. He covered the Company's position on
healthcare and issues related to pension. Mr. Judge reviewed what the Company may offer to
solve the pension issues with the unions. He then responded to questions.
D. Update on Bankruptcy and Disclosure
Mr. Moore reviewed the Settlement Agreement and changes that were filed with the
Restructuring Support Agreement. He reviewed the payments that would be made to FirstEnergy
Corp. when the Disclosure Statement is approved. The hearing on the Disclosure Statement is set
for May 20th. The goal would be to get the Disclosure Statement approved and send out a Plan for
vote by July 15th but the judge would set the final voting schedule. Between now and the




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Confirmation Hearing, the advisors will be focusing on the plan feasibility study with respect to
environmental obligations of the Company. The other item being considered is resolving the
OVEC claim relating to the rejection of their contract. The advisors want to resolve issues that
could create uncertainty at confirmation. Mr. Moore then responded to questions.
E. Update From CEO
Mr. Judge explained what the management team was working on for the separation plan. He
reviewed his visit to Pleasants.
Mr. Judge stated the plan is for the Board to go to monthly meetings starting in May.
The meeting was adjourned.
Corporate Secretary
FES 4/30/2019 Meeting Record




                                                                                                                            App'x 168
Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio April 30, 2019
Exhibit A
Amendment to FES Risk Management Policy
(Attached.)




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Regular Meeting of the
FirstEnergy Solutions Corp. Board of Directors
Akron, Ohio April 30, 2019
Exhibit B
Amendment to Retail Risk Management Policy
(Attached.)




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                                                                         App'x 170
CIP Izu TRAVEL EXPENSE STATEMENT 0
Name Dowling,Michael J Simulation
Personnel 19020 FirstEnergy Service CExempt
Trip no 137279 AK-General Office BldCost cente501007
ITINERARY
Week 03 Reason/Location
01/15/2017 00:00 - External Affairs
01/21/2017 24:00 Various
INDIVIDUAL STATEMENT
Date RNo Receipt Amount in USD
01/15/17 001 Lunch 17.80
01/15/17 002 Hotel 80.91
01/15/17 003 Other 100.00




                                                                 Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 173
01/17/17 004 Other 100.00
01/18/17 005 Dinner Group 261.15
01/18/17 006 Taxi,limo,ride sh 40.00
01/19/17 007 Breakfast 15.00
01/19/17 008 Other 151.00
01/19/17 009 Airfare 272.44
01/20/17 010 Brkfst Group 30.00
01/20/17 011 Other 140.00
01/20/17 012 Taxi,limo,ride sh 7.19
01/21/17 013 Brkfst Group 40.00
01/21/17 014 Other 60.00
Itemization for Reimburs. Amount in USD 1,315.49 |
fe me seein seem wee “eee wr sae sur ma “a — se snares ss __t
TOTAL AMOUNTS
Reimbursement Amt in USD 1,315.49 ia
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i
cOoOsSTS ASSIGNMENT
Trip Expenses to be Transferred (w/CO Receiver): in : USD
1,315.4
1,315.49 USD to:
Company Code SCOO
Cost Center 501007
Profit Center 8097
Segment FEG
ADDITIONAL TRIP INFORMATION
Md
)
v
2
|
ve
1/16/17 - Other $100
Tips for hotel staff at The Greenbrier $20
Refreshments with Sammy Gray, Joel Bailey and Larry Puccio (FE
consultant) at Jerry West Lounge to discuss political and
regulatory issues $40
Tips for car service from hotel to airport $40
1/18/17 - Dinner Group $261.15
Business Partners: Mike Dowling, Mike Carey (Consol),
Jeff Longstreth (JPL & Associates) & Ryan Stenger & spouse
FE_LH Subpoena_000000026
*




                                                                                         App'x 171
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TRAVEL EXPENSE STATEMENT 0
Name Jones Jr,Charles E Simulation
Personnel 19124 PirstEnergy Service CExempt
Trip no 136607 AK-General Office BldCost cente506001
ITINERARY
Week 03 Reason/Location
01/15/2017 00:00 - Misc Business
01/21/2017 24:00 Various
INDIVIDUAL STATEMENT
Date RNo Receipt Amount in USD
01/15/17 001 Other 50.00
01/16/17 011 Dinner Group 4,181.43
01/16/17 012 Other 200.00




                                                                            Case: 23-3565   Document: 23   Filed: 02/26/2024   Page: 188
(01/18/17 009 Other 357.00
01/19/17 003 Other 200.00
01/19/17 006 Other 20.00
01/19/17 010 Dinner Group 1,331.10
01/20/17 005 Other 200.00
01/20/17 007 Other 20.00
01/20/17 C08 Brkfst Group 42.00
Itemization for Reimburs. Amount in USD 6,601.53
TOTAL AMOUNTS
Reimbursement Amt in USD 6,601.53
COSTS ASSIGNMENT
‘Trip Expenses to be Transferred (w/CO Receiver): in : USD 6,601.53
6,601.53 USD to:
Company Code SCO0O0
| Cost Center 506001
Profit Center 8097
Segment FEO
ADDITIONAL TRIP INFORMATION
FOR DOCUMENTATION ONLY - NO REIMBURSABLE EXPENSES: |
1/15 - Passenger on FE aircraft N91FE from APF to LWB to CAK, to attend |
WV Inaugural Events. Ground transportation at LWB provided by LimoLink.
1/19 - Passenger on FE aircraft N91FE from APF to IAD to attend 2017
Presidential Inauguration Events. Ground transportation provided by
LimoLink. Hotel compliments of The George Group.
1/21 - Passenger on FE aircraft N52FE from IAD to APF for return from
Inauguration events.
Additional info for individual statement
-RNo Doc. Amount Crey
FE_LH Subpoena_000000129
*




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                                 CERTIFICATION

         I certify that the documents included in this Appendix are copies of

documents properly made a part of the record in the matter of the United

States v. Householder, No. 1:20-cr-77 (S.D. Ohio).

                                              /s/ Nicholas R. Oleski
                                              Nicholas R. Oleski

                                              Counsel for Larry Householder




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                          CERTIFICATE OF SERVICE

         I certify that on February 26, 2024, I filed the foregoing electroni-

cally with the Clerk of the United States Court of Appeals for the Sixth

Circuit. The Court’s ECF system will automatically generate and send by

email a Notice of Docket Activity to all registered attorneys currently

participating in this case, constituting service on those attorneys.

                                              /s/ Nicholas R. Oleski
                                              Nicholas R. Oleski

                                              Counsel for Larry Householder




{01997834-1}
